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             EXHIBIT 5
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 The sections of this chart contain the discovery requests addressed in the corresponding sections of the memorandum of law.
Requests are organized in the following order: (1) Howard’s RFAs, (2) Howard’s RFPs, (3) Howard’s ROGs, (4) the Stonington
Defendants’ RFPs, and (5) the Stonington Defendants’ ROGs.
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                 Section A.         Broidy’s Blanket, Boilerplate Objections are Defective as a Matter of Law.

 Request
                          Request                                                Response and Objections
 Number
Howard’s   Admit that the United Arab Emirates is    Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 1      paying or has paid for some portion of    concerns facts that are irrelevant to this case.
           Your attorneys’ fees in pursuing one or
           more of the following actions: the      Based on the foregoing General and Specific objections, Plaintiffs will not respond
           above-captioned matter, BCM v. State    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           of Qatar, No. 2:18-cv-02421 (C.D.       at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Cal. March 26, 2018), BCM v.            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           Benomar,       No.        7:18-cv-6615  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           (S.D.N.Y. Jul. 23, 2018), and BCM v.    attorneys’ fees to responding party because motion to compel was not substantially
           Global Risk Advisors LLC et al, No.     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           19-cv-11861 (S.D.N.Y. Dec. 27,          *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
           2019).                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that Saudi Arabia is paying or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 2      has paid for some portion of Your concerns allegations that are irrelevant to this case.
           attorneys’ fees in pursuing one or more
           of the following actions: the above- Based on the foregoing General and Specific objections, Plaintiffs will not respond
           captioned matter, BCM v. State of to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Qatar, No. 2:18-cv-02421 (C.D. Cal. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           March 26, 2018), BCM v. Benomar, admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           No. 7:18-cv-6615 (S.D.N.Y. Jul. 23, JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           2018), and BCM v. Global Risk attorneys’ fees to responding party because motion to compel was not substantially
           Advisors LLC et al, No. 19-cv-11861 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           (S.D.N.Y. Dec. 27, 2019).               *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions

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 Request
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 Number
                                           award where party submitted requests for admission “for an improper purpose” and
                                           where “[v]irtually all of the requests have no relevance to the underlying action and
                                           could only be intended to harass defendant”).
Howard’s   Admit that You own a majority Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 3      ownership interest in Circinus. irrelevant to this case.

                                            Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                            to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                            at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                            JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                            attorneys’ fees to responding party because motion to compel was not substantially
                                            justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                            *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                            all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                            irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                            award where party submitted requests for admission “for an improper purpose” and
                                            where “[v]irtually all of the requests have no relevance to the underlying action and
                                            could only be intended to harass defendant”).
Howard’s   Admit that Circinus has multiple Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 4      contracts with the United Arab concerns allegations that are irrelevant to this case.
           Emirates
                                            Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                            to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                            at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                            JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                            attorneys’ fees to responding party because motion to compel was not substantially
                                            justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                            *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                            all, the requests are overly broad, unduly burdensome, harassing in nature, and

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 Request
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                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that at least one of Circinus’s Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 5      contracts with the United Arab concerns allegations that are irrelevant to this case.
           Emirates is worth more than $200
           million.                              Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that Circinus has considered Plaintiffs object to this Request on the ground that it is concerns allegations that are
RFA 6      business opportunities with Saudi irrelevant to this case.
           Arabia.
                                                 Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not

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 Request
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                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that George Nader provided Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 7      You at least $2.5 million as payment concerns allegations that are irrelevant to this case.
           for consulting, marketing, or other
           advisory services.                   Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have advocated on Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 8      behalf, or for the interests, of the concerns allegations that are irrelevant to this case.
           United Arab Emirates to at least one
           representative of the United States Based on the foregoing General and Specific objections, Plaintiffs will not respond
           government on at least one occasion to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           since January 1, 2016.               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at

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 Request
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                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 9      financial compensation from the concerns allegations that are irrelevant to this case.
           United Arab Emirates since January 1,
           2016 in exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                              to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have lobbied at least Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 10     one representative of the United States concerns allegations that are irrelevant to this case.
           government to cut ties with Qatar,
           because, for among other reasons, you Based on the foregoing General and Specific objections, Plaintiffs will not respond
           were acting at the behest of the United to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Arab Emirates.                          at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially

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 Request
                          Request                                                 Response and Objections
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                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have advocated at the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 11     request or direction of, on behalf of, or concerns allegations that are irrelevant to this case.
           for the interests of Saudi Arabia to at
           least one representative of the United Based on the foregoing General and Specific objections, Plaintiffs will not respond
           States government on at least one to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           occasion since January 1, 2016.           at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 12     financial compensation from Saudi concerns allegations that are irrelevant to this case.
           Arabia since January 1, 2016 in
           exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding

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 Request
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                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have lobbied or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 13     encouraged at least one representative concerns allegations that are irrelevant to this case.
           of the United States government to cut
           ties with Qatar, because, for among Based on the foregoing General and Specific objections, Plaintiffs will not respond
           other reasons, you were acting at the to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           behest of Saudi Arabia.                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have advocated at the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 14     request or direction of, on behalf of, or concerns allegations that are irrelevant to this case.
           for the interests of the Republic of
           Angola to at least one representative of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the United States government on at to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           least one occasion since January 1, at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           2016.                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889

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 Request
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                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 15     financial compensation from the concerns allegations that are irrelevant to this case.
           Republic of Angola since January 1,
           2016 in exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                           to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have criticized Qatar Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 16     in meetings with at least one irrelevant to this case.
           representative of the United States
           government.                          Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for

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 Request
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                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 17     payment in exchange for efforts to concerns allegations that are irrelevant to this case.
           influence or alter the views or actions
           of President Donald J. Trump Based on the foregoing General and Specific objections, Plaintiffs will not respond
           regarding Qatar.                        to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 18     payment in exchange for efforts to concerns allegations that are irrelevant to this case. Plaintiffs further object to this
           influence or alter the views or actions Request because it is vague and ambiguous.
           of at least one other representative of


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           the United States        government Based on the foregoing General and Specific objections, Plaintiffs will not respond
           regarding Qatar.                     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have urged or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 19     encouraged President Donald J. concerns allegations that are irrelevant to this case.
           Trump to meet privately outside the
           White House with at least one leader Based on the foregoing General and Specific objections, Plaintiffs will not respond
           of the United Arab Emirates.         to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You attempted to persuade Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 20     President Donald J. Trump, or any concerns allegations that are irrelevant to this case.

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           member of the Trump Administration,
           to remove Secretary of State Rex W. Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Tillerson based on his views on, or to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           approach to, Qatar and/or Iran.      at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You provided financial Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 21     contribution for a conference hosted concerns allegations that are irrelevant to this case.
           by The Foundation for Defense of
           Democracies in May 2017 that Based on the foregoing General and Specific objections, Plaintiffs will not respond
           involved criticism of the State of to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Qatar.                               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).


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Howard’s   Admit that You provided financial         Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 22     contribution for a conference hosted      concerns allegations that are irrelevant to this case.
           by the Hudson Institute in April 2017
           that involved criticism of the State ofBased on the foregoing General and Specific objections, Plaintiffs will not respond
           Qatar.                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that, in 2017, You were aware Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 23     of plans to hack the website, computer concerns allegations that are irrelevant to this case.
           server, or email system of the Qatar
           News Agency prior to such hack.        Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and


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                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You know at least one party Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 24     involved in hacking the website, concerns allegations that are irrelevant to this case.
           computer server, or email system of
           the Qatar News Agency in 2017.          Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You communicated with at Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 25     least one party involved in the hacking concerns allegations that are irrelevant to this case.
           of, or plan to hack, the website,
           computer server, or email system of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the Qatar News Agency prior to such to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           hack.                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions

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                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 26     coordinate, execute, or encourage the concerns allegations that are irrelevant to this case.
           hacking of the website, computer
           server, or email system of the Qatar Based on the foregoing General and Specific objections, Plaintiffs will not respond
           News Agency in 2017.                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 27     coordinate, or finance the creation, irrelevant to this case.
           production, or distribution of at least
           one documentary, movie, video, or Based on the foregoing General and Specific objections, Plaintiffs will not respond
           other media project regarding the State to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           of Qatar.                               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and

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                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 28     coordinate, execute, finance, or concerns allegations that are irrelevant to this case.
           encourage protest activity in front of
           the Embassy of the State of Qatar in Based on the foregoing General and Specific objections, Plaintiffs will not respond
           June 2017.                             to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You own a majority Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 29     ownership interest in the company irrelevant to this case.
           Fieldcrest Advisors, LLC.
                                                  Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not

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                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You helped set up, Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 30     coordinate, facilitate, plan, or enable a irrelevant to this case.
           visit by President Donald. J. Trump to
           Saudi Arabia in May 2017.                 Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You helped The Counter Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 31     Extremism Project—including any of concerns allegations that are irrelevant to this case.
           its leaders, employees, agents, or
           representatives—learn         about     a Based on the foregoing General and Specific objections, Plaintiffs will not respond
           planned embargo or blockade of Qatar to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           before such embargo or blockade at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           began in June 2017.                       admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at

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                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You know who informed Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 32     The Counter Extremism Project— concerns allegations that are irrelevant to this case.
           including any of its leaders,
           employees,         agents,        or Based on the foregoing General and Specific objections, Plaintiffs will not respond
           representatives—about a planned to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           embargo or blockade of Qatar before at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           such embargo or blockade began in admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           June 2017.                           JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You helped finance, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 33     organize, coordinate, or produce an concerns allegations that are irrelevant to this case.
           anti-Qatar advertising campaign
           conducted by The Saudi American Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Public Relation Affairs Committee in to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           the summer of 2017.                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially

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                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You played a role in having Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 34     a memorandum of understanding vexatious, harassing, and concerns allegations that are irrelevant to this case.
           between the United States and Qatar
           moved from a United States Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Department of State building to a to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           United States congressional building. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You were involved in any Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 35     way—including proposing, planning, vexatious, harassing, and concerns allegations that are irrelevant to this case.
           encouraging, coordinating, funding,
           facilitating, or executing—in the Based on the foregoing General and Specific objections, Plaintiffs will not respond
           decision to move or process of moving to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           a memorandum of understanding at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           between the United States and Qatar admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           from a United States Department of JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding

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           State building to a United States attorneys’ fees to responding party because motion to compel was not substantially
           congressional building.              justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You communicated with at Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 36     least one agent, representative, or vexatious, harassing, and concerns allegations that are irrelevant to this case.
           official of at least one foreign
           government regarding the contents of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           a memorandum of understanding to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           between the United States and Qatar. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You helped facilitate a Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 37     meeting between at least one agent, concerns allegations that are irrelevant to this case.
           representative, or official of the
           Republic of Angola and at least one Based on the foregoing General and Specific objections, Plaintiffs will not respond
           member of the United States Congress to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           in January 2017.                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889

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                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that the Republic of Angola Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 38     paid $6 million to Circinus concerns allegations that are irrelevant to this case.
           approximately three days before
           President    Donald     J.   Trump’s Based on the foregoing General and Specific objections, Plaintiffs will not respond
           inauguration.                         to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that You requested from the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 39     Republic of Angola payment of concerns allegations that are irrelevant to this case.
           millions of dollars to Circinus above
           and beyond the $6 million the Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Republic of Angola had paid Circinus to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           approximately three days before at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for

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           President    Donald      J.   Trump’s admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           inauguration.                           JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have referred in Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 40     writing to George Nader by the name concerns allegations that are irrelevant to this case.
           “George Vader.”
                                                   Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You tried to help George Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 41     Nader by referring to him as “George concerns allegations that are irrelevant to this case.
           Vader” so that he could obtain the
           security clearance required to have his Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,

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 Request
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           picture taken with President Donald J. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Trump.                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that, in October 2017, You Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 42     helped facilitate payment by George concerns allegations that are irrelevant to this case.
           Nader to either President Donald J.
           Trump’s campaign or the Republican Based on the foregoing General and Specific objections, Plaintiffs will not respond
           National Committee.                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You helped facilitate Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 43     communication between the Kingdom concerns allegations that are irrelevant to this case.
           of Saudi Arabia and the Trump
           Administration      regarding     the

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           assassination   of   journalist    Jamal Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Khashoggi.                               to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                    at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                    admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                    JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                    attorneys’ fees to responding party because motion to compel was not substantially
                                                    justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                    *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                    all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                    irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                    award where party submitted requests for admission “for an improper purpose” and
                                                    where “[v]irtually all of the requests have no relevance to the underlying action and
                                                    could only be intended to harass defendant”).
Howard’s   Admit that You helped finance the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 44     development       of    NSO       Group concerns allegations that are irrelevant to this case.
           Technologies’ Pegasus software.          Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                    at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                    admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                    JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                    attorneys’ fees to responding party because motion to compel was not substantially
                                                    justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                    *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                    all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                    irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                    award where party submitted requests for admission “for an improper purpose” and
                                                    where “[v]irtually all of the requests have no relevance to the underlying action and
                                                    could only be intended to harass defendant”).
Howard’s   Admit that George Nader paid You to Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 45     advocate for the interests of the United concerns allegations that are irrelevant to this case.


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           Arab Emirates at the White House and Based on the foregoing General and Specific objections, Plaintiffs will not respond
           with the Trump Administration.        to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that You discussed a consulting Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 46     agreement with Jho Low in connection concerns allegations that are irrelevant to this case.
           with 1Malaysia Development Berhad
           (“1MDB”).                             Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that draft agreements between Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 47     You or Colfax Law Office, Inc. and concerns allegations that are irrelevant to this case.

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           Jho Low included up to a $75 million
           fee if the United States Department of
                                              Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Justice dropped its investigation into
                                              to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           1Malaysia Development Berhad       at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           (“1MDB”).                          admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                              JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                              attorneys’ fees to responding party because motion to compel was not substantially
                                              justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                              *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                              all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                              irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                              award where party submitted requests for admission “for an improper purpose” and
                                              where “[v]irtually all of the requests have no relevance to the underlying action and
                                              could only be intended to harass defendant”).
Howard’s   Admit that You advocated to have Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 48     Chinese businessman Guo Wengui concerns allegations that are irrelevant to this case.
           extradited from the United States.
                                              Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                              to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                              at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                              admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                              JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                              attorneys’ fees to responding party because motion to compel was not substantially
                                              justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                              *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                              all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                              irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                              award where party submitted requests for admission “for an improper purpose” and
                                              where “[v]irtually all of the requests have no relevance to the underlying action and
                                              could only be intended to harass defendant”).


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Howard’s   Admit that You drafted, or otherwise        Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 49     participated in the preparation or          concerns allegations that are irrelevant to this case.
           transmission of, a memorandum dated
           May 6, 2017 to a “George Vader” with        Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the subject line “Potential Opportunity     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           for Abu Dhabi to Recover Stolen             at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Funds,” which suggested, proposed, or       admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           discussed the extradition, or potential     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           extradition, of a Guo Wengui from the       attorneys’ fees to responding party because motion to compel was not substantially
           United States to the UAE, the               justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           extradition, or potential extradition, of   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
           Guo Wengui to China, and the                all, the requests are overly broad, unduly burdensome, harassing in nature, and
           potential payment of money to You by        irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
           a foreign government or an agent or         award where party submitted requests for admission “for an improper purpose” and
           representative      of     a     foreign    where “[v]irtually all of the requests have no relevance to the underlying action and
           government.                                 could only be intended to harass defendant”).
Howard’s   Admit that on May 21, 2017, You             Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 50     drafted, or otherwise participated in       concerns allegations that are irrelevant to this case.
           the preparation or transmission of, a
           memorandum         to     then-Attorney     Based on the foregoing General and Specific objections, Plaintiffs will not respond
           General Jeff Sessions with the subject      to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           line “Opportunity to Increase Law           at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Enforcement Cooperation between the         admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           United States and China,” which             JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           discussed the potential deportation or      attorneys’ fees to responding party because motion to compel was not substantially
           extradition of a “Guo Wen Gui.”             justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                       *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                       all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                       irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                       award where party submitted requests for admission “for an improper purpose” and


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                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 33     concerning any criticisms of the State documents, which is unduly burdensome and not required by the FRCP or the Local
           of Qatar that Broidy conveyed to any Rules.
           organization, including but not limited
           to The Foundation for Defense of Plaintiffs also object to this Request on the ground that it seeks privileged
           Democracies, the Hudson Institute, the information.
           Jewish Institute for National Security
           of America, the Washington Institute Plaintiffs also object to this Request on the ground that it seeks documents that are
           for Near East Policy, and The Middle irrelevant to the claims and defenses in this case, that are not proportional to the
           East Forum.                             needs of the case, and for an improper purpose.

                                                      Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                      documents in response to this Request.
Howard’s   All communications between Broidy, Plaintiffs object to this Request on the ground that it is compound and overbroad,
RFP 34     his agents, his representatives including because it seeks “all” such requested documents, which is unduly
           (including without limitation lawyers burdensome and not required by the FRCP or the Local Rules.
           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe & Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP, information.
           and Kasowitz Benson Torres LLP), or
           any entities he controls and the Plaintiffs also object to this Request on the ground that it seeks documents that are
           following individuals or entities, their irrelevant to the claims and defenses in this case, that are not proportional to the
           agents, representatives, affiliates, or needs of the case, and for an improper purpose.
           affiliated organizations regarding (a)
           lobbying on behalf of a foreign nation Based on the foregoing General and Specific objections, Plaintiffs will not produce
           or entity, (b) the State of Qatar, (c) the documents that in response to this Request.
           UAE, (d) Saudi Arabia, (e) Bahrain, (f)
           Egypt, or (g) Defendants, as well as
           any documents relating to such

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          communications: Frances “Fran”
          Townsend,       Joseph      Lieberman,
          William Nixon, Charles “Chip”
          Andreae, Saad Mohseni, Rich
          Goldberg, Arie Lipnick, Noah Pollak,
          Robert Gates, Leon Panetta, David
          Petraeus, Sebastian Gorka, Daniel
          Pipes, Gregg Roman, E.J. Kimball,
          Adelle Nazarian, Toby Dershowitz,
          Marie Royce, MOBY Media Group,
          Lapis Communications, Lapis Middle
          East and Africa, The Counter
          Extremism Project, Policy Impact
          Communications, America Abroad
          Media, The Saudi American Public
          Relation Affairs Committee, Rapid
          Global      Solutions,      Macadamia
          Strategies, The Emergency Committee
          for Israel, The American Media
          Institute, Konik-Madison Group,
          McLaughlin & Associates, The
          Harbour Group, The Podesta Group,
          The Foundation for Defense of
          Democracies, the Hudson Institute, the
          Jewish Institute for National Security
          of America, the Washington Institute
          for Near East Policy, The Middle East
          Forum, or any staff, agents, or
          representatives of the foregoing.




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Howard’s   All documents and communications          Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 35     concerning work performed by              documents, which is unduly burdensome and not required by the FRCP or the Local
           Fieldcrest Advisors, LLC relating to      Rules.
           the lifting of sanctions against one or
           more foreign clients of Andrei Baev,      Plaintiffs also object to this Request on the ground that it seeks privileged
           as well as all documents and              information.
           communications        concerning    the
           solicitation of such work.                Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                     irrelevant to the claims and defenses in this case, that are not proportional to the
                                                     needs of the case, and for an improper purpose.

                                                 Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                 documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 36     that refer or relate to lobbying or documents, which is unduly burdensome and not required by the FRCP or the Local
           advocacy activities concerning the Rules.
           Republic of Angola, including without
           limitation work performed by Circinus Plaintiffs also object to this Request on the ground that it seeks privileged
           concerning the Republic of Angola or information.
           Grupo Simples Oil.
                                                 Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                 irrelevant to the claims and defenses in this case, that are not proportional to the
                                                 needs of the case, and for an improper purpose.

                                                  Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                  documents in response to this Request.
Howard’s   All    communications      discussing, Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 37     planning,   or    coordinating     the documents, which is unduly burdensome and not required by the FRCP or the Local
           production     of    any      movies, Rules.
           documentaries, videos, or other media
           projects regarding Qatar, including,

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           but not limited to, the documentary Plaintiffs also object to this Request on the ground that it seeks privileged
           series “Qatar: A Dangerous Alliance,” information.
           as well as any documents relating to
           such communications.                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                 irrelevant to the claims and defenses in this case, that are not proportional to the
                                                 needs of the case, and for an improper purpose.

                                                  Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                  documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 38     concerning work performed by documents, which is unduly burdensome and not required by the FRCP or the Local
           Andreae & Associates pursuant to its Rules.
           August 2017 contract with Lapis
           Middle East and Africa regarding the Plaintiffs also object to this Request on the ground that it seeks privileged
           development, production, release, information.
           and/or marketing of multimedia
           products investigating the supposed Plaintiffs also object to this Request on the ground that it seeks documents that are
           connection between the State of Qatar irrelevant to the claims and defenses in this case, that are not proportional to the
           and global terrorism, including needs of the case, and for an improper purpose.
           without limitation documents and
           communications concerning Andreae Based on the foregoing General and Specific objections, Plaintiffs will not produce
           & Associates’ registration pursuant to documents in response to this Request.
           the Foreign Agents Registration Act in
           connection with that contract.
Howard’s   All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 39     his agents, his representatives documents, which is unduly burdensome and not required by the FRCP or the Local
           (including without limitation lawyers Rules.
           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe & Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP, information.
           and Kasowitz Benson Torres LLP), or

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           any entities he controls and the             Plaintiffs also object to this Request on the ground that it seeks documents that are
           following entities, their agents,            irrelevant to the claims and defenses in this case, that are not proportional to the
           representatives, affiliates, or affiliated   needs of the case, and for an improper purpose.
           organizations      regarding      protest
           activity in front of the Embassy of the      On the basis of the foregoing General and Specific objections, Plaintiffs will not
           State of Qatar in June 2017, as well as      produce documents in response to this Request.
           any documents relating to such
           communications: the National Black
           Church Initiative, Nexus Services,
           Security Studies Group, or any staff,
           agents, or representatives of the
           foregoing.
Howard’s   All communications with the Trump            Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 40     Organization, or the agents or               documents, which is unduly burdensome and not required by the FRCP or the Local
           representatives      of    the    Trump      Rules.
           Organization, regarding the State of
           Qatar, the UAE, Saudi Arabia,                Plaintiffs also object to this Request on the ground that it seeks privileged
           Bahrain, Egypt, or Defendants, as well       information.
           as any documents relating to such
           communications.                              Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                        irrelevant to the claims and defenses in this case, that are not proportional to the
                                                        needs of the case, and for an improper purpose.

                                              Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                              documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 41     regarding a “George Vader,” or any documents, which is unduly burdensome and not required by the FRCP or the Local
           other pseudonyms used by Broidy to Rules.
           refer to George Nader.
                                              Plaintiffs also object to this Request on the ground that it seeks privileged
                                              information.

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                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to the claims and defenses in this case, that are not proportional to the
                                                  needs of the case, and for an improper purpose.

                                            Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                            documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 42     concerning any memorandum of documents, which is unduly burdensome and not required by the FRCP or the Local
           understanding between the United Rules.
           States and Qatar.
                                            Plaintiffs also object to this Request on the ground that it seeks privileged
                                            information.

                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to the claims and defenses in this case, that are not proportional to the
                                                  needs of the case, and for an improper purpose.

                                                Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 44     concerning the Justice Against documents, which is unduly burdensome and not required by the FRCP or the Local
           Sponsors     of    Terrorism    Act Rules.
           (“JASTA”), Public Law 114-222,
           114th Congress, including without Plaintiffs also object to this Request on the ground that it seeks privileged
           limitation   all   documents    and information.
           communications (including those sent
           to or received from Qorvis Plaintiffs also object to this Request on the ground that it seeks documents that are
           MSLGroup, Flywheel Government irrelevant to the claims and defenses in this case, that not proportional to the needs
           Solutions, Capitol Media Group, The of the case, and for an improper purpose.
           Glover Park Group, CGCN Group,

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           The McKeon Group, or any staff,          Based on the foregoing General and Specific objections, Plaintiffs will not produce
           agents, or representatives of the        documents in response to this Request.
           foregoing) concerning efforts to lobby
           or influence any United States
           government official with respect to
           JASTA either before or after it was
           passed.
Howard’s   As to each published news article        Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 4      concerning Broidy’s allegedly hacked     irrelevant and therefore not proportional to the needs of the case.
           materials, or information contained in
           Broidy’s allegedly hacked materials,     Based on the foregoing General and Specific objection, Plaintiffs will not respond
           identify whether Broidy had an           to this Interrogatory.
           opportunity to provide a comment or
           statement to the author(s) prior to
           publication and what, if any,
           comments or statements Broidy
           provided.
Howard’s   Identify each official, agent, or        Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 5      representative of Egypt with whom        irrelevant and therefore not proportional to the needs of the case.
           You, Your agents, or representatives
           (including attorneys) communicated       Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           (in writing or orally) regarding the     harassing.
           State of Qatar.
                                                Based on the foregoing General and Specific objection, Plaintiffs will not respond
                                                to this Interrogatory.
Howard’s   Identify each official, agent, or Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 6      representative of Bahrain with whom irrelevant and therefore not proportional to the needs of the case.
           You, Your agents, or representatives
           (including attorneys) communicated Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           (in writing or orally) regarding the harassing.
           State of Qatar.

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                                                  Based on the foregoing General and Specific objection, Plaintiffs will not respond
                                                  to this Interrogatory.
Howard’s   For each alleged trade secret You Plaintiffs object to this Interrogatory on the ground that each subpart is separate and
ROG 7(f)   assert was misappropriated as a result distinct and, further, that subpart (b) itself seeks separate and distinct categories of
           of the conduct alleged in the FAC:     information. Plaintiffs will therefore treat Interrogatory No. 7 as no less than nine
                                                  separate Interrogatories, each of which counts towards Howard’s limit of 25
           (f) Explain with precision and Interrogatories.
           specificity how each such trade secret
           is different from information that is Plaintiffs object to the Interrogatory on the ground that it seeks information “with
           available in the public domain;        precision,” which is vague, not required by the FRCP or the Local Rules, unduly
                                                  burdensome, and not proportional to the needs of the case.

                                                    Plaintiffs further object to this Interrogatory as unanswerable and irrelevant
                                                    considering information in the public domain, which was not released or leaked as
                                                    a result of misconduct, is not trade secret information and is not relevant to this
                                                    lawsuit.

                                                 Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                 to this Interrogatory.
Howard’s   With respect to the allegations in Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 8      paragraph 33 of the FAC that the irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image” Based on the foregoing General and Specific objection, Plaintiffs will not respond
           of You, identify every engagement of to this Interrogatory.
           any kind You have undertaken for or
           pertaining to the UAE or anyone
           working on its behalf, including the
           nature of the engagement, the purpose
           of such engagement, any contracts
           You entered into, the compensation
           provided to You in connection with

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           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided
           services directly or indirectly to the
           UAE.
Howard’s   With respect to the allegations in         Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 9      paragraph 33 of the FAC that the           irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”      Based on the foregoing General and Specific objection, Plaintiffs will not respond
           of You, identify every engagement of       to this Interrogatory.
           any kind You have undertaken for or
           pertaining to Saudi Arabia or anyone
           working on its behalf, including the
           nature of the engagement, the purpose
           of such engagement, any contracts
           You entered into, the compensation
           provided to You in connection with
           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided


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           services directly or indirectly to Saudi
           Arabia.
Howard’s   With respect to the allegations in         Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 10     paragraph 33 of the FAC that the           irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”      Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           of You, identify every engagement of       harassing.
           any kind You have undertaken for or
           pertaining to the Republic of Angola       Based on the foregoing General and Specific objection, Plaintiffs will not respond
           or anyone working on its behalf,           to this Interrogatory.
           including the nature of the
           engagement, the purpose of such
           engagement, any contracts You
           entered into, the compensation
           provided to You in connection with
           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided
           services directly or indirectly to the
           Republic of Angola.
Howard’s   With respect to the allegations in         Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 11     paragraph 33 of the FAC that the           irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”      Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           of You, identify every engagement          harassing.
           you have undertaken for or pertaining

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           to Malaysia or anyone working on its       Based on the foregoing General and Specific objection, Plaintiffs will not respond
           behalf, including the nature of the        to this Interrogatory.
           engagement, the purpose of such
           engagement, any contracts you entered
           into, the compensation provided to you
           in connection with such engagement,
           the period for which the engagement
           was in effect, and (if the engagement is
           no longer in effect) the reasons for its
           termination. As with all terms in these
           Interrogatories, “engagement” shall be
           interpreted in its broadest sense and
           shall include every instance in which
           you provided services directly or
           indirectly to Malaysia.
Stonington All communications that discuss,           Plaintiffs object to this Request on the ground that it seek privileged information.
Defs.’ RFP transmit, attach, disclose, publish,
14         share, forward, or disclose each           Plaintiffs also object to this request on the ground that it seeks “all” such
           alleged trade secret.                      responsive documents, which is unduly burdensome and not required by the
                                                      FRCP or the Local Rules.

                                                      Plaintiffs also object to this Request on the grounds that it seeks documents
                                                      unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                      case, and not proportional to the needs of the case.

                                                      Plaintiffs also object to this Request on the ground that it is overly broad.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.




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Stonington Documents sufficient to show any           Plaintiffs object to this Request on the ground that it is vague and ambiguous and
Defs.’ RFP protections afforded to any of the         to the extent that it seeks documents that are irrelevant to any claim or defense in
15         materials that were obtained or            the case.
           accessed during the alleged hacking by
           the U.S. Patent and Trademark Office       Subject to the foregoing General and Specific objections, Plaintiffs are willing to
           or other governmental entity.              meet and confer with respect to this Request.
Stonington All documents and communications           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to your allegation in paragraph
50         33 of the FAC that the documents           Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           distributed to the media “create[d] a      documents, which is unduly burdensome and not required by the FRCP or the Local
           false and injurious image” of you,         Rules.
           including without limitation: (a) all
           documents relating to your receipt of      Plaintiffs also object to this Request on the ground that it seeks documents based
           moneys either directly or indirectly       on an inaccurate quotation from paragraph 33 the Complaint. Accordingly, the
           from the United Arab Emirates; (b) all     Request seeks documents irrelevant to any claim or defense in the case. The
           documents relating to your receipt of      documents sought in sub-Requests (a)-(h) are independently irrelevant to any claim
           moneys either directly or indirectly       or defense in the case and not proportional to the needs of the case.
           from the Kingdom of Saudi Arabia; (c)
           all communications with Crown              Subject to the foregoing General and Specific objections, Plaintiffs will produce
           Prince Mohammed bin Zayed al-              nonprivileged documents to the extent any exist in their possession, custody, or
           Nahyan of the United Arab Emirates;        control that are relevant the allegation in paragraph 33 of the FAC that the
           (d) all communications between you         conspiracy involved the “distribution of curated batches of illegally obtained data
           and any member of the Royal Family         to the media in a manner calculated to create a false and injurious image of Mr.
           of the United Arab Emirates; (e) all       Broidy.”
           communications with Yousef al-
           Otaiba, Ambassador of the United
           Arab Emirates to the United States of
           America; (f) all documents and
           communications relating to the
           Palestinian International Terrorism


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           Support Prevention Act of 2017, H.R.
           2712, 115th Congress, 2017-2018;
           (g) all documents and communications
           relating to payments of money you
           facilitated either directly or indirectly
           to any sponsor of the Palestinian
           International     Terrorism      Support
           Prevention Act of 2017, H.R. 2712,
           115th Congress, 2017-2018 or any
           entity affiliated with such sponsor; (h)
           all documents and communications
           relating to any assistance or service
           you provided to any sponsor of the
           Palestinian International Terrorism
           Support Prevention Act of 2017, H.R.
           2712, 115th Congress, 2017-2018 or
           any relative or friend of such sponsor,
           and whether you were compensated or
           not for such assistance or service.
Stonington All documents and communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding public statements Broidy
51         has made about the State of Qatar, its      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           government, or its relationship with        documents, which is unduly burdensome and not required by the FRCP or the Local
           Israel, as described in paragraph 1 of      Rules.
           the FAC.
                                                       Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                       irrelevant to any claim or defense in the case and, in any event, publicly available.

                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.


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Stonington All documents and communications           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding any statements Broidy has
54         made to, including communications          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           with, any U.S. government official         documents, which is unduly burdensome and not required by the FRCP or the Local
           about the State of Qatar, its              Rules.
           government, or its relationship with
           Israel, including any white papers,        Plaintiffs also object to this Request on the ground that it seeks documents that are
           affidavits,      reports,      notes,      irrelevant to any claim or defense in the case and not proportional to the needs of
           presentations, or talking points,          the case.
           whether in draft or final form (see
           paragraph 47 of the FAC).              On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP demonstrating that Broidy’s efforts
55         against the State of Qatar “succeeded Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           in generating opposition” to the State documents, which is unduly burdensome and not required by the FRCP or the Local
           of Qatar, as described in paragraph 46 Rules.
           of the FAC.
                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to any claim or defense in the case and not proportional to the needs of
                                                  the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to the allegations in paragraph
56         59 of the FAC that “the ‘black ops’ Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           team that carried out the ‘dirty tricks’ documents, which is unduly burdensome and not required by the FRCP or the Local
           campaign that played the critical role Rules.
           in winning its tainted World Cup bid
           was overseen by Ahmad Nimeh . . . .”

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                                                    Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                    irrelevant to any claim or defense in the case, publicly available, and not
                                                    proportional to the needs of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All communications with President Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Donald Trump and/or members of
58         President Trump’s family; White Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           House staff; presidential campaign documents, which is unduly burdensome and not required by the FRCP or the Local
           staff; Save America PAC staff; Rules.
           America First Action PAC staff; Make
           America Great Again Action PAC Plaintiffs also object to this Request on the ground that it seeks documents that are
           staff; Make America Great Again, irrelevant to the claims and defenses in this case and not proportional to the needs
           Again PAC staff; or Trump of the case.
           Administration       transition    team
           members; or the agents or On the basis of the foregoing General and Specific objections, Plaintiffs will not
           representatives of any of the produce documents in response to this Request.
           individuals or organizations identified
           in this Request, regarding the State of
           Qatar, the UAE, or Saudi Arabia, as
           well as any documents relating to such
           communications.
Stonington All communications with any U.S. Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Senator or U.S. Congressman (current
59         or former) and/or members of any Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           Senator’s or Congressman’s staff documents, which is unduly burdensome and not required by the FRCP or the Local
           regarding the State of Qatar, the UAE, Rules.
           or Saudi Arabia, as well as any
           documents       relating      to   such
           communications.

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                                                        Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                        irrelevant to the claims and defenses in this case and not proportional to the needs
                                                        of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington All communications with any U.S. Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Cabinet Members (current or former)
60         or their staff, agents, or representatives Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           regarding the State of Qatar, the UAE, documents, which is unduly burdensome and not required by the FRCP or the Local
           or Saudi Arabia, as well as any Rules.
           documents         relating     to    such
           communications.                            Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Stonington All communications with former Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Congressman Ed Royce or his staff,
61         agents, or representatives regarding Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           the State of Qatar, the UAE, or Saudi documents, which is unduly burdensome and not required by the FRCP or the Local
           Arabia, as well as any documents Rules.
           relating to such communications.
                                                 Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                 irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                        produce documents in response to this Request


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Stonington All communications with former             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Congresswoman Ileana Ros-Lehtinen
62         or her staff, agents, or representatives   Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           regarding the State of Qatar, the UAE,     documents, which is unduly burdensome and not required by the FRCP or the Local
           or Saudi Arabia, as well as any            Rules.
           documents       relating     to    such
           communications.                            Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All communications with “civic Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP leaders,” as described in Paragraph 47
63         of the FAC, and/or their staff, agents, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           or representatives, regarding the State documents, which is unduly burdensome and not required by the FRCP or the Local
           of Qatar, the UAE, or Saudi Arabia, as Rules.
           well as any documents relating to such
           communications.                         Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                   irrelevant to the claims and defenses in this case and not proportional to the needs
                                                   of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request
Stonington All communications with any official Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP or representative of the government of
64         Saudi Arabia regarding the State of Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           Qatar, including communications documents, which is unduly burdensome and not required by the FRCP or the Local
           between Broidy’s attorneys and any Rules.
           such official, representative, or
           attorney    of     the    official  or

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           representative, as well as any               Plaintiffs also object to this Request on the ground that it seeks documents that are
           documents         relating    to     such    irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this         of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins          On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.          produce documents in response to this Request.
Stonington All communications with any official         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP or representative of the government of
65         the UAE regarding the State of Qatar,        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between             documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and any such              Rules.
           official, representative, or attorney of
           the official or representative, as well as   Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such               irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this         of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins          On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.          produce documents in response to this Request.
Stonington All communications with George               Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Nader, GS Investment Ltd., or Xiemen
66         Investments Limited, their agents,           Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           their     representatives,     or    their   documents, which is unduly burdensome and not required by the FRCP or the Local
           attorneys, including communications          Rules.
           between Broidy’s attorneys and Mr.
           Nader’s, GS Investment Ltd.’s, or            Plaintiffs also object to this Request on the ground that it seeks documents that are
           Xiemen Investments Limited’s agents,         irrelevant to the claims and defenses in this case and not proportional to the needs
           representatives,         or     attorneys,   of the case.
           regarding the State of Qatar, the UAE,
           or Saudi Arabia, as well as any              On the basis of the foregoing General and Specific objections, Plaintiffs will not
           documents         relating    to     such    produce documents in response to this Request.
           communications. For purposes of this

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 Request
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 Number
           request, Broidy’s attorneys include
           without limitation Latham & Watkins
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Richard             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Miniter or American Media Institute,
67         their agents, their representatives, or     Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           their       attorneys,         including    documents, which is unduly burdensome and not required by the FRCP or the Local
           communications between Broidy’s             Rules.
           attorneys and Mr. Miniter’s or
           American Media Institute’s agents,          Plaintiffs also object to this Request on the ground that it seeks documents that are
           representatives,       or     attorneys,    irrelevant to the claims and defenses in this case and not proportional to the needs
           regarding the State of Qatar, the UAE,      of the case.
           or Saudi Arabia, as well as any
           documents       relating     to     such    On the basis of the foregoing General and Specific objections, Plaintiffs will not
           communications. For purposes of this        produce documents in response to this Request.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Stephen K.          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Bannon,        his       agents,      his
68         representatives, or his attorneys,          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between            documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and Mr. Bannon’s         Rules.
           agents, representatives, or attorneys,
           regarding the State of Qatar, the UAE,      Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any             irrelevant to the claims and defenses in this case and not proportional to the needs
           documents       relating     to     such    of the case.
           communications. For purposes of this
           request, Broidy’s attorneys include         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           without limitation Latham & Watkins         produce documents in response to this Request.
           LLP and Boies Schiller Flexner LLP.

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 Request
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Stonington All communications with Rick Gates,         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, his representatives, or his
69         attorneys, including communications         Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           between Broidy’s attorneys and Mr.          documents, which is unduly burdensome and not required by the FRCP or the Local
           Gates’s agents, representatives, or         Rules.
           attorneys, regarding the State of Qatar,
           the UAE, or Saudi Arabia, as well as        Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such              irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this        of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.         produce documents in response to this Request.
Stonington All communications with Michael             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Cohen, his agents, his representatives,
70         or     his     attorneys,      including    Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           communications between Broidy’s             documents, which is unduly burdensome and not required by the FRCP or the Local
           attorneys and Mr. Cohen’s agents,           Rules.
           representatives,       or     attorneys,
           regarding the State of Qatar, the UAE,      Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any             irrelevant to the claims and defenses in this case and not proportional to the needs
           documents       relating     to     such    of the case.
           communications. For purposes of this
           request, Broidy’s attorneys include         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           without limitation Latham & Watkins         produce documents in response to this Request.
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Tom                 Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Barrack,       his       agents,      his
71         representatives, or his attorneys,          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between            documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and Mr. Barrack’s        Rules.
           agents, representatives, or attorneys,

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 Request
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           regarding the State of Qatar, the UAE, Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any irrelevant to the claims and defenses in this case and not proportional to the needs
           documents       relating    to     such of the case.
           communications.
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All communications with Lev Parnas, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, his representatives, or his
72         attorneys, including communications Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           between Broidy’s attorneys and Mr. documents, which is unduly burdensome and not required by the FRCP or the Local
           Parnas’s agents, representatives, or Rules.
           attorneys, regarding the State of Qatar,
           the UAE, or Saudi Arabia, as well as Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP. produce documents in response to this Request.
Stonington All attorney invoices related to the Plaintiffs object to this Request on the ground that it seeks premature expert
Defs.’ RFP alleged hacking, or any litigation discovery.
73         related to the alleged hacking,
           submitted by Broidy to the UAE or Plaintiffs also object to this Request on the ground that it seeks documents that are
           Saudi Arabia.                            irrelevant to the claims and defenses in this case and not proportional to the needs
                                                    of the case.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents they are understand
                                                      are responsive to this Request to the extent they support Plaintiffs’ claim for
                                                      damages.




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 Request
                           Request                                                  Response and Objections
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Stonington All documents and communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP “relating to your efforts to obtain
74         business from [the UAE and/or Saudi         Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           Arabia] and your efforts to influence       documents, which is unduly burdensome and not required by the FRCP or the Local
           US policy towards [the State of Qatar]      Rules.
           and its alleged support of terrorist
           activities[.]” Tr. of Arraignment and       Plaintiffs also object to this Request on the ground that it seeks documents that are
           Change of Plea 65:21–24, United             irrelevant to the claims and defenses in this case and not proportional to the needs
           States v. Broidy, Case No. 20-cr-210        of the case.
           (D.D.C. Oct. 20, 2020).
                                                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the State of Qatar, the
75         United Arab Emirates, or the Kingdom Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           of Saudi Arabia that were seized documents, which is unduly burdensome and not required by the FRCP or the Local
           during the raid conducted by federal Rules.
           investigators at your office in Los
           Angeles, California in or around July Plaintiffs also object to this Request on the ground that it seeks documents that are
           2018.                                 irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding any U.S. or foreign
76         investigation of your activities relating Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           to the State of Qatar, the United Arab documents, which is unduly burdensome and not required by the FRCP or the Local
           Emirates, or the Kingdom of Saudi Rules.
           Arabia by any federal, state, or other
           regulatory agency, including without

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 Request
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           limitation the investigation related to Plaintiffs also object to this Request on the ground that it seeks documents that are
           USA v. Broidy, Case No. 1:20-cr- irrelevant to the claims and defenses in this case and not proportional to the needs
           00210 in the U.S. District Court for the of the case.
           District of Columbia District.
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents relating to Qatar, the Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP United Arab Emirates, or the Kingdom
77         of Saudi Arabia that you produced to Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           the U.S. government in connection documents, which is unduly burdensome and not required by the FRCP or the Local
           with any investigation by any federal, Rules.
           state, or other regulatory agency,
           including in connection with USA v. Plaintiffs also object to this Request on the ground that it seeks documents that are
           Broidy, Case No. 1:20-cr-00210 in the irrelevant to the claims and defenses in this case and not proportional to the needs
           U.S. District Court for the District of of the case.
           Columbia District.
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All communications with Special Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Counsel Robert Mueller and his
78         investigation team, as referenced in Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           paragraph 147 of the FAC, relating to documents, which is unduly burdensome and not required by the FRCP or the Local
           the State of Qatar, the United Arab Rules.
           Emirates, or the Kingdom of Saudi
           Arabia, as well as any documents Plaintiffs also object to this Request on the ground that it seeks documents that are
           relating to such communications.         irrelevant to the claims and defenses in this case and not proportional to the needs
                                                    of the case.

                                                      Plaintiffs also object to this Request on the ground that responsive documents are
                                                      in the possession, custody and control of Defendants.


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 Request
                             Request                                               Response and Objections
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                                                  Subject to the foregoing General and Specific objections, Plaintiffs will produce
                                                  only the WhatsApp message described in paragraph 147 of the FAC.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to the State of Qatar, the
79         United Arab Emirates, or the Kingdom Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           of Saudi Arabia that you produced to documents, which is unduly burdensome and not required by the FRCP or the Local
           the U.S. government in connection Rules.
           with the Special Counsel Investigation
           conducted by special prosecutor Plaintiffs also object to this Request on the ground that it seeks documents that are
           Robert Mueller.                        irrelevant to the claims and defenses in this case and not proportional to the needs
                                                  of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding       Broidy’s     advocacy,
80         lobbying, or consulting efforts on Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           behalf of Saudi Arabia or the UAE, or documents, which is unduly burdensome and not required by the FRCP or the Local
           any individuals or entities—including Rules.
           but not limited to nonprofit
           organizations, think tanks, and media Plaintiffs also object to this Request on the ground that it seeks documents that are
           organizations—that received funding irrelevant to the claims and defenses in this case and not proportional to the needs
           from either country, relating to the of the case.
           State of Qatar.
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding       Broidy’s     advocacy,
81         lobbying, or consulting efforts relating Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           to the State of Qatar or any Qatar- documents, which is unduly burdensome and not required by the FRCP or the Local
           based entity.                            Rules.

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 Request
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                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP related to any consultants, vendors, or
82         other entities working on behalf of the Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           King of Saudi Arabia or the United documents, which is unduly burdensome and not required by the FRCP or the Local
           Arab Emirates, including without        Rules.
           limitation DarkMatter.
                                                   Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                   irrelevant to the claims and defenses in this case and not proportional to the needs
                                                   of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding monetary payments or
83         donations made or received by Broidy, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           or at Broidy’s direction, in connection documents, which is unduly burdensome and not required by the FRCP or the Local
           with Broidy’s advocacy, lobbying, or Rules.
           consulting efforts relating to the State
           of Qatar, including without limitation Plaintiffs also object to this Request on the ground that it seeks documents that are
           documents and communications irrelevant to the claims and defenses in this case and not proportional to the needs
           relating to monetary payments or of the case.
           donations made or received by Broidy
           to or from Saudi Arabia or the UAE.      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.

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 Request
                           Request                                                 Response and Objections
 Number
Stonington All documents and communications           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding contracts, business deals, or
84         other arrangements of value sought or      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           entered into by Broidy as a result of or   documents, which is unduly burdensome and not required by the FRCP or the Local
           in connection with Broidy’s advocacy,      Rules.
           lobbying, or consulting efforts relating
           to the State of Qatar.                     Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents or communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding contracts, business deals, or
85         other arrangements of value sought or Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           entered into by companies owned in documents, which is unduly burdensome and not required by the FRCP or the Local
           whole or in part by Broidy, including Rules.
           without        limitation       Circinus
           Worldwide and Threat Deterrence Plaintiffs also object to this Request on the ground that it seeks documents that are
           Capital, as a result of or in connection irrelevant to the claims and defenses in this case and not proportional to the needs
           with Broidy’s advocacy, lobbying, or of the case.
           consulting efforts relating to the State
           of Qatar.                                On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding proposals, pitches, bids, or
86         solicitations for business arrangements Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           by Broidy or Broidy’s affiliated documents, which is unduly burdensome and not required by the FRCP or the Local
           companies,        including      without Rules.
           limitation Circinus Worldwide and


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 Request
                            Request                                               Response and Objections
 Number
             Threat Deterrence Capital, to Saudi Plaintiffs also object to this Request on the ground that it seeks documents that are
             Arabia or the UAE.                  irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to any financial transactions or
87         exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           whether directly or through an documents, which is unduly burdensome and not required by the FRCP or the Local
           intermediary, between Broidy and Rules.
           Circinus       Worldwide,         Threat
           Deterrence Capital, George Nader, GS Plaintiffs also object to this Request on the ground that it seeks documents that are
           Investment       Ltd.,    or     Xiemen irrelevant to the claims and defenses in this case and not proportional to the needs
           Investments Limited.                      of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to any financial transactions or
88         exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           whether directly or through an documents, which is unduly burdensome and not required by the FRCP or the Local
           intermediary, between Broidy and Rules.
           Circinus       Worldwide,         Threat
           Deterrence Capital, Richard Miniter, Plaintiffs also object to this Request on the ground that it seeks documents that are
           or American Media Institute.              irrelevant to the claims and defenses in this case and not proportional to the needs
                                                     of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.


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 Request
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Stonington All bank statements for personal and Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP business accounts belonging to Broidy irrelevant to the claims and defenses in this case and not proportional to the needs
89         between January 1, 2016, and the of the case.
           present.
                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All bank statements and financial Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP statements for business accounts in the irrelevant to the claims and defenses in this case and not proportional to the needs
90         name of any entity in which you have of the case.
           a majority ownership interest, either
           directly or indirectly, between January On the basis of the foregoing General and Specific objections, Plaintiffs will not
           1, 2016, and the present.               produce documents in response to this Request.
Stonington Documents sufficient to show your Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP call history from January 1, 2016, to
91         the present for any personal or Plaintiffs also object to this Request on the ground that it seeks “all” such
           business phone numbers used by requested documents, which is unduly burdensome and not required by the FRCP
           Broidy, including without limitation or the Local Rules.
           each of your mobile devices.
                                                   Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                   irrelevant to the claims and defenses in this case and not proportional to the needs
                                                   of the case.

                                               On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                               produce documents in response to this Request.
Stonington Copies of all your diaries and Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP calendars for the years 2016 to the
92         present.                            Plaintiffs also object to this Request on the ground that it seeks documents that are
                                               irrelevant to the claims and defenses in this case and not proportional to the needs
                                               of the case.



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 Request
                            Request                                                 Response and Objections
 Number
                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All contact lists, address books, Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   rolodexes, or similar documents that irrelevant to the claims and defenses in this case and not proportional to the needs
93           identify the names and contact of the case.
             information for your professional and
             personal contacts.                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All travel itineraries that reflect trips Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   that you took to the Middle East for irrelevant to the claims and defenses in this case and not proportional to the needs
94           business from January 1, 2016, to the of the case.
             present.
                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All      expense        reimbursements Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   submitted by you, or someone acting irrelevant to the claims and defenses in this case and not proportional to the needs
95           on your behalf, to any person that of the case.
             relate to trips that you took to the
             Middle East for business from January On the basis of the foregoing General and Specific objections, Plaintiffs will not
             1, 2016, to the present.                  produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to any conferences you
96           organized, participated in, or financed, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             involving the State of Qatar, the documents, which is unduly burdensome and not required by the FRCP or the Local
             United Arab Emirates, or the Kingdom Rules.
             of Saudi Arabia.
                                                       Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                       irrelevant to the claims and defenses in this case and not proportional to the needs
                                                       of the case.



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 Request
                            Request                                              Response and Objections
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                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington All communications, with any person, Plaintiffs object to this Request on the ground that it is vague, ambiguous, overly
Defs.’ RFP including without limitation your broad, and seeks privileged information.
97         associates, any member of the media,
           foreign heads of state, agents or Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           representatives of foreign states, or communications, which is unduly burdensome and not required by the FRCP or the
           U.S. government officials, agents, or Local Rules.
           representatives (current or former)
           regarding the alleged hacking, as well Plaintiffs also object to this Request on the ground that a request for all
           as any documents relating to such communications “regarding the alleged hacking,” in particular, is overly broad,
           communications.                        unduly burdensome, irrelevant to the claims and defenses in this case and not
                                                  proportional to the needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents that Broidy shared with Plaintiffs object to this Request on the ground that it seeks “all” such requested
Defs.’ RFP officials, agents, or representatives of documents, which is unduly burdensome and not required by the FRCP or the Local
98         the United States government (current Rules.
           or former) regarding the alleged
           hacking.                                 Plaintiffs also object to this Request on the ground that a request for all
                                                    communications “regarding the alleged hacking” is overly broad, unduly
                                                    burdensome, irrelevant to the claims and defenses in this case and not proportional
                                                    to the needs of the case.

                                                On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding Broidy’s efforts to have
99         representatives of the United States
           government      prosecute    persons

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 Request
                            Request                                              Response and Objections
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             allegedly involved with the alleged Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             hacking that were shared with or documents, which is unduly burdensome and not required by the FRCP or the Local
             received from the U.S. government or Rules.
             any third party.
                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to the claims and defenses in this case and not proportional to the needs
                                                  of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the State of Qatar, the UAE,
100        or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           attorneys shared with, or received documents, which is unduly burdensome and not required by the FRCP or the Local
           from, the United States government in Rules.
           the context of negotiating Broidy’s
           plea deal for one count of conspiracy Plaintiffs also object to this Request on the ground that it seeks documents that are
           to violate the Foreign Agents irrelevant to the claims and defenses in this case and not proportional to the needs
           Registration Act (“FARA”).             of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the State of Qatar, the UAE,
101        or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           attorneys shared with, or received documents, which is unduly burdensome and not required by the FRCP or the Local
           from, the United States government— Rules.
           including without limitation President
           Donald Trump, White House staff, Plaintiffs also object to this Request on the ground that it seeks documents that are
           and/or members of President Trump’s irrelevant to the claims and defenses in this case and not proportional to the needs
           family or staff or their attorneys—in of the case.

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 Request
                           Request                                                Response and Objections
 Number
           the context of negotiating Broidy’s
           pardon related to one count of            On the basis of the foregoing General and Specific objections, Plaintiffs will not
           conspiracy to violate FARA.               produce documents in response to this Request.
Stonington All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the State of Qatar, the UAE,
102        or Saudi Arabia that Broidy or his        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           attorneys shared with, or received        documents, which is unduly burdensome and not required by the FRCP or the Local
           from, Save America PAC staff;             Rules.
           America First Action PAC staff; Make
           America Great Again Action PAC            Plaintiffs also object to this Request on the ground that it seeks documents that are
           staff; Make America Great Again,          irrelevant to the claims and defenses in this case and not proportional to the needs
           Again PAC staff; Trump presidential       of the case.
           campaign staff; Trump Administration
           transition team members; or the agents    On the basis of the foregoing General and Specific objections, Plaintiffs will not
           or representatives of any of the          produce documents in response to this Request.
           individuals or organizations identified
           in this Request, in the context of
           negotiating Broidy’s pardon related to
           one count of conspiracy to violate
           FARA.
Stonington All recordings, declarations, or          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP affidavits, by or about Broidy
103        regarding the State of Qatar, the UAE,    Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           or Saudi Arabia.                          documents, which is unduly burdensome and not required by the FRCP or the Local
                                                     Rules.

                                                     Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                     not within Plaintiffs’ possession, custody, or control, and that are irrelevant to the
                                                     claims and defenses in this case and not proportional to the needs of the case.




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 Request
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 Number
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his    agents,    or     representatives
104        (including without limitation lawyers Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           at Boies Schiller Flexner LLP) and documents, which is unduly burdensome and not required by the FRCP or the Local
           members of the press, or their staff, Rules.
           agents, or representatives, including
           without limitation the following, Plaintiffs also object to this Request on the ground that it seeks documents that are
           regarding the State of Qatar or irrelevant to the claims and defenses in this case and not proportional to the needs
           Defendants, as well as any documents of the case.
           relating to such communications:
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
            Author              Publication
            Desmond Butler AP
            Tom LoBianco AP
            Suzanne             BBC News
            Kianpour
            David Voreacos Bloomberg
            Eli Lake            Bloomberg
            Zachary        R. Bloomberg
            Mider
            Kevin Collier       Buzzfeed News
            Jessica             Huffington Post
            Schulberg
            Maxwell             Huffington Post
            Strachan
            Shmuley             Jerusalem Post
            Boteach
            Ben Wieder          McClatchy

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Request
                       Request                                  Response and Objections
Number
          Kevin G. Hall     McClatchy
          Peter Stone       McClatchy
          Dan Friedman      Mother Jones
          Paul Campos       New York
                            Magazine
          David        D. New York
          Kirkpatrick       Times
          Jim Rutenberg     New York
                            Times
          Kenneth        P. New York
          Vogel             Times
          Maggie            New York
          Haberman          Times
          Mark Mazzetti     New York
                            Times
          Rebecca R. Ruiz New York
                            Times
          Ronan Farrow      New Yorker
          Greg Price        Newsweek
          David             NPR
          Kirkpatrick
          Terry Gross       NPR
          Alex Isenstadt    Politico
          Andy Kroll        Rolling Stone
          Armin Rosen       Tablet
                            Magazine
          Betsy Woodruff The Daily Beast
          Justin Glawe      The Daily Beast
          Alex Emmons       The Intercept
          Ryan Grim         The Intercept


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Request
                     Request                                   Response and Objections
Number
          Aruna          Wall Street
          Viswanatha     Journal
          Bradley Hope   Wall Street
                         Journal
          Joe Palazzolo  Wall Street
                         Journal
          Julie Bykowicz Wall Street
                         Journal
          Michael        Wall Street
          Rothfeld       Journal
          Rebecca        Wall Street
          Ballhaus       Journal
          Tom Wright     Wall Street
                         Journal
          Beth Reinhard  Washington
                         Post
          Carol D.       Washington
          Leonnig        Post
          Devin Barrett  Washington
                         Post
          Ellen          Washington
          Nakashima      Post
          Emma Brown     Washington
                         Post
          Josh Dawsey    Washington
                         Post
          Karen DeYoung Washington
                         Post
          Paul Waldman   Washington
                         Post


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 Request
                            Request                                                Response and Objections
 Number
             Tom               Washington
             Hamburger         Post
Stonington All communications with Joel               Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Mowbray       and     Fourth    Factor
105        Consulting,      including     without     Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           limitation their staff, agents, or         documents, which is unduly burdensome and not required by the FRCP or the Local
           representatives, regarding the State of    Rules.
           Qatar, the UAE, Saudi Arabia,
           Defendants, or the alleged hacking, as     Plaintiffs also object to this Request on the ground that it seeks documents that are
           well as any documents relating to such     irrelevant to the claims and defenses in this case and not proportional to the needs
           communications.                            of the case.

                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                    reasonable search and will produce non-privileged documents that are responsive
                                                    to this Request to the extent they are relevant to the hacking.
Stonington All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, or his representatives
109        (including without limitation lawyers Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           at Boies Schiller Flexner LLP) and the documents, which is unduly burdensome and not required by the FRCP or the Local
           following individuals or entities, their Rules.
           agents, representatives, affiliates, or
           affiliated organizations regarding the Plaintiffs also object to this Request on the ground that it seeks documents that are
           State of Qatar, the UAE, Saudi Arabia, irrelevant to the claims and defenses in this case and not proportional to the needs
           or Defendants, as well as any of the case.
           documents        relating   to     such
           communications:                          On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
           Aaron Keyak, Andrew Harrod, David
           Reaboi, David Suissa, Ed Royce,
           Ileana       Ros-Lehtinen,        Jason
           Torchinsky, Lisa Korbatov, Charles

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 Request
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 Number
           Wald, Matt Brooks, Mike Cernovich,
           Mike Makovsky, Miriam Adelson,
           Richard Miniter, Richard Mintz, Ron
           Bonjean, Allen West, Shmuley
           Boteach, Steve Rabinowitz, Bluelight
           Strategies, the Hudson Institute,
           Secure America Now Foundation, the
           Jewish Institute for National Security
           of     America      (“JINSA”),    the
           Washington Institute for Near East
           Affairs, or any staff, agents, or
           representatives of the foregoing.
Stonington All communications, with any person,     Plaintiffs object to this Request on the ground that it is vague, ambiguous,
Defs.’ RFP to the extent not already requested,     overbroad, and seeks privileged information. Plaintiffs also object to this Request
110        regarding the Stonington Defendants,     on the ground that it seeks “all” such requested documents, which is unduly
           as well as any documents relating to     burdensome and not required by the FRCP or the Local Rules. Plaintiffs also object
           such communications.                     to this Request on the ground that it seeks documents that are irrelevant to the claims
                                                    and defenses in this case and not proportional to the needs of the case.

                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                    reasonable search and will produce non-privileged documents that are responsive
                                                    to this Request to the extent they are relevant to the hacking.
Stonington All communications, with any person,     Plaintiffs object to this Request on the ground that it is vague, ambiguous,
Defs.’ RFP to the extent not already requested,     overbroad, and seeks privileged information. Plaintiffs also object to this Request
111        regarding any defendant in the           on the ground that it seeks “all” such requested documents, which is unduly
           S.D.N.Y. Action, including without       burdensome and not required by the FRCP or the Local Rules. Plaintiffs also object
           limitation Global Risk Advisors LLC,     to this Request on the ground that it seeks documents that are irrelevant to the claims
           GRA Maven LLC, GRA Quantum               and defenses in the case and not proportional to the needs of the case.
           LLC, GRA EMEA Limited, GRA
           Research LLC, Qrypt, Inc., Kevin Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
           Chalker, Denis Mandich, Antonio

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 Request
                            Request                                              Response and Objections
 Number
           Garcia, and Courtney Chalker, as well reasonable search and will produce non-privileged, non-publicly available
           as any documents relating to such documents they understand are responsive to this Request to the extent they regard
           communications.                        Global Risk Advisors LLC, GRA Maven LLC, GRA Quantum LLC, GRA EMEA
                                                  Limited, GRA Research LLC, Qrypt, Inc., Kevin Chalker, Denis Mandich, Antonio
                                                  Garcia, or Courtney Chalker and relevant to the hacking.
Stonington All communications, with any person, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP to the extent not already requested, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
112        regarding any defendant in the documents, which is unduly burdensome and not required by the FRCP or the Local
           Benomar New York Action, including Rules. Plaintiffs also object to this Request on the ground that it seeks documents
           without limitation Jamal Benomar, as that are irrelevant to the claims and defenses in the case and not proportional to the
           well as any documents relating to such needs of the case.
           communications.
                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged, non-publicly available
                                                  documents they understand are responsive to this Request to the extent they regard
                                                  any defendant in the Benomar New York Action and relevant to the hacking.
Stonington All non-privileged communications Plaintiffs object to this Request on the ground that it is overbroad, including because
Defs.’ RFP relating to the California Action, the it seeks “all” such requested documents, which is unduly burdensome and not
113        Benomar New York Action, or the required by the FRCP or the Local Rules. Plaintiffs also object to this Request on
           S.D.N.Y. Action.                       the ground that it seeks documents that are irrelevant to the claims and defenses in
                                                  the case and not proportional to the needs of the case given the fact that Plaintiffs
                                                  have agreed to produce documents responsive to more targeted Requests as set forth
                                                  herein.

                                                Based on foregoing General and Specific objections, Plaintiffs will not produce
                                                documents in response to this Request.
Stonington All communications that discuss, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP transmit, attach, disclose, publish,
114        share, or forward pleadings or other Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           documents filed in this Action, the documents, which is unduly burdensome and not required by the FRCP or the Local
           California Action, the Benomar New Rules.

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 Request
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             York Action, or the S.D.N.Y. Action
             to the United Arab Emirates and the Plaintiffs also object to this Request on the ground that it seeks documents that are
             Kingdom of Saudi Arabia.            irrelevant to the claims and defenses in the case and not proportional to the needs
                                                 of the case.

                                                      Plaintiffs also object to this Request to the extent Plaintiffs are prohibited from
                                                      producing responsive documents.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington All non-privileged communications          Plaintiffs object to this Request on the ground that it is overbroad including because
Defs.’ RFP regarding any document produced by         it seeks “all” such requested documents, which is unduly burdensome and not
115        any party or third party in this Action,   required by the FRCP or the Local Rules. Plaintiffs also object to this Request on
           the California Action, the Benomar         the ground that it seeks documents that are irrelevant to the claims and defenses in
           New York Action, or the S.D.N.Y.           the case and not proportional to the needs of the case. Plaintiffs also object to this
           Action.                                    Request to the extent Plaintiffs are prohibited from producing responsive
                                                      documents.

                                                On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                produce documents in response to this Request.
Stonington All communications, with any person, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the Qatar Investment
116        Authority—which is identified in Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           paragraph 68 of the FAC—as well as documents, which is unduly burdensome and not required by the FRCP or the Local
           any documents relating to such Rules.
           communications.
                                                Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                irrelevant to the claims and defenses in the case and not proportional to the needs
                                                of the case.




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 Request
                            Request                                               Response and Objections
 Number
                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All communications, with any person,      Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the public relations firms or   Plaintiffs object also to this Request on the ground that it seeks “all” such requested
117        consultants that you identify in the      documents, which is unduly burdensome and not required by the FRCP or the Local
           FAC, including without limitation         Rules. Plaintiffs also object to this Request on the ground that it seeks documents
           Conover & Gould (Paragraph 17),           that are irrelevant to the claims and defenses in the case and not proportional to the
           Mercury Public Affairs (Paragraph         needs of the case.
           17), Sphere Consulting (Paragraph
           153), James Courtovich (Paragraph         Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
           153), and BlueFort Public Relations       reasonable search and will produce non-privileged documents that are responsive
           LLC (identified in Paragraph 161).        to this Request to the extent they are relevant to the hacking.
Stonington All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding a memorandum authored by        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
118        Jason Torchinsky concerning work          documents, which is unduly burdensome and not required by the FRCP or the Local
           that Stonington did for the State of      Rules. Plaintiffs also object to this Request on the ground that it seeks documents
           Qatar.                                    that are irrelevant to the claims and defenses in the case not proportional to the
                                                     needs of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request to the extent they are relevant to the
                                                  hacking.
Stonington All communications between Broidy Plaintiffs object to this Request on the ground that it seeks “all” such requested
Defs.’ RFP and any person or entity that documents, which is unduly burdensome and not required by the FRCP or the Local
119        performed any advocacy, consulting, Rules.
           or lobbying work in the United States
           on behalf of the UAE or Saudi Arabia, Plaintiffs also object to this Request on the ground that it seeks documents that are
           or any individuals or entities— irrelevant to the claims and defenses in the case and not proportional to the needs
           including without limitation nonprofit of the case.
           organizations, think tanks, and media


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 Request
                            Request                                                 Response and Objections
 Number
           organizations—that received funding         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           from either country, as well as any         produce documents in response to this Request.
           documents        relating    to     such
           communications.
Stonington All recorded conversations, whether         Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP audio or video, to the extent not           irrelevant to the claims and defenses in the case and not proportional to the needs
120        already requested, in Broidy’s              of the case, and within the possession of Defendants and/or third parties.
           possession between Defendants and
           any person regarding any of the events      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
           described in the FAC, including             reasonable search and will produce non-privileged documents that are responsive
           without limitation recordings of            to this Request to the extent they exist and are relevant to the hacking.
           conversations regarding the alleged
           hacking.
Stonington All documents and communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP that discuss, transmit, attach, disclose,   Plaintiffs also object to this Request on the ground that it seeks “all” such requested
121        publish, share, or forward any              documents, which is unduly burdensome and not required by the FRCP or the Local
           recorded conversations, written or          Rules. Plaintiffs also object to this Request on the ground that it seeks documents
           oral, between Defendants and any            that are irrelevant to the claims and defenses in the case and not proportional to the
           person.                                     needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   Identify by name, address, and Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       telephone number all domestic and overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROG 5        foreign banks or financial institutions needs of the case.
             in which you have or had an account or
             over which you have or had signatory Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             authority or other such control to this Interrogatory.
             between January 1, 2016, and the
             present, and provide the account
             numbers and types of accounts.

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 Request
                            Request                                                   Response and Objections
 Number
Stonington   Identify by name, address, and              Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       telephone number all telephone or           overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROG 6        cellular providers with which you have      needs of the case.
             or had an account or over which you
             have or had signatory authority or          Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             other such control between January 1,       to this Interrogatory.
             2016, and the present, and provide the
             account numbers, types of accounts,
             and all telephone numbers associated
             with each account.
Stonington   Identify each corporation, partnership,     Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       limited liability company, trust, or        overly broad, vexatious and irrelevant to the case, and thus not proportional to the
ROG 7        other business entity in which you          needs of the case.
             have a direct or indirect ownership
             interest, as well as the amount of that     Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             interest, that has been or is involved in   to this Interrogatory.
             any activities relating to the State of
             Qatar, the United Arab Emirates, or
             the Kingdom of Saudi Arabia.
Stonington   Identify      all    employment        or   Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       independent contractor positions you        overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROG 8        have held from January 1, 2016, to the      needs of the case.
             present.
                                                   Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                   to this Interrogatory.
Stonington   With respect to each publication of Plaintiffs object to this Interrogatory on the ground that the truth or falsity of the
Defs.’       information that you describe in the published information is not relevant to any claim or defense in this action, and thus
ROG 16       FAC, identify all false statements in not relevant or proportional to the needs of the case.
             such publication and explain why they
             are false, including: (a) the stories Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             published by the New York Times, to this Interrogatory.

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Request
                        Request                                  Response and Objections
Number
          McClatchy, the Wall Street Journal,
          and the Washington Post, described in
          paragraph 119 of the FAC; (b) the
          March 3, 2018 New York Times
          article described in paragraph 121 of
          the FAC; (c) the March 26, 2018
          Associated Press article authored by
          Tom LoBianco described in paragraph
          126 of the FAC; (d) the Newsweek
          article described in paragraph 127 of
          the FAC; (e) the May 21, 2018
          Associated Press article described in
          paragraph 130 of the FAC; (f) the
          March 1, 2018 Wall Street Journal
          article described in paragraph 142 of
          the FAC; (g) the March 2, 2018
          Huffington Post article described in
          paragraph 144 of the FAC; (h) the
          March 5, 2018 report by the BBC
          described in paragraph 144 of the FAC
          (i) the March 26, 2018 McClatchy
          article described in paragraph 148 of
          the FAC; (j) the March 25, 2018 New
          York Times article described in
          paragraph 151 of the FAC; (k) the
          March 21, 2018 New York Times
          article described in paragraph 152 of
          the FAC; (l) the March 23, 2018
          Bloomberg article described in
          paragraph 152 of the FAC.


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 Request
                            Request                                                   Response and Objections
 Number
Stonington   Identify each and every payment,            Plaintiffs object to this Interrogatory on the ground that it seek information that is
Defs.’       donation, distribution, or other item of    vexatious and irrelevant to any claim or defense in the case, and thus not
ROG 17       value that you received from, or on         proportional to the needs of the case.
             behalf of, the UAE or Saudi Arabia or
             its current or former agents, officials,    Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or representatives, or any individuals      to this Interrogatory.
             or entities—including but not limited
             to nonprofit organizations, think tanks,
             and       media      organizations—that
             received funding from either country,
             related to your efforts against the State
             of Qatar, including without limitation
             to your efforts as “an outspoken critic
             of the State of Qatar” and to “publicly
             criticize[]” the State of Qatar.
Stonington   Identify each UAE official, agent, or       Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       representative (current or former) with     vexatious and irrelevant to any claim or defense in the case, and thus not
ROG 18       whom you, your agents, or                   proportional to the needs of the case.
             representatives (including attorneys)
             communicated (in writing or orally)         Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             regarding the State of Qatar.               to this Interrogatory.
Stonington   Identify each Saudi Arabia official,        Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       agent, or representative (current or        vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 19       former) with whom you, your agents,         proportional to the needs of the case.
             or       representatives      (including
             attorneys) communicated (in writing         Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or orally) regarding the State of Qatar.    to this Interrogatory.
Stonington   Identify each U.S. official, agent, or      Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       representative (current or former)—         vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 20       including without limitation U.S.           proportional to the needs of the case.
             Cabinet Members or their staff,

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 Request
                           Request                                                 Response and Objections
 Number
             Members of the U.S. House or Senate      Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or their staff, administrative agency    to this Interrogatory.
             staff, President Donald Trump and/or
             members of President Trump’s family,
             White House staff, or their attorneys—
             with whom you, your agents, or
             representatives (including attorneys)
             communicated (in writing or orally)
             regarding the State of Qatar, the UAE,
             or Saudi Arabia.
Stonington   To the extent not already identified,    Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       identify each individual or campaign     vexation and irrelevant to any claim or defense in this case, and thus not
ROG 21       organization, PAC, Hybrid PAC,           proportional to the needs of the case.
             Super PAC, 501(c)(3) organization,
             501(c)(4) organization, think tank, or   Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             media          organization—including    to this Interrogatory.
             without limitation members of the
             Trump presidential campaign, Save
             America PAC staff, Make America
             Great Again Action PAC staff, Make
             America Great Again, Again PAC
             staff, or Trump Administration
             transition team— with whom you,
             your agents, or representatives
             (including attorneys) communicated
             (in writing or orally) regarding the
             State of Qatar, the UAE, or Saudi
             Arabia.
Stonington   Describe in detail each investigation    Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       by any foreign state or U.S. federal,    vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 22       state, or other regulatory agency        proportional to the needs of the case.

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Request
                        Request                                             Response and Objections
Number
          relating to the State of Qatar, the
          United Arab Emirates, or the Kingdom Based on the foregoing General and Specific Objections, Plaintiffs will not respond
          of Saudi Arabia, whether in the United to this Interrogatory.
          States or abroad, where you have
          provided any information or otherwise
          been informed that your conduct was
          within the scope of the investigation,
          including the date(s) when you learned
          of the investigation, which agency(ies)
          are conducting the investigation, the
          alleged conduct being investigated,
          and the status or outcome of the
          investigation.




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           Section B.       Broidy Refuses to Provide Relevant Documents and Information Regarding The Illegal
                               Activity Evidenced in the Leaked Emails Underlying his Claims.

 Request
                          Request                                                Response and Objections
 Number
Howard’s   Admit that the United Arab Emirates is    Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 1      paying or has paid for some portion of    concerns facts that are irrelevant to this case.
           Your attorneys’ fees in pursuing one or
           more of the following actions: the      Based on the foregoing General and Specific objections, Plaintiffs will not respond
           above-captioned matter, BCM v. State    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           of Qatar, No. 2:18-cv-02421 (C.D.       at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Cal. March 26, 2018), BCM v.            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           Benomar,       No.        7:18-cv-6615  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           (S.D.N.Y. Jul. 23, 2018), and BCM v.    attorneys’ fees to responding party because motion to compel was not substantially
           Global Risk Advisors LLC et al, No.     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           19-cv-11861 (S.D.N.Y. Dec. 27,          *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
           2019).                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that Saudi Arabia is paying or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 2      has paid for some portion of Your concerns allegations that are irrelevant to this case.
           attorneys’ fees in pursuing one or more
           of the following actions: the above- Based on the foregoing General and Specific objections, Plaintiffs will not respond
           captioned matter, BCM v. State of to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Qatar, No. 2:18-cv-02421 (C.D. Cal. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           March 26, 2018), BCM v. Benomar, admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           No. 7:18-cv-6615 (S.D.N.Y. Jul. 23, JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           2018), and BCM v. Global Risk attorneys’ fees to responding party because motion to compel was not substantially
           Advisors LLC et al, No. 19-cv-11861 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           (S.D.N.Y. Dec. 27, 2019).               *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and

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                                           irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                           award where party submitted requests for admission “for an improper purpose” and
                                           where “[v]irtually all of the requests have no relevance to the underlying action and
                                           could only be intended to harass defendant”).
Howard’s   Admit that You own a majority Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 3      ownership interest in Circinus. irrelevant to this case.

                                            Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                            to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                            at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                            JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                            attorneys’ fees to responding party because motion to compel was not substantially
                                            justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                            *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                            all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                            irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                            award where party submitted requests for admission “for an improper purpose” and
                                            where “[v]irtually all of the requests have no relevance to the underlying action and
                                            could only be intended to harass defendant”).
Howard’s   Admit that Circinus has multiple Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 4      contracts with the United Arab concerns allegations that are irrelevant to this case.
           Emirates
                                            Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                            to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                            at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                            admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                            JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                            attorneys’ fees to responding party because motion to compel was not substantially
                                            justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                            *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not

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                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that at least one of Circinus’s Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 5      contracts with the United Arab concerns allegations that are irrelevant to this case.
           Emirates is worth more than $200
           million.                              Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that Circinus has considered Plaintiffs object to this Request on the ground that it is concerns allegations that are
RFA 6      business opportunities with Saudi irrelevant to this case.
           Arabia.
                                                 Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at

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                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that George Nader provided Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 7      You at least $2.5 million as payment concerns allegations that are irrelevant to this case.
           for consulting, marketing, or other
           advisory services.                   Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have advocated on Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 8      behalf, or for the interests, of the concerns allegations that are irrelevant to this case.
           United Arab Emirates to at least one
           representative of the United States Based on the foregoing General and Specific objections, Plaintiffs will not respond
           government on at least one occasion to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           since January 1, 2016.               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially

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                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 9      financial compensation from the concerns allegations that are irrelevant to this case.
           United Arab Emirates since January 1,
           2016 in exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                              to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have lobbied at least Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 10     one representative of the United States concerns allegations that are irrelevant to this case.
           government to cut ties with Qatar,
           because, for among other reasons, you Based on the foregoing General and Specific objections, Plaintiffs will not respond
           were acting at the behest of the United to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Arab Emirates.                          at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding

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                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have advocated at the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 11     request or direction of, on behalf of, or concerns allegations that are irrelevant to this case.
           for the interests of Saudi Arabia to at
           least one representative of the United Based on the foregoing General and Specific objections, Plaintiffs will not respond
           States government on at least one to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           occasion since January 1, 2016.           at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 12     financial compensation from Saudi concerns allegations that are irrelevant to this case.
           Arabia since January 1, 2016 in
           exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889

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                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have lobbied or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 13     encouraged at least one representative concerns allegations that are irrelevant to this case.
           of the United States government to cut
           ties with Qatar, because, for among Based on the foregoing General and Specific objections, Plaintiffs will not respond
           other reasons, you were acting at the to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           behest of Saudi Arabia.                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You have advocated at the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 14     request or direction of, on behalf of, or concerns allegations that are irrelevant to this case.
           for the interests of the Republic of
           Angola to at least one representative of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the United States government on at to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for

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           least one occasion since January 1, admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           2016.                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 15     financial compensation from the concerns allegations that are irrelevant to this case.
           Republic of Angola since January 1,
           2016 in exchange for work You have Based on the foregoing General and Specific objections, Plaintiffs will not respond
           performed.                           to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have criticized Qatar Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 16     in meetings with at least one irrelevant to this case.
           representative of the United States
           government.                          Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,

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                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 17     payment in exchange for efforts to concerns allegations that are irrelevant to this case.
           influence or alter the views or actions
           of President Donald J. Trump Based on the foregoing General and Specific objections, Plaintiffs will not respond
           regarding Qatar.                        to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have received Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 18     payment in exchange for efforts to concerns allegations that are irrelevant to this case. Plaintiffs further object to this
           influence or alter the views or actions Request because it is vague and ambiguous.
           of at least one other representative of

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           the United States        government Based on the foregoing General and Specific objections, Plaintiffs will not respond
           regarding Qatar.                     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You have urged or Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 19     encouraged President Donald J. concerns allegations that are irrelevant to this case.
           Trump to meet privately outside the
           White House with at least one leader Based on the foregoing General and Specific objections, Plaintiffs will not respond
           of the United Arab Emirates.         to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You attempted to persuade Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 20     President Donald J. Trump, or any concerns allegations that are irrelevant to this case.

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           member of the Trump Administration,
           to remove Secretary of State Rex W. Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Tillerson based on his views on, or to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           approach to, Qatar and/or Iran.      at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You provided financial Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 21     contribution for a conference hosted concerns allegations that are irrelevant to this case.
           by The Foundation for Defense of
           Democracies in May 2017 that Based on the foregoing General and Specific objections, Plaintiffs will not respond
           involved criticism of the State of to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           Qatar.                               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).


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Howard’s   Admit that You provided financial         Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 22     contribution for a conference hosted      concerns allegations that are irrelevant to this case.
           by the Hudson Institute in April 2017
           that involved criticism of the State ofBased on the foregoing General and Specific objections, Plaintiffs will not respond
           Qatar.                                 to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that, in 2017, You were aware Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 23     of plans to hack the website, computer concerns allegations that are irrelevant to this case.
           server, or email system of the Qatar
           News Agency prior to such hack.        Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and


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                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You know at least one party Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 24     involved in hacking the website, concerns allegations that are irrelevant to this case.
           computer server, or email system of
           the Qatar News Agency in 2017.          Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You communicated with at Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 25     least one party involved in the hacking concerns allegations that are irrelevant to this case.
           of, or plan to hack, the website,
           computer server, or email system of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the Qatar News Agency prior to such to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           hack.                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions

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                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 26     coordinate, execute, or encourage the concerns allegations that are irrelevant to this case.
           hacking of the website, computer
           server, or email system of the Qatar Based on the foregoing General and Specific objections, Plaintiffs will not respond
           News Agency in 2017.                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 27     coordinate, or finance the creation, irrelevant to this case.
           production, or distribution of at least
           one documentary, movie, video, or Based on the foregoing General and Specific objections, Plaintiffs will not respond
           other media project regarding the State to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           of Qatar.                               at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and

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                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You helped plan, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 28     coordinate, execute, finance, or concerns allegations that are irrelevant to this case.
           encourage protest activity in front of
           the Embassy of the State of Qatar in Based on the foregoing General and Specific objections, Plaintiffs will not respond
           June 2017.                             to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You own a majority Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 29     ownership interest in the company irrelevant to this case.
           Fieldcrest Advisors, LLC.
                                                  Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not

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                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You helped set up, Plaintiffs object to this Request on the ground that it concerns allegations that are
RFA 30     coordinate, facilitate, plan, or enable a irrelevant to this case.
           visit by President Donald. J. Trump to
           Saudi Arabia in May 2017.                 Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You helped The Counter Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 31     Extremism Project—including any of concerns allegations that are irrelevant to this case.
           its leaders, employees, agents, or
           representatives—learn         about     a Based on the foregoing General and Specific objections, Plaintiffs will not respond
           planned embargo or blockade of Qatar to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           before such embargo or blockade at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           began in June 2017.                       admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at

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                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You know who informed Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 32     The Counter Extremism Project— concerns allegations that are irrelevant to this case.
           including any of its leaders,
           employees,         agents,        or Based on the foregoing General and Specific objections, Plaintiffs will not respond
           representatives—about a planned to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           embargo or blockade of Qatar before at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           such embargo or blockade began in admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           June 2017.                           JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You helped finance, Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 33     organize, coordinate, or produce an concerns allegations that are irrelevant to this case.
           anti-Qatar advertising campaign
           conducted by The Saudi American Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Public Relation Affairs Committee in to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           the summer of 2017.                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially

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                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You played a role in having Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 34     a memorandum of understanding vexatious, harassing, and concerns allegations that are irrelevant to this case.
           between the United States and Qatar
           moved from a United States Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Department of State building to a to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           United States congressional building. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You were involved in any Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 35     way—including proposing, planning, vexatious, harassing, and concerns allegations that are irrelevant to this case.
           encouraging, coordinating, funding,
           facilitating, or executing—in the Based on the foregoing General and Specific objections, Plaintiffs will not respond
           decision to move or process of moving to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           a memorandum of understanding at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           between the United States and Qatar admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           from a United States Department of JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding

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           State building to a United States attorneys’ fees to responding party because motion to compel was not substantially
           congressional building.              justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You communicated with at Plaintiffs object to this Request on the ground that it is vague, ambiguous,
RFA 36     least one agent, representative, or vexatious, harassing, and concerns allegations that are irrelevant to this case.
           official of at least one foreign
           government regarding the contents of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           a memorandum of understanding to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           between the United States and Qatar. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                attorneys’ fees to responding party because motion to compel was not substantially
                                                justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                award where party submitted requests for admission “for an improper purpose” and
                                                where “[v]irtually all of the requests have no relevance to the underlying action and
                                                could only be intended to harass defendant”).
Howard’s   Admit that You helped facilitate a Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 37     meeting between at least one agent, concerns allegations that are irrelevant to this case.
           representative, or official of the
           Republic of Angola and at least one Based on the foregoing General and Specific objections, Plaintiffs will not respond
           member of the United States Congress to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           in January 2017.                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889

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                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that the Republic of Angola Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 38     paid $6 million to Circinus concerns allegations that are irrelevant to this case.
           approximately three days before
           President    Donald     J.   Trump’s Based on the foregoing General and Specific objections, Plaintiffs will not respond
           inauguration.                         to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                 at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                 JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                 attorneys’ fees to responding party because motion to compel was not substantially
                                                 justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                 *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                 all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                 irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                 award where party submitted requests for admission “for an improper purpose” and
                                                 where “[v]irtually all of the requests have no relevance to the underlying action and
                                                 could only be intended to harass defendant”).
Howard’s   Admit that You requested from the Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 39     Republic of Angola payment of concerns allegations that are irrelevant to this case.
           millions of dollars to Circinus above
           and beyond the $6 million the Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Republic of Angola had paid Circinus to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           approximately three days before at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for

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           President    Donald      J.   Trump’s admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           inauguration.                           JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You have referred in Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 40     writing to George Nader by the name concerns allegations that are irrelevant to this case.
           “George Vader.”
                                                   Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                   at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                   admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                   JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                   attorneys’ fees to responding party because motion to compel was not substantially
                                                   justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   Admit that You tried to help George Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 41     Nader by referring to him as “George concerns allegations that are irrelevant to this case.
           Vader” so that he could obtain the
           security clearance required to have his Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                   to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,

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           picture taken with President Donald J. at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Trump.                                 admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that, in October 2017, You Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 42     helped facilitate payment by George concerns allegations that are irrelevant to this case.
           Nader to either President Donald J.
           Trump’s campaign or the Republican Based on the foregoing General and Specific objections, Plaintiffs will not respond
           National Committee.                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that You helped facilitate Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 43     communication between the Kingdom concerns allegations that are irrelevant to this case.
           of Saudi Arabia and the Trump
           Administration      regarding     the

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           assassination   of   journalist    Jamal Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Khashoggi.                               to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                    at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                    admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                    JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                    attorneys’ fees to responding party because motion to compel was not substantially
                                                    justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                    *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                    all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                    irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                    award where party submitted requests for admission “for an improper purpose” and
                                                    where “[v]irtually all of the requests have no relevance to the underlying action and
                                                    could only be intended to harass defendant”).
Howard’s   Admit that George Nader paid You to Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 45     advocate for the interests of the United concerns allegations that are irrelevant to this case.
           Arab Emirates at the White House and
           with the Trump Administration.           Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                    to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                    at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                    admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                    JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                    attorneys’ fees to responding party because motion to compel was not substantially
                                                    justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                    *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                    all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                    irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                    award where party submitted requests for admission “for an improper purpose” and
                                                    where “[v]irtually all of the requests have no relevance to the underlying action and
                                                    could only be intended to harass defendant”).
Howard’s   Admit that You discussed a consulting Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 46     agreement with Jho Low in connection concerns allegations that are irrelevant to this case.

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           with 1Malaysia Development Berhad
           (“1MDB”).                              Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                  at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                  admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).
Howard’s   Admit that draft agreements between Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 47     You or Colfax Law Office, Inc. and concerns allegations that are irrelevant to this case.
           Jho Low included up to a $75 million
           fee if the United States Department of Based on the foregoing General and Specific objections, Plaintiffs will not respond
           Justice dropped its investigation into to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           1Malaysia Development Berhad at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           (“1MDB”).                              admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                  JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                  attorneys’ fees to responding party because motion to compel was not substantially
                                                  justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                  *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                  all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                  irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                  award where party submitted requests for admission “for an improper purpose” and
                                                  where “[v]irtually all of the requests have no relevance to the underlying action and
                                                  could only be intended to harass defendant”).


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Howard’s   Admit that You advocated to have Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 48     Chinese businessman Guo Wengui concerns allegations that are irrelevant to this case.
           extradited from the United States.
                                                     Based on the foregoing General and Specific objections, Plaintiffs will not respond
                                                     to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
                                                     at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
                                                     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
                                                     JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
                                                     attorneys’ fees to responding party because motion to compel was not substantially
                                                     justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                     *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                     all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                     irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                     award where party submitted requests for admission “for an improper purpose” and
                                                     where “[v]irtually all of the requests have no relevance to the underlying action and
                                                     could only be intended to harass defendant”).
Howard’s   Admit that You drafted, or otherwise Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 49     participated in the preparation or concerns allegations that are irrelevant to this case.
           transmission of, a memorandum dated
           May 6, 2017 to a “George Vader” with Based on the foregoing General and Specific objections, Plaintiffs will not respond
           the subject line “Potential Opportunity to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           for Abu Dhabi to Recover Stolen at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Funds,” which suggested, proposed, or admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           discussed the extradition, or potential JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           extradition, of a Guo Wengui from the attorneys’ fees to responding party because motion to compel was not substantially
           United States to the UAE, the justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
           extradition, or potential extradition, of *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
           Guo Wengui to China, and the all, the requests are overly broad, unduly burdensome, harassing in nature, and
           potential payment of money to You by irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
           a foreign government or an agent or award where party submitted requests for admission “for an improper purpose” and


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           representative      of   a     foreign   where “[v]irtually all of the requests have no relevance to the underlying action and
           government.                              could only be intended to harass defendant”).
Howard’s   Admit that on May 21, 2017, You          Plaintiffs object to this Request on the ground that it is vexatious, harassing, and
RFA 50     drafted, or otherwise participated in    concerns allegations that are irrelevant to this case.
           the preparation or transmission of, a
           memorandum         to   then-Attorney   Based on the foregoing General and Specific objections, Plaintiffs will not respond
           General Jeff Sessions with the subject  to this Request. See Kline v. Berry, No. CIV.A. 10-1802 RWR, 2012 WL 1970868,
           line “Opportunity to Increase Law       at *6 (D.D.C. June 1, 2012) (denying motion to compel answers to requests for
           Enforcement Cooperation between the     admission deemed irrelevant); accord Martinez v. Padilla, No. CV 19-889
           United States and China,” which         JCH/GJF, 2021 WL 309065, at *3 (D.N.M. Jan. 29, 2021) (same, and awarding
           discussed the potential deportation or  attorneys’ fees to responding party because motion to compel was not substantially
           extradition of a “Guo Wen Gui.”         justified); McCurry v. Kenco Logistic Servs., No. 16-2273, 2017 WL 11489901, at
                                                   *2 (C.D. Ill. Dec. 8, 2017) (striking all requests for admission because “most, if not
                                                   all, the requests are overly broad, unduly burdensome, harassing in nature, and
                                                   irrelevant”); Wiideman v. Bayer, 996 F.2d 1230 (9th Cir. 1993) (affirming sanctions
                                                   award where party submitted requests for admission “for an improper purpose” and
                                                   where “[v]irtually all of the requests have no relevance to the underlying action and
                                                   could only be intended to harass defendant”).
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 33     concerning any criticisms of the State documents, which is unduly burdensome and not required by the FRCP or the Local
           of Qatar that Broidy conveyed to any Rules.
           organization, including but not limited
           to The Foundation for Defense of Plaintiffs also object to this Request on the ground that it seeks privileged
           Democracies, the Hudson Institute, the information.
           Jewish Institute for National Security
           of America, the Washington Institute Plaintiffs also object to this Request on the ground that it seeks documents that are
           for Near East Policy, and The Middle irrelevant to the claims and defenses in this case, that are not proportional to the
           East Forum.                             needs of the case, and for an improper purpose.

                                                    Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                    documents in response to this Request.

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Howard’s   All communications between Broidy,           Plaintiffs object to this Request on the ground that it is compound and overbroad,
RFP 34     his agents, his representatives              including because it seeks “all” such requested documents, which is unduly
           (including without limitation lawyers        burdensome and not required by the FRCP or the Local Rules.
           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe &              Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP,               information.
           and Kasowitz Benson Torres LLP), or
           any entities he controls and the             Plaintiffs also object to this Request on the ground that it seeks documents that are
           following individuals or entities, their     irrelevant to the claims and defenses in this case, that are not proportional to the
           agents, representatives, affiliates, or      needs of the case, and for an improper purpose.
           affiliated organizations regarding (a)
           lobbying on behalf of a foreign nation       Based on the foregoing General and Specific objections, Plaintiffs will not produce
           or entity, (b) the State of Qatar, (c) the   documents that in response to this Request.
           UAE, (d) Saudi Arabia, (e) Bahrain, (f)
           Egypt, or (g) Defendants, as well as
           any documents relating to such
           communications: Frances “Fran”
           Townsend,        Joseph      Lieberman,
           William Nixon, Charles “Chip”
           Andreae, Saad Mohseni, Rich
           Goldberg, Arie Lipnick, Noah Pollak,
           Robert Gates, Leon Panetta, David
           Petraeus, Sebastian Gorka, Daniel
           Pipes, Gregg Roman, E.J. Kimball,
           Adelle Nazarian, Toby Dershowitz,
           Marie Royce, MOBY Media Group,
           Lapis Communications, Lapis Middle
           East and Africa, The Counter
           Extremism Project, Policy Impact
           Communications, America Abroad
           Media, The Saudi American Public

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           Relation Affairs Committee, Rapid
           Global       Solutions,     Macadamia
           Strategies, The Emergency Committee
           for Israel, The American Media
           Institute, Konik-Madison Group,
           McLaughlin & Associates, The
           Harbour Group, The Podesta Group,
           The Foundation for Defense of
           Democracies, the Hudson Institute, the
           Jewish Institute for National Security
           of America, the Washington Institute
           for Near East Policy, The Middle East
           Forum, or any staff, agents, or
           representatives of the foregoing.
Howard’s   All documents and communications          Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 35     concerning work performed by              documents, which is unduly burdensome and not required by the FRCP or the Local
           Fieldcrest Advisors, LLC relating to      Rules.
           the lifting of sanctions against one or
           more foreign clients of Andrei Baev,      Plaintiffs also object to this Request on the ground that it seeks privileged
           as well as all documents and              information.
           communications        concerning    the
           solicitation of such work.                Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                     irrelevant to the claims and defenses in this case, that are not proportional to the
                                                     needs of the case, and for an improper purpose.

                                                 Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                 documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 36     that refer or relate to lobbying or documents, which is unduly burdensome and not required by the FRCP or the Local
           advocacy activities concerning the Rules.
           Republic of Angola, including without

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           limitation work performed by Circinus Plaintiffs also object to this Request on the ground that it seeks privileged
           concerning the Republic of Angola or information.
           Grupo Simples Oil.
                                                 Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                 irrelevant to the claims and defenses in this case, that are not proportional to the
                                                 needs of the case, and for an improper purpose.

                                                  Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                  documents in response to this Request.
Howard’s   All     communications     discussing, Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 37     planning,    or    coordinating    the documents, which is unduly burdensome and not required by the FRCP or the Local
           production      of    any     movies, Rules.
           documentaries, videos, or other media
           projects regarding Qatar, including, Plaintiffs also object to this Request on the ground that it seeks privileged
           but not limited to, the documentary information.
           series “Qatar: A Dangerous Alliance,”
           as well as any documents relating to Plaintiffs also object to this Request on the ground that it seeks documents that are
           such communications.                   irrelevant to the claims and defenses in this case, that are not proportional to the
                                                  needs of the case, and for an improper purpose.

                                                 Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                 documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 38     concerning work performed by documents, which is unduly burdensome and not required by the FRCP or the Local
           Andreae & Associates pursuant to its Rules.
           August 2017 contract with Lapis
           Middle East and Africa regarding the Plaintiffs also object to this Request on the ground that it seeks privileged
           development, production, release, information.
           and/or marketing of multimedia
           products investigating the supposed
           connection between the State of Qatar

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 Request
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           and global terrorism, including              Plaintiffs also object to this Request on the ground that it seeks documents that are
           without limitation documents and             irrelevant to the claims and defenses in this case, that are not proportional to the
           communications concerning Andreae            needs of the case, and for an improper purpose.
           & Associates’ registration pursuant to
           the Foreign Agents Registration Act in       Based on the foregoing General and Specific objections, Plaintiffs will not produce
           connection with that contract.               documents in response to this Request.
Howard’s   All communications between Broidy,           Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 39     his agents, his representatives              documents, which is unduly burdensome and not required by the FRCP or the Local
           (including without limitation lawyers        Rules.
           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe &              Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP,               information.
           and Kasowitz Benson Torres LLP), or
           any entities he controls and the             Plaintiffs also object to this Request on the ground that it seeks documents that are
           following entities, their agents,            irrelevant to the claims and defenses in this case, that are not proportional to the
           representatives, affiliates, or affiliated   needs of the case, and for an improper purpose.
           organizations      regarding      protest
           activity in front of the Embassy of the      On the basis of the foregoing General and Specific objections, Plaintiffs will not
           State of Qatar in June 2017, as well as      produce documents in response to this Request.
           any documents relating to such
           communications: the National Black
           Church Initiative, Nexus Services,
           Security Studies Group, or any staff,
           agents, or representatives of the
           foregoing.
Howard’s   All communications with the Trump            Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 40     Organization, or the agents or               documents, which is unduly burdensome and not required by the FRCP or the Local
           representatives      of    the    Trump      Rules.
           Organization, regarding the State of
           Qatar, the UAE, Saudi Arabia,                Plaintiffs also object to this Request on the ground that it seeks privileged
           Bahrain, Egypt, or Defendants, as well       information.

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           as any documents relating to such
           communications.                   Plaintiffs also object to this Request on the ground that it seeks documents that are
                                             irrelevant to the claims and defenses in this case, that are not proportional to the
                                             needs of the case, and for an improper purpose.

                                              Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                              documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 41     regarding a “George Vader,” or any documents, which is unduly burdensome and not required by the FRCP or the Local
           other pseudonyms used by Broidy to Rules.
           refer to George Nader.
                                              Plaintiffs also object to this Request on the ground that it seeks privileged
                                              information.

                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to the claims and defenses in this case, that are not proportional to the
                                                  needs of the case, and for an improper purpose.

                                            Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                            documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 42     concerning any memorandum of documents, which is unduly burdensome and not required by the FRCP or the Local
           understanding between the United Rules.
           States and Qatar.
                                            Plaintiffs also object to this Request on the ground that it seeks privileged
                                            information.

                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to the claims and defenses in this case, that are not proportional to the
                                                  needs of the case, and for an improper purpose.


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                                                   Based on the foregoing General and Specific objections, Plaintiffs will not produce
                                                   documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 44     concerning the Justice Against documents, which is unduly burdensome and not required by the FRCP or the Local
           Sponsors       of    Terrorism      Act Rules.
           (“JASTA”), Public Law 114-222,
           114th Congress, including without Plaintiffs also object to this Request on the ground that it seeks privileged
           limitation    all    documents      and information.
           communications (including those sent
           to or received from Qorvis Plaintiffs also object to this Request on the ground that it seeks documents that are
           MSLGroup, Flywheel Government irrelevant to the claims and defenses in this case, that not proportional to the needs
           Solutions, Capitol Media Group, The of the case, and for an improper purpose.
           Glover Park Group, CGCN Group,
           The McKeon Group, or any staff, Based on the foregoing General and Specific objections, Plaintiffs will not produce
           agents, or representatives of the documents in response to this Request.
           foregoing) concerning efforts to lobby
           or influence any United States
           government official with respect to
           JASTA either before or after it was
           passed.
Howard’s   In order to probe Your allegation in Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 45     paragraph 33 of the FAC that the documents, which is unduly burdensome and not required by the FRCP or the Local
           documents distributed to the media Rules.
           “create[d] a false and injurious image”
           of You:                                 Plaintiffs also object to this Request to the extent that certain subparts of the Request
                                                   seek privileged information.
           (a) all communications with any
           member of the Trump Administration Plaintiffs also object to this Request on the ground that it seeks documents that are
           concerning 1Malaysia Development irrelevant to the claims and defenses in this case and not proportional to the needs
           Berhad (“1MDB”);                        of the case.


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          (b) all communications with any Plaintiffs also object to this Request on the ground that it seeks documents that are
          member of the Trump Administration in the possession custody and control of Defendants and/or third parties, or is
          concerning Jho Low;                publicly available.

          (c) all communications with any Subject to foregoing General and Specific objections, Plaintiffs will produce non-
          member of the Trump Administration privileged documents in response to this Request that support the allegations in
          concerning Chinese businessman Guo paragraph 33 of the FAC that are relevant to the claims in this action.
          Wengui;

          (d) all communications with any
          person at the United States Department
          of Justice concerning 1Malaysia
          Development Berhad (“1MDB”);

          (e) all communications with any
          person at the United States Department
          of Justice concerning Jho Low;

          (f) all communications with any
          person at the United States Department
          of Justice concerning Chinese
          businessman Guo Wengui;

          (g) all documents and communications
          concerning 1Malaysia Development
          Berhad (“1MDB”) or Jho Low;

          (h) all documents and communications
          concerning any of Your activities, or
          contemplated activities, against the


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           interests of Chinese businessman Guo
           Wengui.
Howard’s   Identify each official, agent, or        Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 5      representative of Egypt with whom        irrelevant and therefore not proportional to the needs of the case.
           You, Your agents, or representatives
           (including attorneys) communicated       Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           (in writing or orally) regarding the     harassing.
           State of Qatar.
                                                  Based on the foregoing General and Specific objection, Plaintiffs will not respond
                                                  to this Interrogatory.
Howard’s   Identify each official, agent, or Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 6      representative of Bahrain with whom irrelevant and therefore not proportional to the needs of the case.
           You, Your agents, or representatives
           (including attorneys) communicated Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           (in writing or orally) regarding the harassing.
           State of Qatar.
                                                  Based on the foregoing General and Specific objection, Plaintiffs will not respond
                                                  to this Interrogatory.
Howard’s   For each alleged trade secret You Plaintiffs object to this Interrogatory on the ground that each subpart is separate and
ROG 7(f)   assert was misappropriated as a result distinct and, further, that subpart (b) itself seeks separate and distinct categories of
           of the conduct alleged in the FAC:     information. Plaintiffs will therefore treat Interrogatory No. 7 as no less than nine
                                                  separate Interrogatories, each of which counts towards Howard’s limit of 25
           (f) Explain with precision and Interrogatories.
           specificity how each such trade secret
           is different from information that is Plaintiffs object to the Interrogatory on the ground that it seeks information “with
           available in the public domain;        precision,” which is vague, not required by the FRCP or the Local Rules, unduly
                                                  burdensome, and not proportional to the needs of the case.

                                                    Plaintiffs further object to this Interrogatory as unanswerable and irrelevant
                                                    considering information in the public domain, which was not released or leaked as


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                                                   a result of misconduct, is not trade secret information and is not relevant to this
                                                   lawsuit.

                                                    Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                    to this Interrogatory.
Howard’s   With respect to the allegations in Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 8      paragraph 33 of the FAC that the irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image” Based on the foregoing General and Specific objection, Plaintiffs will not respond
           of You, identify every engagement of to this Interrogatory.
           any kind You have undertaken for or
           pertaining to the UAE or anyone
           working on its behalf, including the
           nature of the engagement, the purpose
           of such engagement, any contracts
           You entered into, the compensation
           provided to You in connection with
           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided
           services directly or indirectly to the
           UAE.
Howard’s   With respect to the allegations in Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 9      paragraph 33 of the FAC that the irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”

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           of You, identify every engagement of       Based on the foregoing General and Specific objection, Plaintiffs will not respond
           any kind You have undertaken for or        to this Interrogatory.
           pertaining to Saudi Arabia or anyone
           working on its behalf, including the
           nature of the engagement, the purpose
           of such engagement, any contracts
           You entered into, the compensation
           provided to You in connection with
           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided
           services directly or indirectly to Saudi
           Arabia.
Howard’s   With respect to the allegations in         Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 10     paragraph 33 of the FAC that the           irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”      Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           of You, identify every engagement of       harassing.
           any kind You have undertaken for or
           pertaining to the Republic of Angola       Based on the foregoing General and Specific objection, Plaintiffs will not respond
           or anyone working on its behalf,           to this Interrogatory.
           including the nature of the
           engagement, the purpose of such
           engagement, any contracts You
           entered into, the compensation
           provided to You in connection with

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           such engagement, the period for which
           the engagement was in effect, and (if
           the engagement is no longer in effect)
           the reasons for its termination. As with
           all terms in these Interrogatories,
           “engagement” shall be interpreted in
           its broadest sense and shall include
           every instance in which You provided
           services directly or indirectly to the
           Republic of Angola.
Howard’s   With respect to the allegations in         Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 11     paragraph 33 of the FAC that the           irrelevant and therefore not proportional to the needs of the case.
           documents distributed to the media
           created a “false and injurious image”      Plaintiffs also object to this Interrogatory on the ground that it is vexatious and
           of You, identify every engagement          harassing.
           you have undertaken for or pertaining
           to Malaysia or anyone working on its       Based on the foregoing General and Specific objection, Plaintiffs will not respond
           behalf, including the nature of the        to this Interrogatory.
           engagement, the purpose of such
           engagement, any contracts you entered
           into, the compensation provided to you
           in connection with such engagement,
           the period for which the engagement
           was in effect, and (if the engagement is
           no longer in effect) the reasons for its
           termination. As with all terms in these
           Interrogatories, “engagement” shall be
           interpreted in its broadest sense and
           shall include every instance in which
           you provided services directly or
           indirectly to Malaysia.

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Stonington All communications with Delon              Plaintiffs object to this Request on the ground that it seeks irrelevant documents
Defs.’ RFP Cheng regarding Defendants, the            and is not proportional to the needs of the case.
21         alleged hacking, the State of Qatar, the
           United Arab Emirates, or the Kingdom       Plaintiffs also object to this Request on the ground that it seeks “all” such responsive
           of Saudi Arabia, as well as any            documents, which is unduly burdensome and not required by the FRCP or the Local
           documents      related      to     such    Rules.
           communications.
                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged communications to the extent
                                                  they exist and are relevant to the hacking.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding public statements Broidy
51         has made about the State of Qatar, its Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           government, or its relationship with documents, which is unduly burdensome and not required by the FRCP or the Local
           Israel, as described in paragraph 1 of Rules.
           the FAC.
                                                  Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                  irrelevant to any claim or defense in the case and, in any event, publicly available.

                                                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding any statements Broidy has
54         made to, including communications Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           with, any U.S. government official documents, which is unduly burdensome and not required by the FRCP or the Local
           about the State of Qatar, its Rules.
           government, or its relationship with
           Israel, including any white papers, Plaintiffs also object to this Request on the ground that it seeks documents that are
           affidavits,      reports,      notes, irrelevant to any claim or defense in the case and not proportional to the needs of
           presentations, or talking points, the case.


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           whether in draft or final form (see       On the basis of the foregoing General and Specific objections, Plaintiffs will not
           paragraph 47 of the FAC).                 produce documents in response to this Request.
Stonington All communications with President         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Donald Trump and/or members of
58         President Trump’s family; White           Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           House staff; presidential campaign        documents, which is unduly burdensome and not required by the FRCP or the Local
           staff; Save America PAC staff;            Rules.
           America First Action PAC staff; Make
           America Great Again Action PAC            Plaintiffs also object to this Request on the ground that it seeks documents that are
           staff; Make America Great Again,          irrelevant to the claims and defenses in this case and not proportional to the needs
           Again PAC staff; or Trump                 of the case.
           Administration       transition    team
           members; or the agents or                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
           representatives of any of the             produce documents in response to this Request.
           individuals or organizations identified
           in this Request, regarding the State of
           Qatar, the UAE, or Saudi Arabia, as
           well as any documents relating to such
           communications.
Stonington All communications with any U.S.          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Senator or U.S. Congressman (current
59         or former) and/or members of any          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           Senator’s or Congressman’s staff          documents, which is unduly burdensome and not required by the FRCP or the Local
           regarding the State of Qatar, the UAE,    Rules.
           or Saudi Arabia, as well as any
           documents       relating      to   such   Plaintiffs also object to this Request on the ground that it seeks documents that are
           communications.                           irrelevant to the claims and defenses in this case and not proportional to the needs
                                                     of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.

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Stonington All communications with any U.S.             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Cabinet Members (current or former)
60         or their staff, agents, or representatives   Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           regarding the State of Qatar, the UAE,       documents, which is unduly burdensome and not required by the FRCP or the Local
           or Saudi Arabia, as well as any              Rules.
           documents         relating     to    such
           communications.                              Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                        irrelevant to the claims and defenses in this case and not proportional to the needs
                                                        of the case.

                                                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Stonington All communications with former Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Congressman Ed Royce or his staff,
61         agents, or representatives regarding Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           the State of Qatar, the UAE, or Saudi documents, which is unduly burdensome and not required by the FRCP or the Local
           Arabia, as well as any documents Rules.
           relating to such communications.
                                                 Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                 irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request
Stonington All communications with former Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Congresswoman Ileana Ros-Lehtinen
62         or her staff, agents, or representatives Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           regarding the State of Qatar, the UAE, documents, which is unduly burdensome and not required by the FRCP or the Local
           or Saudi Arabia, as well as any Rules.
           documents       relating     to    such
           communications.

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                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All communications with “civic Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP leaders,” as described in Paragraph 47
63         of the FAC, and/or their staff, agents, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           or representatives, regarding the State documents, which is unduly burdensome and not required by the FRCP or the Local
           of Qatar, the UAE, or Saudi Arabia, as Rules.
           well as any documents relating to such
           communications.                         Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                   irrelevant to the claims and defenses in this case and not proportional to the needs
                                                   of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request
Stonington All communications with any official Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP or representative of the government of
64         Saudi Arabia regarding the State of Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           Qatar, including communications documents, which is unduly burdensome and not required by the FRCP or the Local
           between Broidy’s attorneys and any Rules.
           such official, representative, or
           attorney    of     the    official   or Plaintiffs also object to this Request on the ground that it seeks documents that are
           representative, as well as any irrelevant to the claims and defenses in this case and not proportional to the needs
           documents       relating    to     such of the case.
           communications. For purposes of this
           request, Broidy’s attorneys include On the basis of the foregoing General and Specific objections, Plaintiffs will not
           without limitation Latham & Watkins produce documents in response to this Request.
           LLP and Boies Schiller Flexner LLP.

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Stonington All communications with any official         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP or representative of the government of
65         the UAE regarding the State of Qatar,        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between             documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and any such              Rules.
           official, representative, or attorney of
           the official or representative, as well as   Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such               irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this         of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins          On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.          produce documents in response to this Request.
Stonington All communications with George               Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Nader, GS Investment Ltd., or Xiemen
66         Investments Limited, their agents,           Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           their     representatives,     or    their   documents, which is unduly burdensome and not required by the FRCP or the Local
           attorneys, including communications          Rules.
           between Broidy’s attorneys and Mr.
           Nader’s, GS Investment Ltd.’s, or            Plaintiffs also object to this Request on the ground that it seeks documents that are
           Xiemen Investments Limited’s agents,         irrelevant to the claims and defenses in this case and not proportional to the needs
           representatives,         or     attorneys,   of the case.
           regarding the State of Qatar, the UAE,
           or Saudi Arabia, as well as any              On the basis of the foregoing General and Specific objections, Plaintiffs will not
           documents         relating    to     such    produce documents in response to this Request.
           communications. For purposes of this
           request, Broidy’s attorneys include
           without limitation Latham & Watkins
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Richard              Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Miniter or American Media Institute,
67         their agents, their representatives, or

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           their        attorneys,         including    Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           communications between Broidy’s              documents, which is unduly burdensome and not required by the FRCP or the Local
           attorneys and Mr. Miniter’s or               Rules.
           American Media Institute’s agents,
           representatives,        or     attorneys,    Plaintiffs also object to this Request on the ground that it seeks documents that are
           regarding the State of Qatar, the UAE,       irrelevant to the claims and defenses in this case and not proportional to the needs
           or Saudi Arabia, as well as any              of the case.
           documents        relating     to     such
           communications. For purposes of this         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           request, Broidy’s attorneys include          produce documents in response to this Request.
           without limitation Latham & Watkins
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Stephen K.           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Bannon,         his       agents,      his
68         representatives, or his attorneys,           Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between             documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and Mr. Bannon’s          Rules.
           agents, representatives, or attorneys,
           regarding the State of Qatar, the UAE,       Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any              irrelevant to the claims and defenses in this case and not proportional to the needs
           documents        relating     to     such    of the case.
           communications. For purposes of this
           request, Broidy’s attorneys include          On the basis of the foregoing General and Specific objections, Plaintiffs will not
           without limitation Latham & Watkins          produce documents in response to this Request.
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Rick Gates,          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, his representatives, or his
69         attorneys, including communications          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           between Broidy’s attorneys and Mr.           documents, which is unduly burdensome and not required by the FRCP or the Local
           Gates’s agents, representatives, or          Rules.
           attorneys, regarding the State of Qatar,

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           the UAE, or Saudi Arabia, as well as       Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such             irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this       of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins        On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.        produce documents in response to this Request.
Stonington All communications with Michael            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Cohen, his agents, his representatives,
70         or     his    attorneys,      including    Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           communications between Broidy’s            documents, which is unduly burdensome and not required by the FRCP or the Local
           attorneys and Mr. Cohen’s agents,          Rules.
           representatives,      or     attorneys,
           regarding the State of Qatar, the UAE,     Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any            irrelevant to the claims and defenses in this case and not proportional to the needs
           documents      relating     to     such    of the case.
           communications. For purposes of this
           request, Broidy’s attorneys include        On the basis of the foregoing General and Specific objections, Plaintiffs will not
           without limitation Latham & Watkins        produce documents in response to this Request.
           LLP and Boies Schiller Flexner LLP.
Stonington All communications with Tom                Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP Barrack,      his       agents,      his
71         representatives, or his attorneys,         Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           including communications between           documents, which is unduly burdensome and not required by the FRCP or the Local
           Broidy’s attorneys and Mr. Barrack’s       Rules.
           agents, representatives, or attorneys,
           regarding the State of Qatar, the UAE,     Plaintiffs also object to this Request on the ground that it seeks documents that are
           or Saudi Arabia, as well as any            irrelevant to the claims and defenses in this case and not proportional to the needs
           documents      relating     to     such    of the case.
           communications.
                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.

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Stonington All communications with Lev Parnas,         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, his representatives, or his
72         attorneys, including communications         Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           between Broidy’s attorneys and Mr.          documents, which is unduly burdensome and not required by the FRCP or the Local
           Parnas’s agents, representatives, or        Rules.
           attorneys, regarding the State of Qatar,
           the UAE, or Saudi Arabia, as well as        Plaintiffs also object to this Request on the ground that it seeks documents that are
           any documents relating to such              irrelevant to the claims and defenses in this case and not proportional to the needs
           communications. For purposes of this        of the case.
           request, Broidy’s attorneys include
           without limitation Latham & Watkins         On the basis of the foregoing General and Specific objections, Plaintiffs will not
           LLP and Boies Schiller Flexner LLP.         produce documents in response to this Request.
Stonington All documents and communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding       Broidy’s     advocacy,
80         lobbying, or consulting efforts on          Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           behalf of Saudi Arabia or the UAE, or       documents, which is unduly burdensome and not required by the FRCP or the Local
           any individuals or entities—including       Rules.
           but not limited to nonprofit
           organizations, think tanks, and media       Plaintiffs also object to this Request on the ground that it seeks documents that are
           organizations—that received funding         irrelevant to the claims and defenses in this case and not proportional to the needs
           from either country, relating to the        of the case.
           State of Qatar.
                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding      Broidy’s      advocacy,
81         lobbying, or consulting efforts relating Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           to the State of Qatar or any Qatar- documents, which is unduly burdensome and not required by the FRCP or the Local
           based entity.                            Rules.




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 Request
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                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP related to any consultants, vendors, or
82         other entities working on behalf of the Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           King of Saudi Arabia or the United documents, which is unduly burdensome and not required by the FRCP or the Local
           Arab Emirates, including without        Rules.
           limitation DarkMatter.
                                                   Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                   irrelevant to the claims and defenses in this case and not proportional to the needs
                                                   of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding monetary payments or
83         donations made or received by Broidy, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           or at Broidy’s direction, in connection documents, which is unduly burdensome and not required by the FRCP or the Local
           with Broidy’s advocacy, lobbying, or Rules.
           consulting efforts relating to the State
           of Qatar, including without limitation Plaintiffs also object to this Request on the ground that it seeks documents that are
           documents and communications irrelevant to the claims and defenses in this case and not proportional to the needs
           relating to monetary payments or of the case.
           donations made or received by Broidy
           to or from Saudi Arabia or the UAE.      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.


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 Request
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Stonington All documents and communications           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding contracts, business deals, or
84         other arrangements of value sought or      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           entered into by Broidy as a result of or   documents, which is unduly burdensome and not required by the FRCP or the Local
           in connection with Broidy’s advocacy,      Rules.
           lobbying, or consulting efforts relating
           to the State of Qatar.                     Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents or communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding contracts, business deals, or
85         other arrangements of value sought or Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           entered into by companies owned in documents, which is unduly burdensome and not required by the FRCP or the Local
           whole or in part by Broidy, including Rules.
           without        limitation       Circinus
           Worldwide and Threat Deterrence Plaintiffs also object to this Request on the ground that it seeks documents that are
           Capital, as a result of or in connection irrelevant to the claims and defenses in this case and not proportional to the needs
           with Broidy’s advocacy, lobbying, or of the case.
           consulting efforts relating to the State
           of Qatar.                                On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding proposals, pitches, bids, or
86         solicitations for business arrangements Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           by Broidy or Broidy’s affiliated documents, which is unduly burdensome and not required by the FRCP or the Local
           companies,        including      without Rules.
           limitation Circinus Worldwide and


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 Request
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             Threat Deterrence Capital, to Saudi Plaintiffs also object to this Request on the ground that it seeks documents that are
             Arabia or the UAE.                  irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to any financial transactions or
87         exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           whether directly or through an documents, which is unduly burdensome and not required by the FRCP or the Local
           intermediary, between Broidy and Rules.
           Circinus       Worldwide,         Threat
           Deterrence Capital, George Nader, GS Plaintiffs also object to this Request on the ground that it seeks documents that are
           Investment       Ltd.,    or     Xiemen irrelevant to the claims and defenses in this case and not proportional to the needs
           Investments Limited.                      of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to any financial transactions or
88         exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           whether directly or through an documents, which is unduly burdensome and not required by the FRCP or the Local
           intermediary, between Broidy and Rules.
           Circinus       Worldwide,         Threat
           Deterrence Capital, Richard Miniter, Plaintiffs also object to this Request on the ground that it seeks documents that are
           or American Media Institute.              irrelevant to the claims and defenses in this case and not proportional to the needs
                                                     of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.


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 Request
                          Request                                                  Response and Objections
 Number
Stonington All documents and communications           Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP relating to any conferences you
96         organized, participated in, or financed,   Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           involving the State of Qatar, the          documents, which is unduly burdensome and not required by the FRCP or the Local
           United Arab Emirates, or the Kingdom       Rules.
           of Saudi Arabia.
                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his    agents,    or    representatives
104        (including without limitation lawyers Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           at Boies Schiller Flexner LLP) and documents, which is unduly burdensome and not required by the FRCP or the Local
           members of the press, or their staff, Rules.
           agents, or representatives, including
           without limitation the following, Plaintiffs also object to this Request on the ground that it seeks documents that are
           regarding the State of Qatar or irrelevant to the claims and defenses in this case and not proportional to the needs
           Defendants, as well as any documents of the case.
           relating to such communications:
                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
            Author              Publication
            Desmond Butler AP
            Tom LoBianco AP
            Suzanne             BBC News
            Kianpour
            David Voreacos Bloomberg
            Eli Lake            Bloomberg

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Request
                       Request                                 Response and Objections
Number
          Zachary       R.   Bloomberg
          Mider
          Kevin Collier      Buzzfeed News
          Jessica            Huffington Post
          Schulberg
          Maxwell            Huffington Post
          Strachan
          Shmuley            Jerusalem Post
          Boteach
          Ben Wieder      McClatchy
          Kevin G. Hall   McClatchy
          Peter Stone     McClatchy
          Dan Friedman    Mother Jones
          Paul Campos     New York
                          Magazine
          David        D. New York
          Kirkpatrick     Times
          Jim Rutenberg   New York
                          Times
          Kenneth      P. New York
          Vogel           Times
          Maggie          New York
          Haberman        Times
          Mark Mazzetti   New York
                          Times
          Rebecca R. Ruiz New York
                          Times
          Ronan Farrow    New Yorker
          Greg Price      Newsweek
          David           NPR
          Kirkpatrick

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Request
                          Request                              Response and Objections
Number
          Terry Gross         NPR
          Alex Isenstadt      Politico
          Andy Kroll          Rolling Stone
          Armin Rosen         Tablet
                              Magazine
          Betsy Woodruff      The Daily Beast
          Justin Glawe        The Daily Beast
          Alex Emmons         The Intercept
          Ryan Grim           The Intercept
          Aruna               Wall Street
          Viswanatha          Journal
          Bradley Hope        Wall Street
                              Journal
          Joe Palazzolo       Wall Street
                              Journal
          Julie Bykowicz      Wall Street
                              Journal
          Michael             Wall Street
          Rothfeld            Journal
          Rebecca             Wall Street
          Ballhaus            Journal
          Tom Wright          Wall Street
                              Journal
          Beth Reinhard       Washington
                              Post
          Carol D.            Washington
          Leonnig             Post
          Devin Barrett       Washington
                              Post
          Ellen               Washington
          Nakashima           Post

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 Request
                            Request                                                Response and Objections
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              Emma Brown         Washington
                                 Post
            Josh Dawsey          Washington
                                 Post
            Karen DeYoung Washington
                                 Post
            Paul Waldman         Washington
                                 Post
            Tom                  Washington
            Hamburger            Post
Stonington All communications between Broidy,         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP his agents, or his representatives
109        (including without limitation lawyers      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           at Boies Schiller Flexner LLP) and the     documents, which is unduly burdensome and not required by the FRCP or the Local
           following individuals or entities, their   Rules.
           agents, representatives, affiliates, or
           affiliated organizations regarding the     Plaintiffs also object to this Request on the ground that it seeks documents that are
           State of Qatar, the UAE, Saudi Arabia,     irrelevant to the claims and defenses in this case and not proportional to the needs
           or Defendants, as well as any              of the case.
           documents        relating   to     such
           communications:                            On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
             Aaron Keyak, Andrew Harrod, David
             Reaboi, David Suissa, Ed Royce,
             Ileana      Ros-Lehtinen,     Jason
             Torchinsky, Lisa Korbatov, Charles
             Wald, Matt Brooks, Mike Cernovich,
             Mike Makovsky, Miriam Adelson,
             Richard Miniter, Richard Mintz, Ron
             Bonjean, Allen West, Shmuley
             Boteach, Steve Rabinowitz, Bluelight

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 Request
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 Number
           Strategies, the Hudson Institute,
           Secure America Now Foundation, the
           Jewish Institute for National Security
           of     America      (“JINSA”),    the
           Washington Institute for Near East
           Affairs, or any staff, agents, or
           representatives of the foregoing.
Stonington All communications that discuss,         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP transmit, attach, disclose, publish,
114        share, or forward pleadings or other     Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           documents filed in this Action, the      documents, which is unduly burdensome and not required by the FRCP or the Local
           California Action, the Benomar New       Rules.
           York Action, or the S.D.N.Y. Action
           to the United Arab Emirates and the      Plaintiffs also object to this Request on the ground that it seeks documents that are
           Kingdom of Saudi Arabia.                 irrelevant to the claims and defenses in the case and not proportional to the needs
                                                    of the case.

                                                    Plaintiffs also object to this Request to the extent Plaintiffs are prohibited from
                                                    producing responsive documents.

                                                On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                produce documents in response to this Request.
Stonington All communications, with any person, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP regarding the Qatar Investment
116        Authority—which is identified in Plaintiffs also object to this Request on the ground that it seeks “all” such requested
           paragraph 68 of the FAC—as well as documents, which is unduly burdensome and not required by the FRCP or the Local
           any documents relating to such Rules.
           communications.
                                                Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                irrelevant to the claims and defenses in the case and not proportional to the needs
                                                of the case.

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 Request
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 Number

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington All communications between Broidy Plaintiffs object to this Request on the ground that it seeks “all” such requested
Defs.’ RFP and any person or entity that documents, which is unduly burdensome and not required by the FRCP or the Local
119        performed any advocacy, consulting, Rules.
           or lobbying work in the United States
           on behalf of the UAE or Saudi Arabia, Plaintiffs also object to this Request on the ground that it seeks documents that are
           or any individuals or entities— irrelevant to the claims and defenses in the case and not proportional to the needs
           including without limitation nonprofit of the case.
           organizations, think tanks, and media
           organizations—that received funding On the basis of the foregoing General and Specific objections, Plaintiffs will not
           from either country, as well as any       produce documents in response to this Request.
           documents         relating    to    such
           communications.
Stonington Identify each corporation, partnership, Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’     limited liability company, trust, or overly broad, vexatious and irrelevant to the case, and thus not proportional to the
ROG 7      other business entity in which you needs of the case.
           have a direct or indirect ownership
           interest, as well as the amount of that Based on the foregoing General and Specific Objections, Plaintiffs will not respond
           interest, that has been or is involved in to this Interrogatory.
           any activities relating to the State of
           Qatar, the United Arab Emirates, or
           the Kingdom of Saudi Arabia.
Stonington Identify      all     employment       or Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’     independent contractor positions you overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROG 8      have held from January 1, 2016, to the needs of the case.
           present.
                                                     Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                     to this Interrogatory.


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 Request
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Stonington   Identify each and every payment,            Plaintiffs object to this Interrogatory on the ground that it seek information that is
Defs.’       donation, distribution, or other item of    vexatious and irrelevant to any claim or defense in the case, and thus not
ROG 17       value that you received from, or on         proportional to the needs of the case.
             behalf of, the UAE or Saudi Arabia or
             its current or former agents, officials,    Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or representatives, or any individuals      to this Interrogatory.
             or entities—including but not limited
             to nonprofit organizations, think tanks,
             and       media      organizations—that
             received funding from either country,
             related to your efforts against the State
             of Qatar, including without limitation
             to your efforts as “an outspoken critic
             of the State of Qatar” and to “publicly
             criticize[]” the State of Qatar.
Stonington   Identify each UAE official, agent, or       Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       representative (current or former) with     vexatious and irrelevant to any claim or defense in the case, and thus not
ROG 18       whom you, your agents, or                   proportional to the needs of the case.
             representatives (including attorneys)
             communicated (in writing or orally)         Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             regarding the State of Qatar.               to this Interrogatory.
Stonington   Identify each Saudi Arabia official,        Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       agent, or representative (current or        vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 19       former) with whom you, your agents,         proportional to the needs of the case.
             or       representatives      (including
             attorneys) communicated (in writing         Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or orally) regarding the State of Qatar.    to this Interrogatory.
Stonington   Identify each U.S. official, agent, or      Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       representative (current or former)—         vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 20       including without limitation U.S.           proportional to the needs of the case.
             Cabinet Members or their staff,

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 Request
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             Members of the U.S. House or Senate      Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             or their staff, administrative agency    to this Interrogatory.
             staff, President Donald Trump and/or
             members of President Trump’s family,
             White House staff, or their attorneys—
             with whom you, your agents, or
             representatives (including attorneys)
             communicated (in writing or orally)
             regarding the State of Qatar, the UAE,
             or Saudi Arabia.
Stonington   To the extent not already identified,    Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       identify each individual or campaign     vexation and irrelevant to any claim or defense in this case, and thus not
ROG 21       organization, PAC, Hybrid PAC,           proportional to the needs of the case.
             Super PAC, 501(c)(3) organization,
             501(c)(4) organization, think tank, or   Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             media          organization—including    to this Interrogatory.
             without limitation members of the
             Trump presidential campaign, Save
             America PAC staff, Make America
             Great Again Action PAC staff, Make
             America Great Again, Again PAC
             staff, or Trump Administration
             transition team— with whom you,
             your agents, or representatives
             (including attorneys) communicated
             (in writing or orally) regarding the
             State of Qatar, the UAE, or Saudi
             Arabia.
Stonington   Describe in detail each investigation    Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       by any foreign state or U.S. federal,    vexatious and irrelevant to any claim or defense in this case, and thus not
ROG 22       state, or other regulatory agency        proportional to the needs of the case.

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Request
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          relating to the State of Qatar, the
          United Arab Emirates, or the Kingdom Based on the foregoing General and Specific Objections, Plaintiffs will not respond
          of Saudi Arabia, whether in the United to this Interrogatory.
          States or abroad, where you have
          provided any information or otherwise
          been informed that your conduct was
          within the scope of the investigation,
          including the date(s) when you learned
          of the investigation, which agency(ies)
          are conducting the investigation, the
          alleged conduct being investigated,
          and the status or outcome of the
          investigation.




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             Section C.      Broidy Refuses to Produce Relevant Documents Related to his Recent Criminal Conviction
                                                 for Conspiring to Violate FARA.

 Request
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Stonington     All documents and communications         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP     “relating to your efforts to obtain
74             business from [the UAE and/or Saudi      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
               Arabia] and your efforts to influence    documents, which is unduly burdensome and not required by the FRCP or the Local
               US policy towards [the State of Qatar]   Rules.
               and its alleged support of terrorist
               activities[.]” Tr. of Arraignment and    Plaintiffs also object to this Request on the ground that it seeks documents that are
               Change of Plea 65:21–24, United          irrelevant to the claims and defenses in this case and not proportional to the needs
               States v. Broidy, Case No. 20-cr-210     of the case.
               (D.D.C. Oct. 20, 2020).
                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington     All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP     regarding the State of Qatar, the
75             United Arab Emirates, or the Plaintiffs also object to this Request on the ground that it seeks “all” such requested
               Kingdom of Saudi Arabia that were documents, which is unduly burdensome and not required by the FRCP or the Local
               seized during the raid conducted by Rules.
               federal investigators at your office in
               Los Angeles, California in or around Plaintiffs also object to this Request on the ground that it seeks documents that are
               July 2018.                              irrelevant to the claims and defenses in this case and not proportional to the needs
                                                       of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington     All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP     regarding any U.S. or foreign
76             investigation of your activities
               relating to the State of Qatar, the

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 Request
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             United Arab Emirates, or the              Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             Kingdom of Saudi Arabia by any            documents, which is unduly burdensome and not required by the FRCP or the Local
             federal, state, or other regulatory       Rules.
             agency, including without limitation
             the investigation related to USA v.       Plaintiffs also object to this Request on the ground that it seeks documents that are
             Broidy, Case No. 1:20-cr-00210 in the     irrelevant to the claims and defenses in this case and not proportional to the needs
             U.S. District Court for the District of   of the case.
             Columbia District.
                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All documents relating to Qatar, the Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   United Arab Emirates, or the
77           Kingdom of Saudi Arabia that you Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             produced to the U.S. government in documents, which is unduly burdensome and not required by the FRCP or the Local
             connection with any investigation by Rules.
             any federal, state, or other regulatory
             agency, including in connection with Plaintiffs also object to this Request on the ground that it seeks documents that are
             USA v. Broidy, Case No. 1:20-cr- irrelevant to the claims and defenses in this case and not proportional to the needs
             00210 in the U.S. District Court for of the case.
             the District of Columbia District.
                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All communications with Special Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Counsel Robert Mueller and his
78           investigation team, as referenced in Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             paragraph 147 of the FAC, relating to documents, which is unduly burdensome and not required by the FRCP or the Local
             the State of Qatar, the United Arab Rules.
             Emirates, or the Kingdom of Saudi
             Arabia, as well as any documents Plaintiffs also object to this Request on the ground that it seeks documents that are
             relating to such communications.        irrelevant to the claims and defenses in this case and not proportional to the needs
                                                     of the case.

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 Request
                           Request                                               Response and Objections
 Number

                                                     Plaintiffs also object to this Request on the ground that responsive documents are in
                                                     the possession, custody and control of Defendants.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will produce
                                                 only the WhatsApp message described in paragraph 147 of the FAC.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to the State of Qatar, the
79           United Arab Emirates, or the Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             Kingdom of Saudi Arabia that you documents, which is unduly burdensome and not required by the FRCP or the Local
             produced to the U.S. government in Rules.
             connection with the Special Counsel
             Investigation conducted by special Plaintiffs also object to this Request on the ground that it seeks documents that are
             prosecutor Robert Mueller.          irrelevant to the claims and defenses in this case and not proportional to the needs
                                                 of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
100          or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             attorneys shared with, or received documents, which is unduly burdensome and not required by the FRCP or the Local
             from, the United States government in Rules.
             the context of negotiating Broidy’s
             plea deal for one count of conspiracy Plaintiffs also object to this Request on the ground that it seeks documents that are
             to violate the Foreign Agents irrelevant to the claims and defenses in this case and not proportional to the needs
             Registration Act (“FARA”).             of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.


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 Request
                            Request                                                 Response and Objections
 Number
Stonington   All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
101          or Saudi Arabia that Broidy or his        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             attorneys shared with, or received        documents, which is unduly burdensome and not required by the FRCP or the Local
             from, the United States government—       Rules.
             including without limitation President
             Donald Trump, White House staff,          Plaintiffs also object to this Request on the ground that it seeks documents that are
             and/or members of President Trump’s       irrelevant to the claims and defenses in this case and not proportional to the needs
             family or staff or their attorneys—in     of the case.
             the context of negotiating Broidy’s
             pardon related to one count of            On the basis of the foregoing General and Specific objections, Plaintiffs will not
             conspiracy to violate FARA.               produce documents in response to this Request.
Stonington   All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
102          or Saudi Arabia that Broidy or his        Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             attorneys shared with, or received        documents, which is unduly burdensome and not required by the FRCP or the Local
             from, Save America PAC staff;             Rules.
             America First Action PAC staff; Make
             America Great Again Action PAC            Plaintiffs also object to this Request on the ground that it seeks documents that are
             staff; Make America Great Again,          irrelevant to the claims and defenses in this case and not proportional to the needs
             Again PAC staff; Trump presidential       of the case.
             campaign          staff;         Trump
             Administration      transition     team   On the basis of the foregoing General and Specific objections, Plaintiffs will not
             members; or the agents or                 produce documents in response to this Request.
             representatives of any of the
             individuals or organizations identified
             in this Request, in the context of
             negotiating Broidy’s pardon related to
             one count of conspiracy to violate
             FARA.


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 Request
                            Request                                                Response and Objections
 Number
Stonington   All recordings, declarations, or Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   affidavits, by or about Broidy
103          regarding the State of Qatar, the UAE, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             or Saudi Arabia.                       documents, which is unduly burdensome and not required by the FRCP or the Local
                                                    Rules.

                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      not within Plaintiffs’ possession, custody, or control, and that are irrelevant to the
                                                      claims and defenses in this case and not proportional to the needs of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.




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           Section D.       Broidy Refuses to Provide Relevant Documents and Information Related to the Key Element
                                                   of His Trade Secrets Claims.

 Request
                             Request                                                 Response and Objections
 Number
Howard’s      All communications between You and Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 23        any person in which You disclosed any documents, which is unduly burdensome and not required by the FRCP or the Local
              of Your alleged trade secrets.        Rules.

                                                        Plaintiffs also object to this Request on the ground that it seeks privileged
                                                        information.

                                                        Plaintiffs also object to this Request on the grounds that it seeks documents
                                                        unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                        case, and not proportional to the needs of the case.

                                                        Plaintiffs also object to this Request as overly broad to the extent that it seeks
                                                        documents related to trade secrets that were not stolen and internal
                                                        communications.

                                                       Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                       reasonable search and will produce non-privileged documents, to the extent any
                                                       exist, sufficient to show BCM’s policies or procedures during the relevant time
                                                       period for protecting its trade secrets from being disclosed to third parties. See Dkt.
                                                       No. 51 at 25-26.
Howard’s      For each alleged trade secret You assert Plaintiffs object to this Interrogatory on the ground that each subpart is separate
ROG 7(a)      was misappropriated as a result of the and distinct and, further, that subpart (b) itself seeks separate and distinct categories
              conduct alleged in the FAC:              of information. Plaintiffs will therefore treat Interrogatory No. 7 as no less than
                                                       nine separate Interrogatories, each of which counts towards Howard’s limit of 25
              (a) Describe with precision and Interrogatories.
              specificity each such trade secret in a
              list that separately identifies each one
              and identify with precision and

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Request
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          specificity who created each such trade Plaintiffs object to this Interrogatory on the ground that the information sought by
          secret and on what date;                it would be more appropriately obtained through other types of discovery,
                                                  including documentary discovery and deposition testimony.

                                                   Plaintiffs also object to the Interrogatory on the ground that it seeks information
                                                   “with precision and specificity” which is vague and ambiguous, not required by the
                                                   FRCP or the Local Rules, unduly burdensome, and not proportional to the needs
                                                   of the case.

                                                   Plaintiffs further object to the Interrogatory because they do not know the full
                                                   extent of the theft of the stolen information.

                                                   Plaintiffs also object to this Interrogatory on the ground that answering this
                                                   Interrogatory will require the examination, auditing, compiling, abstracting, or
                                                   summarizing of Plaintiffs’ business records (including electronically stored
                                                   information), and the burden of deriving or ascertaining responsive information
                                                   will be substantially the same for either party.

                                                   Subject to the foregoing General and Specific Objections, Plaintiffs state that they
                                                   are still in the process of compiling responsive information regarding the at-issue
                                                   trade secrets, but state that the trade secrets at-issue include **HIGHLY
                                                   CONFIDENTIAL – ATTORNEYS’- EYES ONLY** business plans and
                                                   proposals, research supporting those plans and proposals including costs and
                                                   service projections, information concerning business strategies and
                                                   opportunities, and contacts or important business relationships. Among these
                                                   categories of trade secrets include a proposed, not final, draft budget for a
                                                   consulting project which was stolen from Plaintiffs in the hacking and
                                                   subsequently altered by a third party for nefarious purposes, and contacts
                                                   with various organizations and officials. **HIGHLY CONFIDENTIAL –
                                                   ATTORNEYS’- EYES ONLY** Plaintiffs’ investigation is ongoing, and they
                                                   will supplement their response to this Interrogatory in due course.

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 Request
                             Request                                                 Response and Objections
 Number
Howard’s     For each alleged trade secret You assert Plaintiffs object to this Interrogatory on the ground that each subpart is separate
ROG 7(f)     was misappropriated as a result of the and distinct and, further, that subpart (b) itself seeks separate and distinct categories
             conduct alleged in the FAC:              of information. Plaintiffs will therefore treat Interrogatory No. 7 as no less than
                                                      nine separate Interrogatories, each of which counts towards Howard’s limit of 25
             (f) Explain with precision and Interrogatories.
             specificity how each such trade secret
             is different from information that is Plaintiffs object to this Interrogatory on the ground that each subpart is separate
             available in the public domain;          and distinct and, further, that subpart (b) itself seeks separate and distinct categories
                                                      of information. Plaintiffs will therefore treat Interrogatory No. 7 as no less than
                                                      nine separate Interrogatories, each of which counts towards Howard’s limit of 25
                                                      Interrogatories.

                                                        Plaintiffs object to the Interrogatory on the ground that it seeks information “with
                                                        precision,” which is vague, not required by the FRCP or the Local Rules, unduly
                                                        burdensome, and not proportional to the needs of the case.

                                                        Plaintiffs further object to this Interrogatory as unanswerable and irrelevant
                                                        considering information in the public domain, which was not released or leaked as
                                                        a result of misconduct, is not trade secret information and is not relevant to this
                                                        lawsuit.

                                                        Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                        to this Interrogatory.
Stonington   All communications that discuss,           Plaintiffs object to this Request on the ground that it seek privileged information.
Defs.’ RFP   transmit, attach, disclose, publish,
14           share, forward, or disclose each           Plaintiffs also object to this request on the ground that it seeks “all” such
             alleged trade secret.                      responsive documents, which is unduly burdensome and not required by the
                                                        FRCP or the Local Rules.




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 Request
                           Request                                              Response and Objections
 Number
                                                   Plaintiffs also object to this Request on the grounds that it seeks documents
                                                   unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                   case, and not proportional to the needs of the case.

                                                   Plaintiffs also object to this Request on the ground that it is overly broad.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington   Identify all documents and            Plaintiffs object to this Interrogatory on the ground that it seeks the identity of
Defs.’       communications containing Broidy-     “all” such documents and communications, which is beyond what is required by
ROG 11       owned trade secrets that Broidy       the FRCP and Local Rules.
             alleges were misappropriated in the
             alleged hacking.                      Plaintiffs also object to this Interrogatory on the ground that the extent of the
                                                   documents and communications containing trade secrets stolen from Plaintiffs is
                                                   as yet unknown, and the requested information is within the possession, custody
                                                   and control of Defendants and/or third parties.

                                                   Subject to the foregoing General and Specific Objections, Plaintiffs state that they
                                                   will produce document and communications in response to Stonington’s
                                                   document requests, including in connection with anticipated expert discovery,
                                                   that will be responsive to this Interrogatory, and will identify those documents
                                                   and communications in or around the time they are produced.




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             Section E.       Broidy Refuses to Provide Documents and Information Directly Related to His Alleged
                                                           Damages.

 Request
                             Request                                             Response and Objections
 Number
Howard’s     All of Broidy’s communications with      Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 26       journalists or agents or employees of    documents, which is unduly burdensome and not required by the FRCP or the Local
             any media organization regarding         Rules.
             Broidy’s allegedly hacked materials or
             the information contained in those       Plaintiffs also object to this Request on the ground that it seeks privileged
             materials.                               information.

                                                      Plaintiffs also object to this Request on the ground that the phrase “hacked
                                                      materials or the information contained in those materials” makes this Request
                                                      overly broad, unduly burdensome, irrelevant to the claims and defenses in this case
                                                      and not proportional to the needs of the case.

                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                    reasonable search and will produce Broidy’s non-privileged communications with
                                                    journalists or agents or employees of any media organization regarding the
                                                    hacking.
Howard’s     As to each published news article Plaintiffs object to this Interrogatory on the ground that the information sought is
ROG 4        concerning Broidy’s allegedly hacked irrelevant and therefore not proportional to the needs of the case.
             materials, or information contained in
             Broidy’s allegedly hacked materials, Based on the foregoing General and Specific objection, Plaintiffs will not respond
             identify whether Broidy had an to this Interrogatory.
             opportunity to provide a comment or
             statement to the author(s) prior to
             publication and what, if any, comments
             or statements Broidy provided.
Stonington   All communications with any person Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   who you have a business relationship
33           with that you claim has been disrupted

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 Request
                            Request                                                Response and Objections
 Number
             as a result of the conduct alleged in the Plaintiffs also object to this Request on the ground that it seeks “all” such
             FAC, as well as any documents relating responsive documents, which is unduly burdensome and not required by the FRCP
             to such communications.                   or the Local Rules.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce responsive documents.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding monetary payments or
83           donations made or received by Broidy, Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             or at Broidy’s direction, in connection documents, which is unduly burdensome and not required by the FRCP or the Local
             with Broidy’s advocacy, lobbying, or Rules.
             consulting efforts relating to the State
             of Qatar, including without limitation Plaintiffs also object to this Request on the ground that it seeks documents that are
             documents       and    communications irrelevant to the claims and defenses in this case and not proportional to the needs
             relating to monetary payments or of the case.
             donations made or received by Broidy
             to or from Saudi Arabia or the UAE.      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding contracts, business deals, or
84           other arrangements of value sought or Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             entered into by Broidy as a result of or documents, which is unduly burdensome and not required by the FRCP or the Local
             in connection with Broidy’s advocacy, Rules.
             lobbying, or consulting efforts relating
             to the State of Qatar.                   Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to the claims and defenses in this case and not proportional to the needs
                                                      of the case.

                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.


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 Request
                            Request                                                  Response and Objections
 Number
Stonington   All documents or communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding contracts, business deals, or
85           other arrangements of value sought or      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             entered into by companies owned in         documents, which is unduly burdensome and not required by the FRCP or the Local
             whole or in part by Broidy, including      Rules.
             without limitation Circinus Worldwide
             and Threat Deterrence Capital, as a        Plaintiffs also object to this Request on the ground that it seeks documents that are
             result of or in connection with Broidy’s   irrelevant to the claims and defenses in this case and not proportional to the needs
             advocacy, lobbying, or consulting          of the case.
             efforts relating to the State of Qatar.
                                                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                        produce documents in response to this Request.
Stonington   All bank statements for personal and       Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   business accounts belonging to Broidy      irrelevant to the claims and defenses in this case and not proportional to the needs
89           between January 1, 2016, and the           of the case.
             present.
                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All bank statements and financial       Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   statements for business accounts in the irrelevant to the claims and defenses in this case and not proportional to the needs
90           name of any entity in which you have of the case.
             a majority ownership interest, either
             directly or indirectly, between January On the basis of the foregoing General and Specific objections, Plaintiffs will not
             1, 2016, and the present.               produce documents in response to this Request.
Stonington   Documents sufficient to show your       Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   call history from January 1, 2016, to
91           the present for any personal or         Plaintiffs also object to this Request on the ground that it seeks “all” such
             business phone numbers used by          requested documents, which is unduly burdensome and not required by the FRCP
             Broidy, including without limitation    or the Local Rules.
             each of your mobile devices.


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 Request
                             Request                                                  Response and Objections
 Number
                                                         Plaintiffs also object to this Request on the ground that it seeks documents that
                                                         are irrelevant to the claims and defenses in this case and not proportional to the
                                                         needs of the case.

                                                         On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                         produce documents in response to this Request.
Stonington   Copies of all your diaries and              Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   calendars for the years 2016 to the
92           present.                                    Plaintiffs also object to this Request on the ground that it seeks documents that
                                                         are irrelevant to the claims and defenses in this case and not proportional to the
                                                         needs of the case.

                                                         On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                         produce documents in response to this Request.
Stonington   All contact lists, address books,           Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   rolodexes, or similar documents that        irrelevant to the claims and defenses in this case and not proportional to the needs
93           identify the names and contact              of the case.
             information for your professional and
             personal contacts.                          On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                         produce documents in response to this Request.
Stonington   All travel itineraries that reflect trips   Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   that you took to the Middle East for        irrelevant to the claims and defenses in this case and not proportional to the needs
94           business from January 1, 2016, to the       of the case.
             present.
                                                         On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                         produce documents in response to this Request.
Stonington   All expense reimbursements                  Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   submitted by you, or someone acting         irrelevant to the claims and defenses in this case and not proportional to the needs
95           on your behalf, to any person that          of the case.
             relate to trips that you took to the


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 Request
                            Request                                                  Response and Objections
 Number
             Middle East for business from January      On the basis of the foregoing General and Specific objections, Plaintiffs will not
             1, 2016, to the present.                   produce documents in response to this Request.
Stonington   All communications between Broidy,         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   his    agents,     or    representatives
104          (including without limitation lawyers      Plaintiffs also object to this Request on the ground that it seeks “all” such requested
             at Boies Schiller Flexner LLP) and         documents, which is unduly burdensome and not required by the FRCP or the Local
             members of the press, or their staff,      Rules.
             agents, or representatives, including
             without limitation the following,          Plaintiffs also object to this Request on the ground that it seeks documents that are
             regarding the State of Qatar or            irrelevant to the claims and defenses in this case and not proportional to the needs
             Defendants, as well as any documents       of the case.
             relating to such communications:
                                                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
              Author             Publication            produce documents in response to this Request.
              Desmond Butler     AP
              Tom LoBianco       AP
              Suzanne            BBC News
              Kianpour
              David Voreacos     Bloomberg
              Eli Lake           Bloomberg
              Zachary R.         Bloomberg
              Mider
              Kevin Collier      Buzzfeed News
              Jessica            Huffington Post
              Schulberg
              Maxwell            Huffington Post
              Strachan
              Shmuley            Jerusalem Post
              Boteach
              Ben Wieder         McClatchy
              Kevin G. Hall      McClatchy

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Request
                       Request                                  Response and Objections
Number
          Peter Stone      McClatchy
          Dan Friedman     Mother Jones
          Paul Campos      New York
                           Magazine
          David D.         New York
          Kirkpatrick      Times
          Jim Rutenberg    New York
                           Times
          Kenneth P.       New York
          Vogel            Times
          Maggie           New York
          Haberman         Times
          Mark Mazzetti    New York
                           Times
          Rebecca R.       New York
          Ruiz             Times
          Ronan Farrow     New Yorker
          Greg Price       Newsweek
          David            NPR
          Kirkpatrick
          Terry Gross      NPR
          Alex Isenstadt   Politico
          Andy Kroll       Rolling Stone
          Armin Rosen      Tablet
                           Magazine
          Betsy Woodruff   The Daily Beast
          Justin Glawe     The Daily Beast
          Alex Emmons      The Intercept
          Ryan Grim        The Intercept
          Aruna            Wall Street
          Viswanatha       Journal
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Request
                          Request                                Response and Objections
Number
          Bradley Hope       Wall Street
                             Journal
          Joe Palazzolo      Wall Street
                             Journal
          Julie Bykowicz     Wall Street
                             Journal
          Michael            Wall Street
          Rothfeld           Journal
          Rebecca            Wall Street
          Ballhaus           Journal
          Tom Wright         Wall Street
                             Journal
          Beth Reinhard      Washington
                             Post
          Carol D.           Washington
          Leonnig            Post
          Devin Barrett      Washington
                             Post
          Ellen              Washington
          Nakashima          Post
          Emma Brown         Washington
                             Post
          Josh Dawsey        Washington
                             Post
          Karen              Washington
          DeYoung            Post
          Paul Waldman       Washington
                             Post



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 Request
                             Request                                                   Response and Objections
 Number
              Tom                 Washington
              Hamburger           Post
Stonington   Identify by name, address, and               Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       telephone number all domestic and            overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROGs 5       foreign banks or financial institutions      needs of the case.
             in which you have or had an account or
             over which you have or had signatory         Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             authority or other such control between      to this Interrogatory.
             January 1, 2016, and the present, and
             provide the account numbers and types
             of accounts.
Stonington   Identify by name, address, and               Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       telephone number all telephone or            overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROGs 6       cellular providers with which you have       needs of the case.
             or had an account or over which you
             have or had signatory authority or other     Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             such control between January 1, 2016,        to this Interrogatory.
             and the present, and provide the
             account numbers, types of accounts,
             and all telephone numbers associated
             with each account.
Stonington   Identify each corporation, partnership,      Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       limited liability company, trust, or         overly broad, vexatious and irrelevant to the case, and thus not proportional to the
ROG 7        other business entity in which you have      needs of the case.
             a direct or indirect ownership interest,
             as well as the amount of that interest,      Based on the foregoing General and Specific Objections, Plaintiffs will not respond
             that has been or is involved in any          to this Interrogatory.
             activities relating to the State of Qatar,
             the United Arab Emirates, or the
             Kingdom of Saudi Arabia.


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 Request
                            Request                                                Response and Objections
 Number
Stonington   Identify     all    employment       or Plaintiffs object to this Interrogatory on the ground that it seeks information that is
Defs.’       independent contractor positions you overly broad, vexatious, and irrelevant to the case, and thus not proportional to the
ROG 8        have held from January 1, 2016, to the needs of the case.
             present.
                                                     Based on the foregoing General and Specific Objections, Plaintiffs will not respond
                                                     to this Interrogatory.
Stonington   For each count of the FAC that has not Plaintiffs object to this Interrogatory on the ground that it prematurely seeks
Defs.’       been dismissed, itemize, explain the discovery which will be provided by expert witness(es).
ROG 12       basis for, and identify any documents
             supporting, each category of damages Plaintiffs also object to this Interrogatory on the ground that the information sought
             you seek in this action, including the by the Interrogatories would be more appropriately obtained through other types
             precise amount of damages you seek of discovery, such as documentary discovery.
             for each count and an explanation of
             how you calculated the damage Subject to the foregoing General and Specific Objections, Plaintiffs will produce
             amounts for each count. For purposes documents supporting their damages and provide responsive information
             of this Interrogatory, “category of concerning the damages for which they seek at the appropriate time and consistent
             damages” includes all damage with the Court’s Scheduling order and the Federal Rules.
             categories identified in the FAC,
             including “loss of consumer goodwill;”
             “loss in the value of [Broidy’s] trade
             secrets and confidential business
             information, and harm to [Broidy’s]
             business;” “damage resulting from
             harm to [Broidy’s] computers, servers,
             and accounts;” “the investigation costs
             associated with identifying the cyber-
             attacks and repairing the integrity of
             [Broidy’s] servers after the [alleged
             hacking];”     “unjust    enrichment;”
             “disgorgement of Defendants’ profits;”
             attorneys’ fees; “increased risk of

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 Request
                            Request                                                  Response and Objections
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             further theft, and an increased risk of
             harassment;” “costs expended in
             protecting trade secrets from future
             misappropriation;”     lost      business
             opportunities; and damages Broidy
             “will continue to suffer . . . as long as
             [Broidy’s] personal information is
             available     to    Defendants       and,
             subsequently, to media organizations
             and the world at large.”
Stonington   Identify each customer, business            Plaintiffs object to this Interrogatory to the extent it seeks information concerning
Defs.’       opportunity, or contract that Broidy        claims which are no longer part of this action, and therefore seeks irrelevant
ROG 13       claims to have lost as a result of the      information.
             alleged hacking or any actions taken in
             furtherance of the alleged conspiracy,      Subject to the foregoing General and Specific Objections, Plaintiffs will provide
             including the basis for your belief that    information concerning the damages for which they seek at the appropriate time
             you lost the customer, business             and consistent with the Court’s Scheduling order and the Federal Rules.
             opportunity, or contract as a result of
             the alleged conduct and the amount of
             economic harm or loss you claim for
             each.
Stonington   Identify each business relationship that    Plaintiffs object to this Interrogatory to the extent it seeks information concerning
Defs.’       Broidy claims was interfered with or        claims which are no longer part of this action, and therefore seeks irrelevant
ROG 14       disrupted as a result of the alleged        information.
             hacking or any actions taken in
             furtherance of the alleged conspiracy,      Subject to the foregoing General and Specific Objections, Plaintiffs will provide
             including the basis for your belief that    information concerning the damages for which they seek at the appropriate time
             the relationship was interfered with or     and consistent with the Court’s Scheduling order and the Federal Rules.
             disrupted as a result of the alleged
             conduct and the amount of economic
             harm or loss you claim for each.

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            Section F.        Broidy Refuses to Produce Documents Directly Related to Allegations in the FAC.

 Request
                          Request                                               Response and Objections
 Number
Howard’s   All communications between You and Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 23     any person in which You disclosed any documents, which is unduly burdensome and not required by the FRCP or the
           of Your alleged trade secrets.        Local Rules.

                                                    Plaintiffs also object to this Request on the ground that it seeks privileged
                                                    information.

                                                    Plaintiffs also object to this Request on the grounds that it seeks documents
                                                    unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                    case, and not proportional to the needs of the case.

                                                    Plaintiffs also object to this Request as overly broad to the extent that it seeks
                                                    documents related to trade secrets that were not stolen and internal
                                                    communications.

                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged documents, to the extent any
                                                  exist, sufficient to show BCM’s policies or procedures during the relevant time
                                                  period for protecting its trade secrets from being disclosed to third parties. See
                                                  Dkt. No. 51 at 25-26.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 28     concerning any hacks of Broidy’s documents, which is unduly burdensome and not required by the FRCP or the
           electronic devices, email accounts, or Local Rules.
           computer servers prior to January 7,
           2018.                                  Plaintiffs also object to this Request on the ground that it seeks privileged
                                                  information.




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 Request
                          Request                                               Response and Objections
 Number
                                                    Plaintiffs also object to this Request on the ground that responsive documents are
                                                    in the possession, custody, and control of Defendants and/or third parties.

                                                    Plaintiffs also object to this Request on the grounds that the phrase “any hacks” is
                                                    vague and overly broad, and that this Request seeks documents that are irrelevant
                                                    to the claims and defenses in this case and is not proportional to the needs of the
                                                    case.

                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged documents that are responsive
                                                  to this Request to the extent they are relevant to the hacking at issue in this case.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 29     concerning any hacks of Broidy’s documents, which is unduly burdensome and not required by the FRCP or the
           electronic devices, email accounts, or Local Rules.
           computer servers on or after February
           26, 2018.                              Plaintiffs also object to this Request on the ground that it seeks privileged
                                                  information.

                                                    Plaintiffs also object to this Request on the ground that it seeks premature expert
                                                    discovery.

                                                    Plaintiffs also object to this Request on the ground that responsive documents are
                                                    in the possession, custody, and control of Defendants and/or third parties.

                                                    Plaintiffs also object to this Request on the grounds that the phrase “any hacks” is
                                                    vague and overly broad, and that this Request seeks documents that are irrelevant
                                                    to the claims and defenses in this case and is not proportional to the needs of the
                                                    case.




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 Request
                            Request                                                Response and Objections
 Number
                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents that are responsive
                                                      to this Request to the extent they are relevant to the hacking at issue in this case.
Stonington   All communications that discuss, Plaintiffs object to this Request on the ground that it seek privileged information.
Defs.’ RFP   transmit, attach, disclose, publish,
14           share, forward, or disclose each alleged Plaintiffs also object to this request on the ground that it seeks “all” such
             trade secret.                            responsive documents, which is unduly burdensome and not required by the FRCP
                                                      or the Local Rules.

                                                       Plaintiffs also object to this Request on the grounds that it seeks documents
                                                       unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                       case, and not proportional to the needs of the case.

                                                       Plaintiffs also object to this Request on the ground that it is overly broad.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   Documents sufficient to identify any Plaintiffs object to this Request on the ground that it is overly broad, constitutes a
Defs.’ RFP   person that you, your staff, agents, or fishing expedition, seeks irrelevant documents and is not proportional to the needs
20           representatives—or an entity you are of the case.
             affiliated with—have employed, hired,
             utilized, or otherwise consulted with, On the basis of the foregoing General and Specific objections, Plaintiffs will not
             whether personally or professionally, produce documents in response to this Request.
             for their ability to breach defenses or
             exploit weaknesses in computer
             systems or networks.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding any statements Broidy has
54           made to, including communications Plaintiffs also object to this Request on the ground that it seeks “all” such
             with, any U.S. government official requested documents, which is unduly burdensome and not required by the FRCP
             about the State of Qatar, its or the Local Rules.

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 Request
                             Request                                                  Response and Objections
 Number
             government, or its relationship with
             Israel, including any white papers,          Plaintiffs also object to this Request on the ground that it seeks documents that are
             affidavits, reports, notes, presentations,   irrelevant to any claim or defense in the case and not proportional to the needs of
             or talking points, whether in draft or       the case.
             final form (see paragraph 47 of the
             FAC).                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   demonstrating that Broidy’s efforts
55           against the State of Qatar “succeeded in Plaintiffs also object to this Request on the ground that it seeks “all” such
             generating opposition” to the State of requested documents, which is unduly burdensome and not required by the FRCP
             Qatar, as described in paragraph 46      or the Local Rules.
             of the FAC.
                                                      Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                      irrelevant to any claim or defense in the case and not proportional to the needs of
                                                      the case.

                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to the allegations in paragraph
56           59 of the FAC that “the ‘black ops’ Plaintiffs also object to this Request on the ground that it seeks “all” such
             team that carried out the ‘dirty tricks’ requested documents, which is unduly burdensome and not required by the FRCP
             campaign that played the critical role in or the Local Rules.
             winning its tainted World Cup bid was
             overseen by Ahmad Nimeh . . . .”          Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                       irrelevant to any claim or defense in the case, publicly available, and not
                                                       proportional to the needs of the case.

                                                          On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                          produce documents in response to this Request.

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 Request
                            Request                                               Response and Objections
 Number
Stonington   All communications, with any person,     Plaintiffs object to this Request on the ground that it is vague, ambiguous, overly
Defs.’ RFP   including without limitation your        broad, and seeks privileged information.
97           associates, any member of the media,
             foreign heads of state, agents or        Plaintiffs also object to this Request on the ground that it seeks “all” such
             representatives of foreign states, or    requested communications, which is unduly burdensome and not required by the
             U.S. government officials, agents, or    FRCP or the Local Rules.
             representatives (current or former)
             regarding the alleged hacking, as well   Plaintiffs also object to this Request on the ground that a request for all
             as any documents relating to such        communications “regarding the alleged hacking,” in particular, is overly broad,
             communications.                          unduly burdensome, irrelevant to the claims and defenses in this case and not
                                                      proportional to the needs of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents that Broidy shared with Plaintiffs object to this Request on the ground that it seeks “all” such requested
Defs.’ RFP   officials, agents, or representatives of documents, which is unduly burdensome and not required by the FRCP or the
98           the United States government (current Local Rules.
             or former) regarding the alleged
             hacking.                                 Plaintiffs also object to this Request on the ground that a request for all
                                                      communications “regarding the alleged hacking” is overly broad, unduly
                                                      burdensome, irrelevant to the claims and defenses in this case and not proportional
                                                      to the needs of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding Broidy’s efforts to have
99           representatives of the United States Plaintiffs also object to this Request on the ground that it seeks “all” such
             government      prosecute    persons requested documents, which is unduly burdensome and not required by the FRCP
             allegedly involved with the alleged or the Local Rules.
             hacking that were shared with or

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 Request
                            Request                                                Response and Objections
 Number
             received from the U.S. government or Plaintiffs also object to this Request on the ground that it seeks documents that are
             any third party.                     irrelevant to the claims and defenses in this case and not proportional to the needs
                                                  of the case.

                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All recorded conversations, whether Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   audio or video, to the extent not already irrelevant to the claims and defenses in the case and not proportional to the needs
120          requested, in Broidy’s possession of the case, and within the possession of Defendants and/or third parties.
             between Defendants and any person
             regarding any of the events described Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
             in the FAC, including without reasonable search and will produce non-privileged documents that are responsive
             limitation recordings of conversations to this Request to the extent they exist and are relevant to the hacking.
             regarding the alleged hacking.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   that discuss, transmit, attach, disclose,
121          publish, share, or forward any recorded Plaintiffs also object to this Request on the ground that it seeks “all” such
             conversations, written or oral, between requested documents, which is unduly burdensome and not required by the FRCP
             Defendants and any person.                or the Local Rules.

                                                       Plaintiffs also object to this Request on the ground that it seeks documents that are
                                                       irrelevant to the claims and defenses in the case and not proportional to the needs
                                                       of the case.

                                                  On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Stonington   Identify all persons, if not already Plaintiffs object to this Interrogatory on the ground that it seeks Privileged
Defs.’       identified and excluding attorneys, Information.
ROG 4        with whom you have communicated
             regarding the subject matter of the Plaintiffs also object to this Interrogatory on the ground that “all” persons with
             FAC, including without limitation    whom Plaintiffs have communicated concerning “the subject matter of the FAC”

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 Request
                            Request                                              Response and Objections
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             officials,    staff,     agents,     or   seeks information that is overly broad and irrelevant to the case, and thus not
             representatives (current and former) of   proportional to the needs of the case.
             the U.S. government, the United Arab
             Emirates, or the Kingdom of Saudi      Subject to the foregoing General and Specific Objections, Plaintiffs identify, to
             Arabia.                                the best of their recollection at this time, the following persons, excluding
                                                    attorneys, with whom Plaintiffs have communicated relevant to the hacking:
                                                    Robin Rosenzweig, Ankura Consulting, LLC, Joel Mowbray, Erica Hilliard.
Stonington   With respect to each publication of Plaintiffs object to this Interrogatory on the ground that the truth or falsity of the
Defs.’       information that you describe in the published information is not relevant to any claim or defense in this action, and
ROG 16       FAC, identify all false statements in thus not relevant or proportional to the needs of the case.
             such publication and explain why they
             are false, including: (a) the stories Based on the foregoing General and Specific Objections, Plaintiffs will not
             published by the New York Times, respond to this Interrogatory.
             McClatchy, the Wall Street Journal,
             and the Washington Post, described in
             paragraph 119 of the FAC; (b) the
             March 3, 2018 New York Times article
             described in paragraph 121 of the FAC;
             (c) the March 26, 2018 Associated
             Press article authored by Tom
             LoBianco described in paragraph 126
             of the FAC; (d) the Newsweek article
             described in paragraph 127 of the FAC;
             (e) the May 21, 2018 Associated Press
             article described in paragraph 130 of
             the FAC; (f) the March 1, 2018 Wall
             Street Journal article described in
             paragraph 142 of the FAC; (g) the
             March 2, 2018 Huffington Post article
             described in paragraph 144 of the FAC;
             (h) the March 5, 2018 report by the

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Request
                        Request                                  Response and Objections
Number
          BBC described in paragraph 144 of the
          FAC (i) the March 26, 2018 McClatchy
          article described in paragraph 148 of
          the FAC; (j) the March 25, 2018 New
          York Times article described in
          paragraph 151 of the FAC; (k) the
          March 21, 2018 New York Times
          article described in paragraph 152 of
          the FAC; (l) the March 23, 2018
          Bloomberg article described in
          paragraph 152 of the FAC.




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                 Section G.        Broidy Refuses to Produce Any Documents From Before December 2017.

 Request
                         Request                                               Response and Objections
 Number
Howard’s   The “batch of hacked emails” that,      Plaintiffs object to this Request on the ground that responsive documents are in
RFP 3      according to paragraph 123 of the       the possession, custody, and control of Defendants and/or third parties, and/or are
           FAC, Tom LoBianco’s “outlet             publicly available.
           provided to Mr. Broidy’s associates
           before AP published its March 26        Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
           article.”                               reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request.
Howard’s   The “new batch of emails” that, Plaintiffs object to this Request on the ground that responsive documents are in
RFP 4      according to paragraph 128 of the the possession, custody, and control of Defendants and/or third parties, and/or are
           FAC, Tom LoBianco, notified an publicly available.
           associate of Mr. Broidy about on April
           27, 2018.                               Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                   reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request.
Howard’s   The “first batch of images of Broidy’s Plaintiffs object to this Request on the ground that responsive documents are in
RFP 5      hacked emails” that, according to the possession, custody, and control of Defendants and/or third parties, and/or are
           paragraph 130 of the FAC, Tom publicly available.
           LoBianco emailed to Mr. Broidy’s
           representatives on May 11, 2018.        Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                   reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request.
Howard’s   The “copies of the hacked emails” Plaintiffs object to this Request on the ground that responsive documents are in
RFP 6      that, according to paragraph 131 of the the possession, custody, and control of Defendants and/or third parties, and/or are
           FAC, Tom LoBianco sent to Mr. publicly available.
           Broidy’s representatives on May 11,
           2018.                                   Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                   reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request.


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 Request
                          Request                                               Response and Objections
 Number
Howard’s   The “final batch of hacked emails”        Plaintiffs object to this Request on the ground that responsive documents are in
RFP 7      that, according to paragraph 132 of the   the possession, custody, and control of Defendants and/or third parties, and/or are
           FAC, Tom LoBianco provided to Mr.         publicly available.
           Broidy’s representatives on May 18,
           2018.                               Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                               reasonable search and will produce non-privileged documents that are responsive
                                               to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 9      concerning Your contention that documents, which is unduly burdensome and not required by the FRCP or the
           Howard     “received   and    w[as] Local Rules.
           knowingly using” Broidy’s allegedly
           stolen materials, as alleged in Plaintiffs also object to this Request on the ground that it seeks privileged
           paragraph 159 of the FAC.           information.

                                                     Plaintiffs also object to this Request on the ground that responsive documents are
                                                     in the possession, custody, and control of Defendants and/or third parties.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents that are responsive
                                                 to this Request.
Howard’s   All documents that evidence, reflect, Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 10     relate, or refer to Your “significant documents, which is unduly burdensome and not required by the FRCP or the
           investment of time and resources,” as Local Rules.
           alleged in paragraph 235 of the FAC.
                                                 Plaintiffs also object to this Request on the ground that it seeks privileged
                                                 information.

                                                     Plaintiffs also object to this Request on the ground that responsive documents are
                                                     in the possession, custody, and control of Defendants and/or third parties.




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 Request
                         Request                                               Response and Objections
 Number
                                                   Plaintiffs also object to this Request on the ground that it prematurely seeks
                                                   information that will be provided through expert witness(es).

                                                   Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                   reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request to the extent they exist, including in connection with forthcoming
                                                   expert disclosures.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 19     concerning the allegation that Howard documents, which is unduly burdensome and not required by the FRCP or the
           “knowingly       provided        media Local Rules.
           organizations,     public     relations
           professionals, and other Qatari agents Plaintiffs also object to this Request on the ground that it seeks privileged
           with information stolen” from Broidy, information.
           as alleged in paragraph 372 of the
           FAC                                     Plaintiffs also object to this Request on the ground that responsive documents are
                                                   in the possession, custody, and control of Defendants and/or third parties.

                                                Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                reasonable search and will produce non-privileged documents that are responsive
                                                to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 22     concerning the allegation in the FAC documents, which is unduly burdensome and not required by the FRCP or the
           that Howard acquired, possessed, Local Rules.
           used, or disclosed Broidy’s alleged
           trade secrets.                       Plaintiffs also object to this Request on the ground that it seeks privileged
                                                information.

                                                   Plaintiffs also object to this Request on the ground that responsive documents are
                                                   in the possession, custody, and control of Defendants and/or third parties.




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 Request
                         Request                                               Response and Objections
 Number
                                              Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                              reasonable search and will produce non-privileged documents that are responsive
                                              to this Request.
Howard’s   All communications between You and Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 23     any person in which You disclosed documents, which is unduly burdensome and not required by the FRCP or the
           any of Your alleged trade secrets. Local Rules.

                                                   Plaintiffs also object to this Request on the ground that it seeks privileged
                                                   information.

                                                   Plaintiffs also object to this Request on the grounds that it seeks documents
                                                   unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                   case, and not proportional to the needs of the case.

                                                   Plaintiffs also object to this Request as overly broad to the extent that it seeks
                                                   documents related to trade secrets that were not stolen and internal
                                                   communications.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents, to the extent any
                                                 exist, sufficient to show BCM’s policies or procedures during the relevant time
                                                 period for protecting its trade secrets from being disclosed to third parties. See
                                                 Dkt. No. 51 at 25-26.
Howard’s   All of the allegedly hacked materials Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 24     that, according to the FAC, Howard documents, which is unduly burdensome and not required by the FRCP or the
           allegedly received.                   Local Rules, and further because they do not know the full extent of the hacking
                                                 and therefore could have no ability to produce “all” of the hacked materials.

                                                   Plaintiffs also object to this Request on the ground that it seeks privileged
                                                   information.


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 Request
                         Request                                              Response and Objections
 Number
                                                   Plaintiffs also object to this Request on the ground that responsive documents are
                                                   in the possession, custody, and control of Defendants and/or third parties, and/or
                                                   are publicly available.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents that are responsive
                                                 to this Request.
Howard’s   All of the allegedly hacked materials Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 25     that, according to the FAC, Howard documents, which is unduly burdensome and not required by the FRCP or the
           allegedly distributed to others.      Local Rules.

                                                   Plaintiffs also object to this Request on the ground that it seeks privileged
                                                   information.

                                                   Plaintiffs also object to this Request on the ground that responsive documents are
                                                   in the possession, custody, and control of Defendants and/or third parties and/or
                                                   are publicly available.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents that are responsive
                                                 to this Request.
Howard’s   All of Broidy’s communications with Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 26     journalists or agents or employees of documents, which is unduly burdensome and not required by the FRCP or the
           any media organization regarding Local Rules.
           Broidy’s allegedly hacked materials
           or the information contained in those Plaintiffs also object to this Request on the ground that it seeks privileged
           materials.                            information.

                                                   Plaintiffs also object to this Request on the ground that the phrase “hacked
                                                   materials or the information contained in those materials” makes this Request


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 Request
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 Number
                                                   overly broad, unduly burdensome, irrelevant to the claims and defenses in this
                                                   case and not proportional to the needs of the case.

                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce Broidy’s non-privileged communications with
                                                  journalists or agents or employees of any media organization regarding the
                                                  hacking.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 28     concerning any hacks of Broidy’s documents, which is unduly burdensome and not required by the FRCP or the
           electronic devices, email accounts, or Local Rules.
           computer servers prior to January 7,
           2018.                                  Plaintiffs also object to this Request on the ground that it seeks privileged
                                                  information.

                                                   Plaintiffs also object to this Request on the ground that responsive documents are
                                                   in the possession, custody, and control of Defendants and/or third parties.

                                                   Plaintiffs also object to this Request on the grounds that the phrase “any hacks” is
                                                   vague and overly broad, and that this Request seeks documents that are irrelevant
                                                   to the claims and defenses in this case and is not proportional to the needs of the
                                                   case.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents that are responsive
                                                 to this Request to the extent they are relevant to the hacking at issue in this case.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 30     discussing, planning, or coordinating documents, which is unduly burdensome and not required by the FRCP or the
           the hacking of, alteration of, or Local Rules.
           unauthorized insertion of information
           onto any websites, computer servers, Plaintiffs also object to this Request on the ground that it seeks privileged
           or email systems owned by, operated information.

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 Request
                         Request                                               Response and Objections
 Number
           by, or affiliated with the Qatar News
           Agency.                               Plaintiffs also object to this Request on the ground that it seeks documents that
                                                 are irrelevant to the claims and defenses in this case, that are not proportional to
                                                 the needs of the case, for an improper purpose, and that are publicly available.

                                                    Based on the foregoing General and Specific objections, Plaintiffs state they have
                                                    no non-public documents responsive to this Request.
Howard’s   All communications with any official Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 31     or representative of the government of documents, which is unduly burdensome and not required by the FRCP or the
           Egypt regarding the State of Qatar, Local Rules.
           including communications between
           Broidy’s attorneys and any such Plaintiffs also object to this Request on the ground that it seeks privileged
           official, representative, or attorney of information.
           the official or representative, as well
           as any documents relating to such Plaintiffs also object to this Request on the ground that it seeks documents that
           communications. For purposes of this are irrelevant to the claims and defenses in this case, that are not proportional to
           Request, Broidy’s attorneys include the needs of the case, and for an improper purpose.
           without limitation Latham & Watkins
           LLP, Boies Schiller Flexner LLP, Based on the foregoing General and Specific objections, Plaintiffs state they have
           Steptoe       &      Johnson       LLP, no documents responsive to this Request.
           McGuireWoods LLP, and Kasowitz
           Benson Torres LLP.
Howard’s   All communications with any official Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 32     or representative of the government of documents, which is unduly burdensome and not required by the FRCP or the
           Bahrain regarding the State of Qatar, Local Rules.
           including communications between
           Broidy’s attorneys and any such Plaintiffs also object to this Request on the ground that it seeks privileged
           official, representative, or attorney of information.
           the official or representative, as well
           as any documents relating to such
           communications. For purposes of this

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 Request
                          Request                                                Response and Objections
 Number
           Request, Broidy’s attorneys include       Plaintiffs also object to this Request on the ground that it seeks documents that
           without limitation Latham & Watkins       are irrelevant to the claims and defenses in this case, that are not proportional to
           LLP, Boies Schiller Flexner LLP,          the needs of the case, and for an improper purpose.
           Steptoe       &     Johnson       LLP,
           McGuireWoods LLP, and Kasowitz            Based on the foregoing General and Specific objections, Plaintiffs state they have
           Benson Torres LLP.                        no documents responsive to this Request.
Howard’s   All documents and communications          Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 33     concerning any criticisms of the State    documents, which is unduly burdensome and not required by the FRCP or the
           of Qatar that Broidy conveyed to any      Local Rules.
           organization, including but not limited
           to The Foundation for Defense of          Plaintiffs also object to this Request on the ground that it seeks privileged
           Democracies, the Hudson Institute,        information.
           the Jewish Institute for National
           Security of America, the Washington       Plaintiffs also object to this Request on the ground that it seeks documents that
           Institute for Near East Policy, and The   are irrelevant to the claims and defenses in this case, that are not proportional to
           Middle East Forum.                        the needs of the case, and for an improper purpose.

                                                    Based on the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Howard’s   All communications between Broidy, Plaintiffs object to this Request on the ground that it is compound and overbroad,
RFP 34     his agents, his representatives including because it seeks “all” such requested documents, which is unduly
           (including without limitation lawyers burdensome and not required by the FRCP or the Local Rules.
           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe & Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP, information.
           and Kasowitz Benson Torres LLP), or
           any entities he controls and the Plaintiffs also object to this Request on the ground that it seeks documents that
           following individuals or entities, their are irrelevant to the claims and defenses in this case, that are not proportional to
           agents, representatives, affiliates, or the needs of the case, and for an improper purpose.
           affiliated organizations regarding (a)
           lobbying on behalf of a foreign nation

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          or entity, (b) the State of Qatar, (c) the Based on the foregoing General and Specific objections, Plaintiffs will not
          UAE, (d) Saudi Arabia, (e) Bahrain, produce documents that in response to this Request.
          (f) Egypt, or (g) Defendants, as well as
          any documents relating to such
          communications: Frances “Fran”
          Townsend,        Joseph      Lieberman,
          William Nixon, Charles “Chip”
          Andreae, Saad Mohseni, Rich
          Goldberg, Arie Lipnick, Noah Pollak,
          Robert Gates, Leon Panetta, David
          Petraeus, Sebastian Gorka, Daniel
          Pipes, Gregg Roman, E.J. Kimball,
          Adelle Nazarian, Toby Dershowitz,
          Marie Royce, MOBY Media Group,
          Lapis Communications, Lapis Middle
          East and Africa, The Counter
          Extremism Project, Policy Impact
          Communications, America Abroad
          Media, The Saudi American Public
          Relation Affairs Committee, Rapid
          Global       Solutions,      Macadamia
          Strategies,        The       Emergency
          Committee for Israel, The American
          Media Institute, Konik-Madison
          Group, McLaughlin & Associates,
          The Harbour Group, The Podesta
          Group, The Foundation for Defense of
          Democracies, the Hudson Institute,
          the Jewish Institute for National
          Security of America, the Washington
          Institute for Near East Policy, The

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           Middle East Forum, or any staff,
           agents, or representatives of the
           foregoing.
Howard’s   All documents and communications          Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 35     concerning work performed by              documents, which is unduly burdensome and not required by the FRCP or the
           Fieldcrest Advisors, LLC relating to      Local Rules.
           the lifting of sanctions against one or
           more foreign clients of Andrei Baev,      Plaintiffs also object to this Request on the ground that it seeks privileged
           as well as all documents and              information.
           communications concerning the
           solicitation of such work.                Plaintiffs also object to this Request on the ground that it seeks documents that
                                                     are irrelevant to the claims and defenses in this case, that are not proportional to
                                                     the needs of the case, and for an improper purpose.

                                                 Based on the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 36     that refer or relate to lobbying or documents, which is unduly burdensome and not required by the FRCP or the
           advocacy activities concerning the Local Rules.
           Republic of Angola, including without
           limitation work performed by Plaintiffs also object to this Request on the ground that it seeks privileged
           Circinus concerning the Republic of information.
           Angola or Grupo Simples Oil.
                                                 Plaintiffs also object to this Request on the ground that it seeks documents that
                                                 are irrelevant to the claims and defenses in this case, that are not proportional to
                                                 the needs of the case, and for an improper purpose.

                                                     Based on the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.




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Howard’s   All communications discussing,          Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 37     planning, or coordinating the           documents, which is unduly burdensome and not required by the FRCP or the
           production      of   any      movies,   Local Rules.
           documentaries, videos, or other media
           projects regarding Qatar, including,    Plaintiffs also object to this Request on the ground that it seeks privileged
           but not limited to, the documentary     information.
           series “Qatar: A Dangerous Alliance,”
           as well as any documents relating to    Plaintiffs also object to this Request on the ground that it seeks documents that
           such communications.                    are irrelevant to the claims and defenses in this case, that are not proportional to
                                                   the needs of the case, and for an improper purpose.

                                                  Based on the foregoing General and Specific objections, Plaintiffs will not
                                                  produce documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 38     concerning work performed by documents, which is unduly burdensome and not required by the FRCP or the
           Andreae & Associates pursuant to its Local Rules.
           August 2017 contract with Lapis
           Middle East and Africa regarding the Plaintiffs also object to this Request on the ground that it seeks privileged
           development, production, release, information.
           and/or marketing of multimedia
           products investigating the supposed Plaintiffs also object to this Request on the ground that it seeks documents that
           connection between the State of Qatar are irrelevant to the claims and defenses in this case, that are not proportional to
           and global terrorism, including the needs of the case, and for an improper purpose.
           without limitation documents and
           communications concerning Andreae Based on the foregoing General and Specific objections, Plaintiffs will not
           & Associates’ registration pursuant to produce documents in response to this Request.
           the Foreign Agents Registration Act in
           connection with that contract.
Howard’s   All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 39     his agents, his representatives documents, which is unduly burdensome and not required by the FRCP or the
           (including without limitation lawyers Local Rules.

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 Request
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           at Latham & Watkins LLP, Boies
           Schiller Flexner LLP, Steptoe &              Plaintiffs also object to this Request on the ground that it seeks privileged
           Johnson LLP, McGuireWoods LLP,               information.
           and Kasowitz Benson Torres LLP), or
           any entities he controls and the             Plaintiffs also object to this Request on the ground that it seeks documents that
           following entities, their agents,            are irrelevant to the claims and defenses in this case, that are not proportional to
           representatives, affiliates, or affiliated   the needs of the case, and for an improper purpose.
           organizations      regarding      protest
           activity in front of the Embassy of the      On the basis of the foregoing General and Specific objections, Plaintiffs will not
           State of Qatar in June 2017, as well as      produce documents in response to this Request.
           any documents relating to such
           communications: the National Black
           Church Initiative, Nexus Services,
           Security Studies Group, or any staff,
           agents, or representatives of the
           foregoing.
Howard’s   All communications with the Trump            Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 40     Organization, or the agents or               documents, which is unduly burdensome and not required by the FRCP or the
           representatives of the Trump                 Local Rules.
           Organization, regarding the State of
           Qatar, the UAE, Saudi Arabia,                Plaintiffs also object to this Request on the ground that it seeks privileged
           Bahrain, Egypt, or Defendants, as well       information.
           as any documents relating to such
           communications.                              Plaintiffs also object to this Request on the ground that it seeks documents that
                                                        are irrelevant to the claims and defenses in this case, that are not proportional to
                                                        the needs of the case, and for an improper purpose.

                                                        Based on the foregoing General and Specific objections, Plaintiffs will not
                                                        produce documents in response to this Request.




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Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 41     regarding a “George Vader,” or any documents, which is unduly burdensome and not required by the FRCP or the
           other pseudonyms used by Broidy to Local Rules.
           refer to George Nader.
                                              Plaintiffs also object to this Request on the ground that it seeks privileged
                                              information.

                                                 Plaintiffs also object to this Request on the ground that it seeks documents that
                                                 are irrelevant to the claims and defenses in this case, that are not proportional to
                                                 the needs of the case, and for an improper purpose.

                                            Based on the foregoing General and Specific objections, Plaintiffs will not
                                            produce documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 42     concerning any memorandum of documents, which is unduly burdensome and not required by the FRCP or the
           understanding between the United Local Rules.
           States and Qatar.
                                            Plaintiffs also object to this Request on the ground that it seeks privileged
                                            information.

                                                 Plaintiffs also object to this Request on the ground that it seeks documents that
                                                 are irrelevant to the claims and defenses in this case, that are not proportional to
                                                 the needs of the case, and for an improper purpose.

                                             Based on the foregoing General and Specific objections, Plaintiffs will not
                                             produce documents in response to this Request.
Howard’s   All documents and communications Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 44     concerning the Justice Against documents, which is unduly burdensome and not required by the FRCP or the
           Sponsors   of    Terrorism    Act Local Rules.
           (“JASTA”), Public Law 114-222,
           114th Congress, including without

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           limitation     all   documents      and   Plaintiffs also object to this Request on the ground that it seeks privileged
           communications (including those sent      information.
           to or received from Qorvis
           MSLGroup, Flywheel Government             Plaintiffs also object to this Request on the ground that it seeks documents that
           Solutions, Capitol Media Group, The       are irrelevant to the claims and defenses in this case, that not proportional to the
           Glover Park Group, CGCN Group,            needs of the case, and for an improper purpose.
           The McKeon Group, or any staff,
           agents, or representatives of the         Based on the foregoing General and Specific objections, Plaintiffs will not
           foregoing) concerning efforts to lobby    produce documents in response to this Request.
           or influence any United States
           government official with respect to
           JASTA either before or after it was
           passed.
Howard’s   In order to probe Your allegation in      Plaintiffs object to this Request on the ground that it seeks “all” such requested
RFP 45     paragraph 33 of the FAC that the          documents, which is unduly burdensome and not required by the FRCP or the
           documents distributed to the media        Local Rules.
           “create[d] a false and injurious image”
           of You:                                   Plaintiffs also object to this Request to the extent that certain subparts of the
                                                     Request seek privileged information.
           (a) all communications with any
           member of the Trump Administration Plaintiffs also object to this Request on the ground that it seeks documents that
           concerning 1Malaysia Development are irrelevant to the claims and defenses in this case and not proportional to the
           Berhad (“1MDB”);                   needs of the case.

           (b) all communications with any Plaintiffs also object to this Request on the ground that it seeks documents that
           member of the Trump Administration are in the possession custody and control of Defendants and/or third parties, or is
           concerning Jho Low;                publicly available.

           (c) all communications with any Subject to foregoing General and Specific objections, Plaintiffs will produce non-
           member of the Trump Administration privileged documents in response to this Request that support the allegations in
                                              paragraph 33 of the FAC that are relevant to the claims in this action.

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Request
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          concerning Chinese businessman Guo
          Wengui;

          (d) all communications with any
          person at the United States
          Department of Justice concerning
          1Malaysia Development Berhad
          (“1MDB”);

          (e) all communications with any
          person at the United States
          Department of Justice concerning Jho
          Low;

          (f) all communications with any
          person at the United States
          Department of Justice concerning
          Chinese businessman Guo Wengui;

          (g)     all    documents     and
          communications        concerning
          1Malaysia Development Berhad
          (“1MDB”) or Jho Low;

          (h)       all     documents      and
          communications concerning any of
          Your activities, or contemplated
          activities, against the interests of
          Chinese businessman Guo Wengui.




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  Request
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Stonington   All BCM policies or procedures for       Plaintiffs object to this Request on the ground that it is vague, overly broad, unduly
Defs.’ RFP   accessing its computers, servers, and    burdensome, not proportional to the needs of the case, and not relevant to claims
1            other electronic systems, including      in the case.
             any policies or procedures regarding
             the storing or safeguarding of        Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
             electronic credentials.               reasonable search and will produce non-privileged documents to the extent any
                                                   exist which are sufficient to show BCM’s policies or procedures during the
                                                   relevant time period for protecting its trade secrets from being disclosed to third
                                                   parties. See Dkt. No. 51 at 25-26.
Stonington   All BCM policies or procedures for Plaintiffs object to this Request on the ground that it is vague, overly broad, unduly
Defs.’ RFP   securing its computers, servers, and burdensome, not proportional to the needs of the case, and not relevant to claims
2            electronic systems, including any in the case.
             policies or procedures regarding the
             use of non-BCM accounts like Gmail Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
             and other web-based email services on reasonable search and will produce non-privileged documents to the extent any
             BCM devices or devices authorized to exist which are sufficient to show BCM’s policies or procedures during the
             access BCM systems.                   relevant time frame for protecting its trade secrets from being disclosed to third
                                                   parties. See Dkt. No. 51 at 25-26.
Stonington   All documents, communications, and Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   information Broidy claims were
7            accessed in the alleged hacking.      Plaintiffs also object to this request on the ground that it seeks “all” such requested
                                                   documents which is unduly burdensome and not required by the FRCP or the
                                                   Local Rules.

                                                      Plaintiffs also object to this Request on the ground that responsive documents in
                                                      the possession custody and control of Defendants and/or third parties, and/or are
                                                      publicly available.

                                                      Plaintiffs also object to this Request on the ground that it seeks documents that
                                                      are irrelevant to any claim or defense in the case.


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 Request
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                                                Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                reasonable search and will produce non-privileged documents that are responsive
                                                to this Request.
Stonington   All documents, communications, and Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   information Broidy claims were
8            obtained in the alleged hacking.   Plaintiffs also object to this request on the ground that it seeks “all” such
                                                responsive documents, which is unduly burdensome and not required by the FRCP
                                                or the Local Rules.

                                                    Plaintiffs also object to this Request on the ground that responsive documents in
                                                    the possession custody and control of Defendants and/or third parties, and are
                                                    publicly available.

                                                    Plaintiffs also object to this Request on the ground that it seeks documents that
                                                    are irrelevant to any claim or defense in the case.

                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged documents that are responsive
                                                  to this Request.
Stonington   All documents and communications Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   obtained in the alleged hacking that
9            Broidy contends were forged, Plaintiffs also object to this request on the ground that it seeks “all” such
             falsified, or otherwise altered.     responsive documents, which is unduly burdensome and not required by the FRCP
                                                  or the Local Rules.

                                                    Plaintiffs also object to this Request on the ground that responsive documents are
                                                    in the possession custody and control of Defendants and/or third parties, and/or
                                                    are publicly available.




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 Request
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                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents that are responsive
                                                      to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   demonstrating that any documents
10           identified in Request No. 9 were Plaintiffs also object to this request on the ground that it seeks “all” such
             forged, falsified, or otherwise altered, responsive documents, which is unduly burdensome and not required by the FRCP
             including      original    non-falsified or the Local Rules.
             versions of the documents.
                                                      Plaintiffs also object to this Request on the ground that responsive documents are
                                                      in the possession custody and control of Defendants and/or third parties, and/or
                                                      are publicly available.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                 reasonable search and will produce non-privileged documents sufficient to show
                                                 that the documents identified in Request No. 9 were forged, falsified, or otherwise
                                                 altered.
Stonington   All documents and communications Plaintiffs object to this Request to the extent that it seek privileged information.
Defs.’ RFP   containing    Broidy-owned    trade
11           secrets that Broidy alleges were Plaintiffs also object to this request on the ground that it seeks “all” such
             misappropriated in the alleged responsive documents, which is unduly burdensome and not required by the FRCP
             hacking, as described in paragraphs or the Local Rules.
             301 and 316 of the FAC.
                                                 Plaintiffs also object to this Request on the ground that responsive documents are
                                                 in the possession custody and control of Defendants and/or third parties, and/or
                                                 are publicly available.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged the documents they contend
                                                      contain Broidy-owned trade secrets that were misappropriated in the alleged
                                                      hacking.

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 Request
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Stonington   All documents showing how each Plaintiffs object to this Request on the ground that it is vague and ambiguous, and
Defs.’ RFP   trade secret was saved, maintained, or to the extent that it seeks privileged information.
12           organized on Broidy’s servers or in
             Broidy’s document system.              Plaintiffs also object to this request on the ground that it seeks “all” such
                                                    responsive documents, which is unduly burdensome and not required by the FRCP
                                                    or the Local Rules.

                                                      Plaintiffs also object to this Request on the ground that responsive documents are
                                                      in the possession custody and control of Defendants and/or third parties.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents to the extent any
                                                      exist which are sufficient to show how the hacked trade secrets were saved,
                                                      maintained, or organized on Plaintiffs’ servers or in Plaintiffs’ document system.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seek privileged information.
Defs.’ RFP   relating to your efforts to maintain the
13           secrecy of your alleged trade secrets. Plaintiffs also object to this request on the ground that it seeks “all” such
                                                      responsive documents, which is unduly burdensome and not required by the FRCP
                                                      or the Local Rules.

                                                      Plaintiffs also object to this Request on the ground that responsive documents are
                                                      in the possession custody and control of Defendants and/or third parties, and/or
                                                      are publicly available.

                                                  Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                  reasonable search and will produce non-privileged documents to the extent any
                                                  exist sufficient to show Plaintiffs’ efforts to maintain the secrecy of their trade
                                                  secrets.
Stonington   All communications that discuss, Plaintiffs object to this Request on the ground that it seek privileged information.
Defs.’ RFP   transmit, attach, disclose, publish,
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 Request
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             share, forward, or disclose each Plaintiffs also object to this request on the ground that it seeks “all” such
             alleged trade secret.            responsive documents, which is unduly burdensome and not required by the FRCP
                                              or the Local Rules.

                                                    Plaintiffs also object to this Request on the grounds that it seeks documents
                                                    unrelated to the hacking and are therefore irrelevant to any claim or defense in the
                                                    case, and not proportional to the needs of the case.

                                                    Plaintiffs also object to this Request on the ground that it is overly broad.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications       Plaintiffs object to this Request on the ground that it seeks privileged
Defs.’ RFP   demonstrating Broidy’s alleged “loss   information.
16           of consumer goodwill” resulting from
             the alleged hacking or any actions     Plaintiffs also object to this request on the ground that it seeks “all” such
             taken in furtherance of the alleged    responsive documents, which is unduly burdensome and not required by the
             conspiracy (see paragraph 286 of the   FRCP or the Local Rules.
             FAC), including documents and
             communications demonstrating the       Plaintiffs also object to this Request on the ground that it prematurely seeks
             amount of damages related to the       information that will be provided through expert witness(es).
             alleged “loss of consumer goodwill.”
                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                    a reasonable search and will produce non-privileged documents that stand are
                                                    responsive to this Request, including in connection with forthcoming expert
                                                    disclosures.
Stonington   All documents and communications       Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   supporting Broidy’s contention that
23           there was any alleged improper         Plaintiffs also object to this Request on the ground that it seeks “all” such
             acquisition, use, or disclosure of     responsive documents, which is unduly burdensome and not required by the FRCP
             Broidy’s alleged trade secrets.        or the Local Rules.

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                                                     Plaintiffs also object to this Request on the ground that it seeks documents within
                                                     the possession custody or control of Defendants and/or third parties.

                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                     a reasonable search and will produce non-privileged documents to the extent any
                                                     exist that are responsive to this Request.
Stonington   All documents and communications        Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to your contention in
26           paragraph 235 of the FAC that your      Plaintiffs also object to this Request on the ground that it seeks “all” such
             alleged trade secrets “have significant responsive documents, which is unduly burdensome and not required by the FRCP
             value.”                                 or the Local Rules.

                                                     Plaintiff also object to this Request on the ground that it prematurely seeks expert
                                                     discovery.

                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                     a reasonable search and will produce non-privileged documents that are
                                                     responsive to this Request, including in connection with forthcoming expert
                                                     disclosures.
Stonington   All documents and communications        Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the “significant investment
27           of time and resources,” that you        Plaintiffs also object to this Request on the ground that it seeks “all” such
             mention in relation to your alleged     responsive documents, which is unduly burdensome and not required by the FRCP
             trade secrets in paragraph 235 of the   or the Local Rules.
             FAC.
                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                     a reasonable search and will produce non-privileged documents to the extent any
                                                     exist that are responsive to this Request.




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 Request
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Stonington   All documents and communications         Plaintiffs object to this Request on the ground that it seeks privileged
Defs.’ RFP   demonstrating the alleged “loss of       information.
28           consumer goodwill, loss in the value
             of [Broidy’s] trade secrets and          Plaintiffs also object to this Request on the ground that it seeks “all” such
             confidential business information,       responsive documents, which is unduly burdensome and not required by the
             and harm to [Broidy’s] business,” as     FRCP or the Local Rules.
             described in paragraph 303 of the
             FAC.                                     Plaintiff also object to this Request on the ground that it prematurely seeks
                                                      expert discovery.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                      a reasonable search and will produce non-privileged documents to the extent
                                                      they exist that are responsive to this Request, including in connection with
                                                      forthcoming expert disclosures.
Stonington   All documents and communications,        Plaintiffs object to this Request on the ground that it is duplicative and seeks
Defs.’ RFP   to the extent not already requested,     privileged information.
30           demonstrating “loss of consumer
             goodwill, an increased risk of further   Plaintiffs also object to this Request on the ground that it seeks “all” such
             theft, and an increased risk of          responsive documents, which is unduly burdensome and not required by the
             harassment,” as alleged in paragraphs    FRCP or the Local Rules.
             306 and 320 of the FAC.
                                                      Plaintiff also object to this Request on the ground that responsive documents are
                                                      in the possession, custody and control of Defendants. Plaintiff also object to this
                                                      Request on the ground that it prematurely seeks expert discovery.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                      a reasonable search and will produce non-privileged documents to the extent
                                                      they exist that are responsive to this Request, including in connection with
                                                      forthcoming expert disclosures.




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 Request
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Stonington   All documents and communications,         Plaintiffs object to this Request on the ground that it is duplicative and seeks
Defs.’ RFP   to the extent not already requested,      privileged information.
31           demonstrating “damage resulting
             from harm to [Broidy’s] computers,        Plaintiffs also object to this Request on the ground that it seeks “all” such
             servers, and accounts; loss in the        responsive documents, which is unduly burdensome and not required by the
             value of [Broidy’s] trade secrets and     FRCP or the Local Rules.
             business information, and other
             intellectual property; costs expended     Plaintiff also object to this Request on the ground that it prematurely seeks
             in protecting trade secrets from future   expert discovery.
             misappropriation; and harm to
             [Broidy’s] business,” as alleged in       Subject to the foregoing General and Specific objections, Plaintiffs will conduct
             paragraph 317 of the FAC.                 a reasonable search and will produce non-privileged documents to the extent
                                                       they exist that are responsive to this Request, including in connection with
                                                       forthcoming expert disclosures.
Stonington   All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged
Defs.’ RFP   demonstrating business opportunities      information.
32           that Broidy claims to have lost as a
             result of the alleged hacking or any      Plaintiffs also object to this Request on the ground that it seeks “all” such
             actions taken in furtherance of the       responsive documents, which is unduly burdensome and not required by the
             alleged conspiracy.                       FRCP or the Local Rules.

                                                       Subject to the foregoing General and Specific objections, Plaintiffs will conduct
                                                       a reasonable search and will produce non-privileged documents to the extent
                                                       they exist that are responsive to this Request, including in connection with
                                                       forthcoming expert disclosures.
Stonington   All communications with any person        Plaintiffs object to this Request on the ground that it seeks privileged
Defs.’ RFP   who you have a business relationship      information.
33           with that you claim has been
             disrupted as a result of the conduct      Plaintiffs also object to this Request on the ground that it seeks “all” such
             alleged in the FAC, as well as any        responsive documents, which is unduly burdensome and not required by the
                                                       FRCP or the Local Rules.

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             documents relating to such
             communications.                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce responsive documents.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to your allegation in
37           paragraph 112 of the FAC that Plaintiffs also object to this Request on the ground that it seeks “all” such
             “[m]any of the PDFs disseminated to responsive documents, which is unduly burdensome and not required by the FRCP
             third parties contain time stamps or the Local Rules.
             different from the Pacific Time Zone
             associated    with     the    original Plaintiff also object to this Request on the ground that responsive documents are
             document.”                             in the possession, custody and control of Defendants and/or third parties.

                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                     reasonable search and will produce non-privileged documents to the extent any
                                                     exist that are responsive to this Request.
Stonington   All documents and communications,       Plaintiffs object to this Request on the ground that it is duplicative and seeks
Defs.’ RFP   to the extent not already requested,    privileged information. Plaintiffs also object to this Request on the ground that it
42           demonstrating the “considerable time,   seeks “all” such requested documents, which is unduly burdensome and not
             money, and effort [Broidy spent]        required by the FRCP or the Local Rules.
             safeguarding [Broidy’s] personal
             information” following the alleged Plaintiff also object to this Request on the ground that it seeks premature expert
             hacking, as described in paragraph discovery.
             356 of the FAC.
                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                     reasonable search and will produce non-privileged documents to the extent any
                                                     exist that are responsive to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged
Defs.’ RFP   demonstrating Broidy’s ongoing information.
49           damages, including damages Broidy
             has suffered or will suffer as a result
             of the alleged ongoing conspiracy, as

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             described in paragraph 375 of the Plaintiffs also object to this Request on the ground that it seeks “all” such
             FAC.                              requested documents, which is unduly burdensome and not required by the
                                               FRCP or the Local Rules.

                                                     Plaintiff also object to this Request on the ground that it prematurely seeks
                                                     expert discovery.

                                                     Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                     reasonable search and will produce non-privileged documents that are responsive
                                                     to this Request, including in connection with forthcoming expert disclosures.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to your allegation in
50           paragraph 33 of the FAC that the Plaintiffs also object to this Request on the ground that it seeks “all” such
             documents distributed to the media requested documents, which is unduly burdensome and not required by the FRCP
             “create[d] a false and injurious image” or the Local Rules.
             of you, including without limitation:
             (a) all documents relating to your Plaintiffs also object to this Request on the ground that it seeks documents based
             receipt of moneys either directly or on an inaccurate quotation from paragraph 33 the Complaint. Accordingly, the
             indirectly from the United Arab Request seeks documents irrelevant to any claim or defense in the case. The
             Emirates; (b) all documents relating to documents sought in sub-Requests (a)-(h) are independently irrelevant to any
             your receipt of moneys either directly claim or defense in the case and not proportional to the needs of the case.
             or indirectly from the Kingdom of
             Saudi Arabia; (c) all communications Subject to the foregoing General and Specific objections, Plaintiffs will produce
             with Crown Prince Mohammed bin nonprivileged documents to the extent any exist in their possession, custody, or
             Zayed al-Nahyan of the United Arab control that are relevant the allegation in paragraph 33 of the FAC that the
             Emirates; (d) all communications conspiracy involved the “distribution of curated batches of illegally obtained data
             between you and any member of the to the media in a manner calculated to create a false and injurious image of Mr.
             Royal Family of the United Arab Broidy.”
             Emirates; (e) all communications with
             Yousef al-Otaiba, Ambassador of the
             United Arab Emirates to the United

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             States of America; (f) all documents
             and communications relating to the
             Palestinian International Terrorism
             Support Prevention Act of 2017, H.R.
             2712, 115th Congress, 2017-2018;
             (g)       all      documents          and
             communications relating to payments
             of money you facilitated either
             directly or indirectly to any sponsor of
             the      Palestinian        International
             Terrorism Support Prevention Act of
             2017, H.R. 2712, 115th Congress,
             2017-2018 or any entity affiliated with
             such sponsor; (h) all documents and
             communications relating to any
             assistance or service you provided to
             any sponsor of the Palestinian
             International Terrorism Support
             Prevention Act of 2017, H.R. 2712,
             115th Congress, 2017-2018 or any
             relative or friend of such sponsor, and
             whether you were compensated or not
             for such assistance or service.
Stonington   All documents and communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding any statements Broidy has
54           made to, including communications           Plaintiffs also object to this Request on the ground that it seeks “all” such
             with, any U.S. government official          requested documents, which is unduly burdensome and not required by the FRCP
             about the State of Qatar, its               or the Local Rules.
             government, or its relationship with
             Israel, including any white papers,
             affidavits,        reports,        notes,

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             presentations, or talking points, Plaintiffs also object to this Request on the ground that it seeks documents that
             whether in draft or final form (see are irrelevant to any claim or defense in the case and not proportional to the needs
             paragraph 47 of the FAC).           of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All communications with President Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Donald Trump and/or members of
58           President Trump’s family; White Plaintiffs also object to this Request on the ground that it seeks “all” such
             House staff; presidential campaign requested documents, which is unduly burdensome and not required by the FRCP
             staff; Save America PAC staff; or the Local Rules.
             America First Action PAC staff; Make
             America Great Again Action PAC Plaintiffs also object to this Request on the ground that it seeks documents that
             staff; Make America Great Again, are irrelevant to the claims and defenses in this case and not proportional to the
             Again PAC staff; or Trump needs of the case.
             Administration       transition   team
             members; or the agents or On the basis of the foregoing General and Specific objections, Plaintiffs will not
             representatives of any of the produce documents in response to this Request.
             individuals or organizations identified
             in this Request, regarding the State of
             Qatar, the UAE, or Saudi Arabia, as
             well as any documents relating to such
             communications.
Stonington   All communications with any U.S. Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Senator or U.S. Congressman (current
59           or former) and/or members of any Plaintiffs also object to this Request on the ground that it seeks “all” such
             Senator’s or Congressman’s staff requested documents, which is unduly burdensome and not required by the FRCP
             regarding the State of Qatar, the UAE, or the Local Rules.
             or Saudi Arabia, as well as any
             documents       relating      to   such
             communications.

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                                                     Plaintiffs also object to this Request on the ground that it seeks documents that
                                                     are irrelevant to the claims and defenses in this case and not proportional to the
                                                     needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All communications with any U.S. Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Cabinet Members (current or former)
60           or    their    staff,   agents,     or Plaintiffs also object to this Request on the ground that it seeks “all” such
             representatives regarding the State of requested documents, which is unduly burdensome and not required by the FRCP
             Qatar, the UAE, or Saudi Arabia, as or the Local Rules.
             well as any documents relating to such
             communications.                        Plaintiffs also object to this Request on the ground that it seeks documents that
                                                    are irrelevant to the claims and defenses in this case and not proportional to the
                                                    needs of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington   All communications with former Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Congressman Ed Royce or his staff,
61           agents, or representatives regarding Plaintiffs also object to this Request on the ground that it seeks “all” such
             the State of Qatar, the UAE, or Saudi requested documents, which is unduly burdensome and not required by the FRCP
             Arabia, as well as any documents or the Local Rules.
             relating to such communications.
                                                   Plaintiffs also object to this Request on the ground that it seeks documents that
                                                   are irrelevant to the claims and defenses in this case and not proportional to the
                                                   needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request


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Stonington   All communications with former             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Congresswoman Ileana Ros-Lehtinen
62           or her staff, agents, or representatives   Plaintiffs also object to this Request on the ground that it seeks “all” such
             regarding the State of Qatar, the UAE,     requested documents, which is unduly burdensome and not required by the FRCP
             or Saudi Arabia, as well as any            or the Local Rules.
             documents       relating     to    such
             communications.                            Plaintiffs also object to this Request on the ground that it seeks documents that
                                                        are irrelevant to the claims and defenses in this case and not proportional to the
                                                        needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All communications with “civic Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   leaders,” as described in Paragraph 47
63           of the FAC, and/or their staff, agents, Plaintiffs also object to this Request on the ground that it seeks “all” such
             or representatives, regarding the State requested documents, which is unduly burdensome and not required by the FRCP
             of Qatar, the UAE, or Saudi Arabia, as or the Local Rules.
             well as any documents relating to such
             communications.                         Plaintiffs also object to this Request on the ground that it seeks documents that
                                                     are irrelevant to the claims and defenses in this case and not proportional to the
                                                     needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All communications with any official Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   or representative of the government of
64           Saudi Arabia regarding the State of Plaintiffs also object to this Request on the ground that it seeks “all” such
             Qatar, including communications requested documents, which is unduly burdensome and not required by the FRCP
             between Broidy’s attorneys and any or the Local Rules.
             such official, representative, or
             attorney    of     the    official  or

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 Request
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             representative, as well as any             Plaintiffs also object to this Request on the ground that it seeks documents that
             documents       relating     to     such   are irrelevant to the claims and defenses in this case and not proportional to the
             communications. For purposes of this       needs of the case.
             request, Broidy’s attorneys include
             without limitation Latham & Watkins        On the basis of the foregoing General and Specific objections, Plaintiffs will not
             LLP and Boies Schiller Flexner LLP.        produce documents in response to this Request.
Stonington   All communications with any official       Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   or representative of the government of
65           the UAE regarding the State of Qatar,      Plaintiffs also object to this Request on the ground that it seeks “all” such
             including communications between           requested documents, which is unduly burdensome and not required by the FRCP
             Broidy’s attorneys and any such            or the Local Rules.
             official, representative, or attorney of
             the official or representative, as well    Plaintiffs also object to this Request on the ground that it seeks documents that
             as any documents relating to such          are irrelevant to the claims and defenses in this case and not proportional to the
             communications. For purposes of this       needs of the case.
             request, Broidy’s attorneys include
             without limitation Latham & Watkins        On the basis of the foregoing General and Specific objections, Plaintiffs will not
             LLP and Boies Schiller Flexner LLP.        produce documents in response to this Request.
Stonington   All communications with George             Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Nader, GS Investment Ltd., or
66           Xiemen Investments Limited, their          Plaintiffs also object to this Request on the ground that it seeks “all” such
             agents, their representatives, or their    requested documents, which is unduly burdensome and not required by the FRCP
             attorneys, including communications        or the Local Rules.
             between Broidy’s attorneys and Mr.
             Nader’s, GS Investment Ltd.’s, or          Plaintiffs also object to this Request on the ground that it seeks documents that
             Xiemen       Investments      Limited’s    are irrelevant to the claims and defenses in this case and not proportional to the
             agents, representatives, or attorneys,     needs of the case.
             regarding the State of Qatar, the UAE,
             or Saudi Arabia, as well as any            On the basis of the foregoing General and Specific objections, Plaintiffs will not
             documents       relating     to     such   produce documents in response to this Request.
             communications. For purposes of this

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             request, Broidy’s attorneys include
             without limitation Latham & Watkins
             LLP and Boies Schiller Flexner LLP.
Stonington   All communications with Richard            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Miniter or American Media Institute,
67           their agents, their representatives, or    Plaintiffs also object to this Request on the ground that it seeks “all” such
             their       attorneys,        including    requested documents, which is unduly burdensome and not required by the FRCP
             communications between Broidy’s            or the Local Rules.
             attorneys and Mr. Miniter’s or
             American Media Institute’s agents,         Plaintiffs also object to this Request on the ground that it seeks documents that
             representatives,      or     attorneys,    are irrelevant to the claims and defenses in this case and not proportional to the
             regarding the State of Qatar, the UAE,     needs of the case.
             or Saudi Arabia, as well as any
             documents       relating    to     such    On the basis of the foregoing General and Specific objections, Plaintiffs will not
             communications. For purposes of this       produce documents in response to this Request.
             request, Broidy’s attorneys include
             without limitation Latham & Watkins
             LLP and Boies Schiller Flexner LLP.
Stonington   All communications with Stephen K.         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Bannon,        his      agents,      his
68           representatives, or his attorneys,         Plaintiffs also object to this Request on the ground that it seeks “all” such
             including communications between           requested documents, which is unduly burdensome and not required by the FRCP
             Broidy’s attorneys and Mr. Bannon’s        or the Local Rules.
             agents, representatives, or attorneys,
             regarding the State of Qatar, the UAE,     Plaintiffs also object to this Request on the ground that it seeks documents that
             or Saudi Arabia, as well as any            are irrelevant to the claims and defenses in this case and not proportional to the
             documents       relating    to     such    needs of the case.
             communications. For purposes of this
             request, Broidy’s attorneys include        On the basis of the foregoing General and Specific objections, Plaintiffs will not
             without limitation Latham & Watkins        produce documents in response to this Request.
             LLP and Boies Schiller Flexner LLP.

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Stonington   All communications with Rick Gates,        Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   his agents, his representatives, or his
69           attorneys, including communications        Plaintiffs also object to this Request on the ground that it seeks “all” such
             between Broidy’s attorneys and Mr.         requested documents, which is unduly burdensome and not required by the FRCP
             Gates’s agents, representatives, or        or the Local Rules.
             attorneys, regarding the State of Qatar,
             the UAE, or Saudi Arabia, as well as       Plaintiffs also object to this Request on the ground that it seeks documents that
             any documents relating to such             are irrelevant to the claims and defenses in this case and not proportional to the
             communications. For purposes of this       needs of the case.
             request, Broidy’s attorneys include
             without limitation Latham & Watkins        On the basis of the foregoing General and Specific objections, Plaintiffs will not
             LLP and Boies Schiller Flexner LLP.        produce documents in response to this Request.
Stonington   All communications with Michael            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Cohen, his agents, his representatives,
70           or     his     attorneys,     including    Plaintiffs also object to this Request on the ground that it seeks “all” such
             communications between Broidy’s            requested documents, which is unduly burdensome and not required by the FRCP
             attorneys and Mr. Cohen’s agents,          or the Local Rules.
             representatives,      or     attorneys,
             regarding the State of Qatar, the UAE,     Plaintiffs also object to this Request on the ground that it seeks documents that
             or Saudi Arabia, as well as any            are irrelevant to the claims and defenses in this case and not proportional to the
             documents       relating    to     such    needs of the case.
             communications. For purposes of this
             request, Broidy’s attorneys include        On the basis of the foregoing General and Specific objections, Plaintiffs will not
             without limitation Latham & Watkins        produce documents in response to this Request.
             LLP and Boies Schiller Flexner LLP.
Stonington   All communications with Tom                Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Barrack,       his      agents,      his
71           representatives, or his attorneys,         Plaintiffs also object to this Request on the ground that it seeks “all” such
             including communications between           requested documents, which is unduly burdensome and not required by the FRCP
             Broidy’s attorneys and Mr. Barrack’s       or the Local Rules.
             agents, representatives, or attorneys,

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             regarding the State of Qatar, the UAE, Plaintiffs also object to this Request on the ground that it seeks documents that
             or Saudi Arabia, as well as any are irrelevant to the claims and defenses in this case and not proportional to the
             documents       relating    to     such needs of the case.
             communications.
                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All communications with Lev Parnas, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   his agents, his representatives, or his
72           attorneys, including communications Plaintiffs also object to this Request on the ground that it seeks “all” such
             between Broidy’s attorneys and Mr. requested documents, which is unduly burdensome and not required by the FRCP
             Parnas’s agents, representatives, or or the Local Rules.
             attorneys, regarding the State of Qatar,
             the UAE, or Saudi Arabia, as well as Plaintiffs also object to this Request on the ground that it seeks documents that
             any documents relating to such are irrelevant to the claims and defenses in this case and not proportional to the
             communications. For purposes of this needs of the case.
             request, Broidy’s attorneys include
             without limitation Latham & Watkins On the basis of the foregoing General and Specific objections, Plaintiffs will not
             LLP and Boies Schiller Flexner LLP. produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   “relating to your efforts to obtain
74           business from [the UAE and/or Saudi Plaintiffs also object to this Request on the ground that it seeks “all” such
             Arabia] and your efforts to influence requested documents, which is unduly burdensome and not required by the FRCP
             US policy towards [the State of Qatar] or the Local Rules.
             and its alleged support of terrorist
             activities[.]” Tr. of Arraignment and Plaintiffs also object to this Request on the ground that it seeks documents that
             Change of Plea 65:21–24, United are irrelevant to the claims and defenses in this case and not proportional to the
             States v. Broidy, Case No. 20-cr-210 needs of the case.
             (D.D.C. Oct. 20, 2020).
                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.


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Stonington   All documents and communications          Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the
75           United Arab Emirates, or the              Plaintiffs also object to this Request on the ground that it seeks “all” such
             Kingdom of Saudi Arabia that were         requested documents, which is unduly burdensome and not required by the FRCP
             seized during the raid conducted by       or the Local Rules.
             federal investigators at your office in
             Los Angeles, California in or around      Plaintiffs also object to this Request on the ground that it seeks documents that
             July 2018.                                are irrelevant to the claims and defenses in this case and not proportional to the
                                                       needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding any U.S. or foreign
76           investigation of your activities Plaintiffs also object to this Request on the ground that it seeks “all” such
             relating to the State of Qatar, the requested documents, which is unduly burdensome and not required by the FRCP
             United Arab Emirates, or the or the Local Rules.
             Kingdom of Saudi Arabia by any
             federal, state, or other regulatory Plaintiffs also object to this Request on the ground that it seeks documents that
             agency, including without limitation are irrelevant to the claims and defenses in this case and not proportional to the
             the investigation related to USA v. needs of the case.
             Broidy, Case No. 1:20-cr-00210 in the
             U.S. District Court for the District of On the basis of the foregoing General and Specific objections, Plaintiffs will not
             Columbia District.                      produce documents in response to this Request.
Stonington   All documents relating to Qatar, the Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   United Arab Emirates, or the
77           Kingdom of Saudi Arabia that you Plaintiffs also object to this Request on the ground that it seeks “all” such
             produced to the U.S. government in requested documents, which is unduly burdensome and not required by the FRCP
             connection with any investigation by or the Local Rules.
             any federal, state, or other regulatory
             agency, including in connection with

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 Request
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             USA v. Broidy, Case No. 1:20-cr- Plaintiffs also object to this Request on the ground that it seeks documents that
             00210 in the U.S. District Court for are irrelevant to the claims and defenses in this case and not proportional to the
             the District of Columbia District.   needs of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington   All communications with Special Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Counsel Robert Mueller and his
78           investigation team, as referenced in Plaintiffs also object to this Request on the ground that it seeks “all” such
             paragraph 147 of the FAC, relating to requested documents, which is unduly burdensome and not required by the FRCP
             the State of Qatar, the United Arab or the Local Rules.
             Emirates, or the Kingdom of Saudi
             Arabia, as well as any documents Plaintiffs also object to this Request on the ground that it seeks documents that
             relating to such communications.      are irrelevant to the claims and defenses in this case and not proportional to the
                                                   needs of the case.

                                                    Plaintiffs also object to this Request on the ground that responsive documents are
                                                    in the possession, custody and control of Defendants.

                                                 Subject to the foregoing General and Specific objections, Plaintiffs will produce
                                                 only the WhatsApp message described in paragraph 147 of the FAC.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to the State of Qatar, the
79           United Arab Emirates, or the Plaintiffs also object to this Request on the ground that it seeks “all” such
             Kingdom of Saudi Arabia that you requested documents, which is unduly burdensome and not required by the FRCP
             produced to the U.S. government in or the Local Rules.
             connection with the Special Counsel
             Investigation conducted by special Plaintiffs also object to this Request on the ground that it seeks documents that
             prosecutor Robert Mueller.          are irrelevant to the claims and defenses in this case and not proportional to the
                                                 needs of the case.


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                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding      Broidy’s      advocacy,
80           lobbying, or consulting efforts on Plaintiffs also object to this Request on the ground that it seeks “all” such
             behalf of Saudi Arabia or the UAE, or requested documents, which is unduly burdensome and not required by the FRCP
             any individuals or entities—including or the Local Rules.
             but not limited to nonprofit
             organizations, think tanks, and media Plaintiffs also object to this Request on the ground that it seeks documents that
             organizations—that received funding are irrelevant to the claims and defenses in this case and not proportional to the
             from either country, relating to the needs of the case.
             State of Qatar.
                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding      Broidy’s      advocacy,
81           lobbying, or consulting efforts relating Plaintiffs also object to this Request on the ground that it seeks “all” such
             to the State of Qatar or any Qatar- requested documents, which is unduly burdensome and not required by the FRCP
             based entity.                            or the Local Rules.

                                                     Plaintiffs also object to this Request on the ground that it seeks documents that
                                                     are irrelevant to the claims and defenses in this case and not proportional to the
                                                     needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   related to any consultants, vendors, or
82           other entities working on behalf of the Plaintiffs also object to this Request on the ground that it seeks “all” such
             King of Saudi Arabia or the United requested documents, which is unduly burdensome and not required by the FRCP
                                                     or the Local Rules.

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 Request
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             Arab Emirates, including without
             limitation DarkMatter.           Plaintiffs also object to this Request on the ground that it seeks documents that
                                              are irrelevant to the claims and defenses in this case and not proportional to the
                                              needs of the case.

                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding monetary payments or
83           donations made or received by Plaintiffs also object to this Request on the ground that it seeks “all” such
             Broidy, or at Broidy’s direction, in requested documents, which is unduly burdensome and not required by the FRCP
             connection with Broidy’s advocacy, or the Local Rules.
             lobbying, or consulting efforts relating
             to the State of Qatar, including Plaintiffs also object to this Request on the ground that it seeks documents that
             without limitation documents and are irrelevant to the claims and defenses in this case and not proportional to the
             communications relating to monetary needs of the case.
             payments or donations made or
             received by Broidy to or from Saudi On the basis of the foregoing General and Specific objections, Plaintiffs will not
             Arabia or the UAE.                       produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding contracts, business deals, or
84           other arrangements of value sought or Plaintiffs also object to this Request on the ground that it seeks “all” such
             entered into by Broidy as a result of or requested documents, which is unduly burdensome and not required by the FRCP
             in connection with Broidy’s advocacy, or the Local Rules.
             lobbying, or consulting efforts relating
             to the State of Qatar.                   Plaintiffs also object to this Request on the ground that it seeks documents that
                                                      are irrelevant to the claims and defenses in this case and not proportional to the
                                                      needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.

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 Request
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Stonington   All documents or communications            Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding contracts, business deals, or
85           other arrangements of value sought or      Plaintiffs also object to this Request on the ground that it seeks “all” such
             entered into by companies owned in         requested documents, which is unduly burdensome and not required by the FRCP
             whole or in part by Broidy, including      or the Local Rules.
             without        limitation       Circinus
             Worldwide and Threat Deterrence            Plaintiffs also object to this Request on the ground that it seeks documents that
             Capital, as a result of or in connection   are irrelevant to the claims and defenses in this case and not proportional to the
             with Broidy’s advocacy, lobbying, or       needs of the case.
             consulting efforts relating to the State
             of Qatar.                              On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding proposals, pitches, bids, or
86           solicitations        for      business Plaintiffs also object to this Request on the ground that it seeks “all” such
             arrangements by Broidy or Broidy’s requested documents, which is unduly burdensome and not required by the FRCP
             affiliated    companies,     including or the Local Rules.
             without        limitation     Circinus
             Worldwide and Threat Deterrence Plaintiffs also object to this Request on the ground that it seeks documents that
             Capital, to Saudi Arabia or the UAE. are irrelevant to the claims and defenses in this case and not proportional to the
                                                    needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to any financial transactions
87           or exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such
             whether directly or through an requested documents, which is unduly burdensome and not required by the FRCP
             intermediary, between Broidy and or the Local Rules.
             Circinus      Worldwide,        Threat
             Deterrence Capital, George Nader, GS

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 Request
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             Investment    Ltd.,      or   Xiemen Plaintiffs also object to this Request on the ground that it seeks documents that
             Investments Limited.                 are irrelevant to the claims and defenses in this case and not proportional to the
                                                  needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to any financial transactions
88           or exchanges of anything of value, Plaintiffs also object to this Request on the ground that it seeks “all” such
             whether directly or through an requested documents, which is unduly burdensome and not required by the FRCP
             intermediary, between Broidy and or the Local Rules.
             Circinus      Worldwide,        Threat
             Deterrence Capital, Richard Miniter, Plaintiffs also object to this Request on the ground that it seeks documents that
             or American Media Institute.           are irrelevant to the claims and defenses in this case and not proportional to the
                                                    needs of the case.

                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All bank statements for personal and Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   business accounts belonging to Broidy irrelevant to the claims and defenses in this case and not proportional to the needs
89           between January 1, 2016, and the of the case.
             present.
                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All bank statements and financial Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   statements for business accounts in the irrelevant to the claims and defenses in this case and not proportional to the needs
90           name of any entity in which you have of the case.
             a majority ownership interest, either
             directly or indirectly, between January On the basis of the foregoing General and Specific objections, Plaintiffs will not
             1, 2016, and the present.               produce documents in response to this Request.


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Stonington   Documents sufficient to show your        Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   call history from January 1, 2016, to
91           the present for any personal or          Plaintiffs also object to this Request on the ground that it seeks “all” such
             business phone numbers used by           requested documents, which is unduly burdensome and not required by the FRCP
             Broidy, including without limitation     or the Local Rules.
             each of your mobile devices.
                                                      Plaintiffs also object to this Request on the ground that it seeks documents that
                                                      are irrelevant to the claims and defenses in this case and not proportional to the
                                                      needs of the case.

                                                 On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                 produce documents in response to this Request.
Stonington   Copies of all your diaries and Plaintiffs object to this Request to the extent that it seeks privileged information.
Defs.’ RFP   calendars for the years 2016 to the
92           present.                            Plaintiffs also object to this Request on the ground that it seeks documents that
                                                 are irrelevant to the claims and defenses in this case and not proportional to the
                                                 needs of the case.

                                                       On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All contact lists, address books, Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   rolodexes, or similar documents that irrelevant to the claims and defenses in this case and not proportional to the needs
93           identify the names and contact of the case.
             information for your professional and
             personal contacts.                        On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                       produce documents in response to this Request.
Stonington   All travel itineraries that reflect trips Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   that you took to the Middle East for irrelevant to the claims and defenses in this case and not proportional to the needs
94           business from January 1, 2016, to the of the case.
             present.


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 Request
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                                                      On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                      produce documents in response to this Request.
Stonington   All      expense       reimbursements Plaintiffs object to this Request on the ground that it seeks documents that are
Defs.’ RFP   submitted by you, or someone acting irrelevant to the claims and defenses in this case and not proportional to the needs
95           on your behalf, to any person that of the case.
             relate to trips that you took to the
             Middle East for business from January On the basis of the foregoing General and Specific objections, Plaintiffs will not
             1, 2016, to the present.                 produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   relating to any conferences you
96           organized, participated in, or financed, Plaintiffs also object to this Request on the ground that it seeks “all” such
             involving the State of Qatar, the requested documents, which is unduly burdensome and not required by the FRCP
             United Arab Emirates, or the or the Local Rules.
             Kingdom of Saudi Arabia.
                                                      Plaintiffs also object to this Request on the ground that it seeks documents that
                                                      are irrelevant to the claims and defenses in this case and not proportional to the
                                                      needs of the case.

                                                    On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                    produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
100          or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such
             attorneys shared with, or received requested documents, which is unduly burdensome and not required by the FRCP
             from, the United States government in or the Local Rules.
             the context of negotiating Broidy’s
             plea deal for one count of conspiracy Plaintiffs also object to this Request on the ground that it seeks documents that
             to violate the Foreign Agents are irrelevant to the claims and defenses in this case and not proportional to the
             Registration Act (“FARA”).             needs of the case.



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 Request
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                                                     On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                     produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
101          or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such
             attorneys shared with, or received requested documents, which is unduly burdensome and not required by the FRCP
             from, the United States government— or the Local Rules.
             including without limitation President
             Donald Trump, White House staff, Plaintiffs also object to this Request on the ground that it seeks documents that
             and/or members of President Trump’s are irrelevant to the claims and defenses in this case and not proportional to the
             family or staff or their attorneys—in needs of the case.
             the context of negotiating Broidy’s
             pardon related to one count of On the basis of the foregoing General and Specific objections, Plaintiffs will not
             conspiracy to violate FARA.             produce documents in response to this Request.
Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the State of Qatar, the UAE,
102          or Saudi Arabia that Broidy or his Plaintiffs also object to this Request on the ground that it seeks “all” such
             attorneys shared with, or received requested documents, which is unduly burdensome and not required by the FRCP
             from, Save America PAC staff; or the Local Rules.
             America First Action PAC staff; Make
             America Great Again Action PAC Plaintiffs also object to this Request on the ground that it seeks documents that
             staff; Make America Great Again, are irrelevant to the claims and defenses in this case and not proportional to the
             Again PAC staff; Trump presidential needs of the case.
             campaign          staff;         Trump
             Administration      transition     team On the basis of the foregoing General and Specific objections, Plaintiffs will not
             members; or the agents or produce documents in response to this Request.
             representatives of any of the
             individuals or organizations identified
             in this Request, in the context of
             negotiating Broidy’s pardon related to


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 Request
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             one count of conspiracy to violate
             FARA.
Stonington   All recordings, declarations, or Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   affidavits, by or about Broidy
103          regarding the State of Qatar, the UAE, Plaintiffs also object to this Request on the ground that it seeks “all” such
             or Saudi Arabia.                       requested documents, which is unduly burdensome and not required by the FRCP
                                                    or the Local Rules.

                                                    Plaintiffs also object to this Request on the ground that it seeks documents that
                                                    are not within Plaintiffs’ possession, custody, or control, and that are irrelevant to
                                                    the claims and defenses in this case and not proportional to the needs of the case.

                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
                                                   produce documents in response to this Request.
Stonington   All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   his agents, or representatives
104          (including without limitation lawyers Plaintiffs also object to this Request on the ground that it seeks “all” such
             at Boies Schiller Flexner LLP) and requested documents, which is unduly burdensome and not required by the FRCP
             members of the press, or their staff, or the Local Rules.
             agents, or representatives, including
             without limitation the following, Plaintiffs also object to this Request on the ground that it seeks documents that
             regarding the State of Qatar or are irrelevant to the claims and defenses in this case and not proportional to the
             Defendants, as well as any documents needs of the case.
             relating to such communications:
                                                   On the basis of the foregoing General and Specific objections, Plaintiffs will not
              Author             Publication       produce documents in response to this Request.
              Desmond Butler AP
              Tom LoBianco AP
              Suzanne            BBC News
              Kianpour
              David Voreacos Bloomberg

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          Eli Lake        Bloomberg
          Zachary R.      Bloomberg
          Mider
          Kevin Collier   Buzzfeed News
          Jessica         Huffington Post
          Schulberg
          Maxwell         Huffington Post
          Strachan
          Shmuley         Jerusalem Post
          Boteach
          Ben Wieder      McClatchy
          Kevin G. Hall   McClatchy
          Peter Stone     McClatchy
          Dan Friedman    Mother Jones
          Paul Campos     New York
                          Magazine
          David D.        New York
          Kirkpatrick     Times
          Jim Rutenberg   New York
                          Times
          Kenneth P.      New York
          Vogel           Times
          Maggie          New York
          Haberman        Times
          Mark Mazzetti   New York
                          Times
          Rebecca R.      New York
          Ruiz            Times
          Ronan Farrow    New Yorker
          Greg Price      Newsweek


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          David            NPR
          Kirkpatrick
          Terry Gross      NPR
          Alex Isenstadt   Politico
          Andy Kroll       Rolling Stone
          Armin Rosen      Tablet
                           Magazine
          Betsy Woodruff   The Daily Beast
          Justin Glawe     The Daily Beast
          Alex Emmons      The Intercept
          Ryan Grim        The Intercept
          Aruna            Wall Street
          Viswanatha       Journal
          Bradley Hope     Wall Street
                           Journal
          Joe Palazzolo    Wall Street
                           Journal
          Julie Bykowicz   Wall Street
                           Journal
          Michael          Wall Street
          Rothfeld         Journal
          Rebecca          Wall Street
          Ballhaus         Journal
          Tom Wright       Wall Street
                           Journal
          Beth Reinhard    Washington
                           Post
          Carol D.         Washington
          Leonnig          Post
          Devin Barrett    Washington
                           Post

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 Request
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              Ellen               Washington
              Nakashima           Post
              Emma Brown          Washington
                                  Post
               Josh Dawsey        Washington
                                  Post
               Karen              Washington
               DeYoung            Post
               Paul Waldman       Washington
                                  Post
               Tom                Washington
               Hamburger          Post
Stonington   All communications with Joel              Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Mowbray       and     Fourth    Factor
105          Consulting,      including     without    Plaintiffs also object to this Request on the ground that it seeks “all” such
             limitation their staff, agents, or        requested documents, which is unduly burdensome and not required by the FRCP
             representatives, regarding the State of   or the Local Rules.
             Qatar, the UAE, Saudi Arabia,
             Defendants, or the alleged hacking, as    Plaintiffs also object to this Request on the ground that it seeks documents that
             well as any documents relating to such    are irrelevant to the claims and defenses in this case and not proportional to the
             communications.                           needs of the case.

                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                    reasonable search and will produce non-privileged documents that are responsive
                                                    to this Request to the extent they are relevant to the hacking.
Stonington   All communications with Robin Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Rosenzweig or her staff, agents, or
107          representatives regarding the State of Plaintiffs also object to this Request on the ground that it seeks “all” such
             Qatar, the UAE, Saudi Arabia, requested documents, which is unduly burdensome and not required by the FRCP
             Defendants, and the alleged hacking, or the Local Rules.


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 Request
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             as well as any documents relating to Plaintiffs also object to this Request on the ground that it seeks documents that
             such communications.                 are irrelevant to the claims and defenses in this case and not proportional to the
                                                  needs of the case.

                                                    Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                    reasonable search and will produce non-privileged documents they understand are
                                                    responsive to this Request to the extent they are relevant to the hacking of Ms.
                                                    Rosenzweig’s Gmail account.
Stonington   All communications with Erica Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   Hilliard or her staff, agents, or
108          representatives regarding the State of Plaintiffs also object to this Request on the ground that it seeks “all” such
             Qatar, the UAE, Saudi Arabia, requested documents, which is unduly burdensome and not required by the FRCP
             Defendants, or the alleged hacking, as or the Local Rules.
             well as any documents relating to such
             communications.                        Plaintiffs also object to this Request on the ground that it seeks documents that
                                                    are irrelevant to the claims and defenses in this case and not proportional to the
                                                    needs of the case.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents that are responsive
                                                      to this Request to the extent they are relevant to the hacking.
Stonington   All communications between Broidy, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   his agents, or his representatives
109          (including without limitation lawyers Plaintiffs also object to this Request on the ground that it seeks “all” such
             at Boies Schiller Flexner LLP) and the requested documents, which is unduly burdensome and not required by the FRCP
             following individuals or entities, their or the Local Rules.
             agents, representatives, affiliates, or
             affiliated organizations regarding the Plaintiffs also object to this Request on the ground that it seeks documents that
             State of Qatar, the UAE, Saudi Arabia, are irrelevant to the claims and defenses in this case and not proportional to the
             or Defendants, as well as any needs of the case.


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 Request
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             documents    relating      to     such On the basis of the foregoing General and Specific objections, Plaintiffs will not
             communications:                        produce documents in response to this Request.

             Aaron Keyak, Andrew Harrod, David
             Reaboi, David Suissa, Ed Royce,
             Ileana      Ros-Lehtinen,         Jason
             Torchinsky, Lisa Korbatov, Charles
             Wald, Matt Brooks, Mike Cernovich,
             Mike Makovsky, Miriam Adelson,
             Richard Miniter, Richard Mintz, Ron
             Bonjean, Allen West, Shmuley
             Boteach, Steve Rabinowitz, Bluelight
             Strategies, the Hudson Institute,
             Secure America Now Foundation, the
             Jewish Institute for National Security
             of     America       (“JINSA”),     the
             Washington Institute for Near East
             Affairs, or any staff, agents, or
             representatives of the foregoing.
Stonington   All communications between Broidy         Plaintiffs object to this Request on the ground that it seeks “all” such requested
Defs.’ RFP   and any person or entity that             documents, which is unduly burdensome and not required by the FRCP or the
119          performed any advocacy, consulting,       Local Rules.
             or lobbying work in the United States
             on behalf of the UAE or Saudi Arabia,     Plaintiffs also object to this Request on the ground that it seeks documents that
             or any individuals or entities—           are irrelevant to the claims and defenses in the case and not proportional to the
             including without limitation nonprofit    needs of the case.
             organizations, think tanks, and media
             organizations—that received funding       On the basis of the foregoing General and Specific objections, Plaintiffs will not
             from either country, as well as any       produce documents in response to this Request.
             documents       relating    to     such
             communications.

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 Request
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Stonington   All documents and communications         Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   regarding the posting of Broidy’s
123          emails or other documents on a           Plaintiffs also object to this Request on the ground that it seeks “all” such
             website hosted by GoDaddy LLC, as        requested documents, which is unduly burdensome and not required by the FRCP
             alleged in paragraph 114 of the FAC.     or the Local Rules.

                                                   Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                   reasonable search and will produce non-privileged documents that are responsive
                                                   to this Request to the extent they are relevant to the hacking.
Stonington   All documents and communications, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   to the extent not already requested,
124          that Broidy believes supports the Plaintiffs also object to this Request on the ground that it seeks “all” such
             claims Broidy has asserted in the FAC requested documents, which is unduly burdensome and not required by the FRCP
             or will assert in this litigation.    or the Local Rules.

                                                      Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
                                                      reasonable search and will produce non-privileged documents that are responsive
                                                      to this Request.
Stonington   All documents and communications, Plaintiffs object to this Request on the ground that it seeks privileged information.
Defs.’ RFP   to the extent not already requested,
125          identified in, reviewed, or relied upon Plaintiffs also object to this Request on the ground that it seeks “all” such
             by Broidy in answering any requested documents, which is unduly burdensome and not required by the FRCP
             Interrogatories,     Requests        for or the Local Rules.
             Admission, or Disclosures. To the
             extent that any responsive documents Subject to the foregoing General and Specific objections, Plaintiffs will conduct a
             are privileged, they should be logged reasonable search and will produce non-privileged documents that are responsive
             in the manner required by federal law, to this Request.
             the Federal Rules of Civil Procedure,
             and the Local Rules of the Court.




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 Request
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Stonington   All documents and communications Plaintiffs object to this Request on the ground that it seeks privileged information
Defs.’ RFP   relating to any expert testimony that and information protected from disclosure under the FRCP.
127          Broidy intends to utilize to support
             any of the claims asserted in the FAC. Plaintiffs also object to this Request on the ground that it seeks “all” such
                                                    requested documents, which is unduly burdensome and not required by the FRCP
                                                    or the Local Rules.

                                                   Plaintiffs also object to this Request on the ground that it prematurely seeks expert
                                                   discovery.

                                                   Subject to the foregoing General and Specific objections, Plaintiffs state that
                                                   nonprivileged documents and communications relating to any expert testimony
                                                   that Plaintiffs intend to use to support any of the claims asserted in the FAC will
                                                   be disclosed at the appropriate time and in a manner consistent with the FRCP and
                                                   the Local Rules.




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